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8
                        UNITED STATES BANKRUPTCY COURT
9               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10
       In re:                                      Case Number 8:23-bk-10571-SC
11
                                                   Chapter 11
12     THE LITIGATION PRACTICE
       GROUP, P.C.,
13                                                 UNITED STATES TRUSTEE’S
                                                   OPPOSITION TO NOTICE OF
14                                                 MOTION AND MOTION OF
                                                   TRUSTEE RICHARD A. MARSHACK
15                             Debtor.             FOR ENTRY OF AN ORDER (A)
                                                   APPROVING SALE, SUGJECT TO
16                                                 OVERBID, OF ASSETS FREE AND
                                                   CLEAR OF ALL LIENS, CLAIMS,
17                                                 ENCUMBRANCES AND INTERESTS
                                                   PURSUANT TO 11 U.S.C. § 363(b)
18                                                 AND (B) APPROVING ASSUMPTION
                                                   AND ASSIGNMENT OF CERTAIN
19                                                 EXECUTORY CONTRACTS AND
                                                   UNEXPIRED LEASES AND OTHER
20                                                 AGREEMENTS
21
                                                   DATE:        July 21, 2023
22                                                 TIME:        10:00 a.m.
                                                   CTRM:        5C – In Person & Virtual
23                                                              411 W. 4th Street
                                                                Santa Ana, CA 92701
24
           TO THE HONORABLE SCOTT CLARKSON, UNITED STATES
25
     BANKRUPTCY JUDGE, DEBTOR, DEBTOR’S COUNSEL, CHAPTER 11
26
     TRUSTEE, AND ALL PARTIES IN INTEREST:
27
28
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1             The United States Trustee (hereinafter “U.S. Trustee”) files this opposition

2    (“Opposition”) to the Chapter 11 Trustee’s Notice of Motion and Motion for Entry of an

3    Order (A) Approving Sale, Subject to Overbid, of Assets Free and Clear of All Liens,

4    Claims, Encumbrances, and Interests Pursuant to 11 U.S.C. § 363(b) and (B) Approving

5    Assumption and Assignment of Certain Executory Contracts and Unexpired Leases and

6    Other Agreements (“Sale Motion”), filed as Bankruptcy Docket Number 191. Through the

7    Sale Motion, the Chapter 11 Trustee (“Trustee”) seeks an order approving the sale of

8    substantially all of the assets of LPG and the assumption and assignment of certain

9    executory consumer contracts to Consumer Legal Group, P.C. (“CLG”) pursuant to the

10   Asset Purchase Agreement (“APA”). The U.S. Trustee opposes the Sale Motion for the

11   reasons set forth below.

12       I.      INTRODUCTION

13            The Trustee asserts that LPG’s business must be sold because stopping LPG’s

14   activities would be harmful to the consumers. To the contrary, preventing the sale of the

15   consumers’ accounts and stopping LPG’s business activities ensures that the consumers

16   suffer no further harm and places the choice of provider, the services to be purchased, and
17   the information to be shared firmly back into the consumer’s hands, where it belongs. 1 It
18   will also allow the monies that they have already paid, which are being held separately, to
19   be returned to them, thereby at least beginning to redress the harm they have already
20   suffered.
21            The Trustee, too, has not met his burden under section 363 of the Bankruptcy Code.
22   The Trustee has failed to provide reasonable and adequate notice to consumers and has
23   failed to show that a sound business purpose for the sale exists, that the purchase price is
24   adequate, and that the sale is beneficial to the estate and to the consumers.
25
26
     1
       Further compounding these concerns are overarching privacy considerations regarding the maintenance and
27   transfer of consumers’ sensitive financial and personal information.
28
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1                Nevertheless, should the Court approve the sale, all consumers should be required to

2    affirmatively opt-in to the sale rather than be bound by the new agreement simply for

3    failing to respond. The Trustee has failed to explain what “opt-out means”, what needs to

4    take place, and what it means for inactive files which are not executory. In any event,

5    consent to contractual reformation cannot be established by failure to accept a

6    counterparty’s offer. The Trustee’s proposed consumer protections built into the APA are

7    also inadequate.

8                Also, CLG is not a good faith purchaser under section 363(m) of the Bankruptcy

9    Code. Among other things, CLG is alleged to have assisted the Debtor with the unethical

10   transfer of approximately 12,000 client files prior to the bankruptcy case.2

11   And finally, the Trustee’s conclusions about the PGX Holdings, Inc.3 bankruptcy case are

12   irrelevant, and in any event, the objection deadline for that sale has not even passed.

13               Accordingly, the Sale Motion should be denied to protect the integrity of the

14   bankruptcy system, all interested parties, and this Court, and for failing to meet the

15   requirements of § 363.

16         II.      STATEMENT OF FACTS
17               The factual background of this bankruptcy case and the history of LPG, including its
18   ownership and business operations, are set forth fully in the U.S. Trustee’s Motion to
19   Convert Case to Chapter 7 Pursuant to 11 U.S.C. § 1112(b) (“Conversion Motion”) [filed
20   July 12, 2023, Bankr. Dkt. #218]. See Conversion Motion, pg. 9-23. The full statement of
21   facts in the Conversion Motion is incorporated by reference. Additional relevant facts to
22   the Sale Motion follow.
23
24
     2
      Neither the Chapter 11 Trustee nor Consumer Legal Group has produced any evidence that the 12,000 clients were
25   notified 90 days prior to the transfer of the 12,000 client files to Consumer Legal Group. California State Bar Rule
     1.17 requires clients to receive 90 days’ notice prior to a transfer of client files. Rule 8.4 of the California Rules of
26   Professional Conduct provides that “[i]t is professional misconduct for a lawyer to . . . assist, solicit, or induce”
     another lawyer to violate the ethical rules.
27
     3
         In re PGX Holdings, Inc., Case No. 23-10718 (Bankr. D. Del.)
28
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1            1.      On July 6, 2023, the Trustee filed (1) a Motion for Order Approving

2    Stipulation with Phoenix Law, PC (“Phoenix 9019 Motion”) [Bankr. Dkt. #176] and (2) a

3    Motion for Order Approving Stipulation with Consumer Legal Group, PC et. al. (“CLG

4    9019 Motion”) [Bankr. Dkt. #178]. The U.S. Trustee opposed both these motions (“Rule

5    9019 Opposition”) [Bankr. Dkt. #209]. The Court heard these motions on July 11, 2023.

6    Both motions were continued to July 21, 2023, to be heard concurrently with the Sale

7    Motion.

8            2.      On July 7, 2023, the Trustee filed the instant Sale Motion [Bankr Dkt. #191].

9    The Court has set a hearing on the Sale Motion for July 21, 2023. With the Sale Motion,

10   the Trustee filed his declaration that attached the APA and the Modified Legal Service

11   Agreement. See Declaration of Richard Marshack (“Marshack Decl.”) [Bankr. Dkt. #191-

12   1], Ex. 2 and 4, respectively.

13           3.      On July 10, 2023, the Court issued an Order Requesting Additional Briefing

14   re: Sale Motion (“Order”) [Bankr. Dkt. #206]. In its order, the Court expressed deep

15   concern over the legality and propriety of the operation of the Debtor’s business. It

16   requested, among other things, additional briefing with respect to the authority and ability
17   of the Court to permit the sale under section 363 with an emphasis on the public policy
18   concerns of “allowing a business utilizing questionable legal operations back into
19   commerce without further restrictions and controls.” See Order [Bankr. Dkt. #206].
20           4.      In response to the Order, the U.S. Trustee filed his Response to the Order
21   Requesting Additional Briefing re: Sale Motion (“Response Brief”) [Bankr. Dkt. #259]
22   (filed July 17, 2023).
23           5.      On July 12, 2023, the U.S. Trustee filed his Conversion Motion [Bankr. Dkt.
24   #218], which is set for hearing for August 10, 2023.4
25
26
     4
      To correct an error in filing, the U.S. Trustee refiled his Conversion Motion on July 13, 2023 [Bankr. Dkt. #232].
27   The pleading filed as Bankr. Dkt. #218 is identical to that filed as Bankr. Dkt. #232. Thus, the U.S. Trustee refers to
     Bankr. Dkt. #218 as the operative pleading.
28
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1            6.      On July 12, 2023, this Court entered an Order Directing the Appointment of a

2    Consumer Privacy Ombudsman and Requiring Notice (the “PCO Order”) [Bankr. Dkt.

3    #226]. In the PCO Order, the Court directed the U.S. Trustee to appoint a consumer

4    privacy ombudsman and provide timely notice of the Sale Motion to the appointed

5    ombudsman. The U.S. Trustee appointed Lucy Thompson [Bankr Dkt. 251].

6            7.      On July 17, 2023, the Court entered the Order Approving the Appointment of

7    Lucy L. Thomson as the Consumer Privacy Ombudsman (“CPO”). [Bankr. Dkt. 253].

8            8.      On July 17, 2023, the U.S. Trustee filed a Notice of Compliance of Court’s

9    Order Directing the Appointment of a Consumer Privacy Ombudsman and Requiring

10   Notice [Bankr. Dkt. #255].

11       III.     PRIOR PLEADINGS FILED BY U.S. TRUSTEE ARE HEREBY

12                INCORPORATED BY REFERENCE TO SUPPORT THIS OPPOSITION

13           The U.S. Trustee has analyzed and briefed most of the issues supporting denial of

14   this Sale Motion in the pleadings and briefs already filed: (1) Conversion Motion [Bankr.

15   Dkt. #218]; (2) Rule 9019 Opposition [Bankr. Dkt. # 209]; and (3) Response Brief [Bankr.

16   Dkt. #259]. The Conversion Motion, Rule 9019 Opposition, and Response Brief are
17   incorporated by reference.
18           The U.S. Trustee has also received letters from the Consumer Financial Protection
19   Bureau (“CFPB”), the California Department of Financial Protection and Innovation
20   (“DFPI”), the Office of the Attorney General for the Commonwealth of Pennsylvania
21   (“PA-AG”), and the Office of the Attorney General for New York (“NY-AG”) raising
22   concerns about LPG’s operation and the sale. True and accurate copies of the letters from
23   CFPB, DFPI, PA-AG, and NY-AG are attached to the Response Brief as Exhibits “A”
24   through “D,” respectively, and are incorporated by reference.5 Below is a summary of the
25   prior pleadings filed by the U.S. Trustee and the arguments raised therein.
26
27   5
      The U.S. Trustee attached these letters to its Response Brief to ensure transparency and in the interest of full
     disclosure.
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1          A. CONVERSION MOTION

2          The U.S. Trustee’s Conversion Motion [Bankr. Dkt. 218] explains why the Trustee

3    should stop operating LPG’s illegal consumer debt resolution business that was operated

4    and controlled by a disbarred attorney. The business’s income stems from the Legal

5    Services Agreements, that were illegal and unconscionable under federal and state laws

6    and, thus, void and unenforceable:

7           The Legal Service Agreements provide for monthly fees paid to and collected by
8             LPG prior to any services being provided to the consumer in violation of 16
9             C.F.R. § 310.4(a)(s) of the Telemarking Sales Rule (“TSR”).
10          The Legal Service Agreements provide for LPG to charge and receive money for
11            removing debts from consumer’s credit reports before such services were fully
12            performed in violation of 15 U.S.C. § 1679(b) of the Credit Repair Organization
13            Act (“CROA”).

14          The Legal Service Agreements do not contain written disclosures informing

15            consumers of their rights under the Fair Credit Reporting Act and the CROA in

16            violation of 15 U.S.C. § 1679c(a)-(b) of the CROA.
            The statement in the Legal Service Agreements regarding cancellation rights is
17
              deficient from that required by CROA, and it is not bold and conspicuous, in
18
             violation of 15 U.S.C. § 1679e.
19
            The fees paid pursuant to the Legal Service Agreements are unconscionable under
20
              California law and the California State Bar Rules of Professional Conduct.
21
            The Legal Service Agreements violate TSR and CROA, thereby also creating a
22
              violation of California Business and Professions Code § 17200.
23
            LPG fails to comply with several California State Bar Rules of Professional
24
              Conduct, including but not limited to, Rule. 1.5 (illegal or unconscionable fees)
25
              and Rule 5.4 (illegal fee sharing).
26
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1    See Conversion Motion, pg. 23-24, 27-28, 31.6

2            The Court should not countenance the use of chapter 11 to operate nor sell an illegal

3    debt validation scam. Rather, conversion to chapter 7 would immediately stop the harm

4    caused by the continued operations of LPG’s business and allow a chapter 7 trustee to

5    begin the process of redressing the harm to consumers by returning the funds they have

6    already paid. Shutting down LPG and converting this case to chapter 7 is in the best

7    interest of the estate and, most importantly, consumers. See Conversion Motion, pg. 35.

8            B. RULE 9019 OPPOSITION

9            In the Rule 9019 Opposition [Bankr. Dkt. #209], the U.S. Trustee contends that

10   consumers were not provided reasonable and adequate notice of the settlements as required

11   by FRBP 2002. See Rule 9019 Opposition, pg. 12-14. The Trustee also failed to offer any

12   evidence proving the critical elements necessary for approval of the settlements under

13   FRBP 9019, including, among other things, failing to show that he made an informed

14   judgment after diligent investigation to determine that the compromise is fair and equitable

15   and in the best interest of the estate.7

16           Moreover, the proposed settlement with CLG is essentially a de facto sale of LPG’s
17   assets and, as such, the Trustee failed to show that a sound business purpose exists under §
18   363 of the Bankruptcy Code. In this respect:
19
20
21   6
       Similarly, the Office of Enforcement ran a search on Consumer Sentinel for complaints concerning LPG on June
22   13, 2023. The search yielded 811 results, and the Office of Enforcement has anonymized a sample of 500 of the
     complaints (attached as Exhibit “1” to the CFPB Letter). See CFPB Letter, Ex. A to Response Brief, at pg. 4.
23   According to the CFPB, the “consumers describe LPG charging advance fees for debt ‘invalidation’ and settlement
     of debts but failing to provide promised services.” Id. at pg. 3. Further, “[n]umerous other consumers have alleged
24   that LPG took upfront fees for debt relief without providing any services. Some consumers asserted that LPG failed
     to provide promised legal representation and allowed creditors to take judgments against them. Other claims that
25   LPG took unauthorized ACH draws and has been non-responsive to requests to cancel those draws. Notably
     consumers reported that LPG sold its services through telemarking calls; the complaints do not suggest that LPG
26   completed these sales after bona fide face-to-face sale meetings.” Id. at pg. 5.
     7
       As evidenced by the declarations submitted by Carolyn Beech and Diane Scarnavack filed in support of their
27   Objections to the settlement with CLG (“Beech Opposition”), some consumers do not support the settlement. See
     Bankr. Dkt. #185 (filed July 7, 2023).
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1           Adequate and reasonable notice was not provided to consumers even though the

2             “consumer clients … and all creditors including consumer creditors” are affected

3             by the relief requested.

4           The LPG Legal Services Agreements are illegal and unconscionable under
5             various federal and state laws. Thus, they are void and unenforceable and cannot
6             be sold or transferred to CLG.
7           The Trustee cannot reform illegal, void, and unenforceable contracts. See Kolani
8             v. Gluska, 64 Cal.App.4th 402, 407 (1998) (“courts reform contracts only where
9             the parties have made a mistake and not for the purpose of saving an illegal
10            contract. Illegal contracts are void.”).
11          As part of the settlement, CLG agreed to abide by the TSA and CROA, but the
12            Trustee does not specify or provide any evidence as to how CLG would comply
13            with the TSA, CROA, or other applicable law.
14   See Rule 9019 Opposition, pg. 21-28.
15         The TSR, 16 C.F.R. § 310.4 shows that the ACH funds pulled by the Trustee belong
16   to the consumers and cannot be transferred to the estate through settlement. See Rule 9019
17   Opposition, pg. 28-30. And finally, in his request to appoint a consumer privacy
18   ombudsman, the U.S. Trustee emphasized LPG’s privacy policy regarding the consumers’
19   personally identifiable information (“PII”) and how LPG assured its consumers that it
20   would take “appropriate security measures to prevent the authorized access, disclosure,
21   modification, or unauthorized destruction of the personal data.” See Rule 9019 Opposition,
22   pg. 30-32.
23         C. RESPONSE BRIEF
24         In his Response Brief [Bankr. Dkt. #259], the U.S. Trustee highlights all the
25   deficiencies in the notice of the sale provided to consumer clients. See Response Brief, pg.
26   12-13. But, most importantly, the Response Brief cites extensive authority barring the
27   reformation of illegal and unconscionable contracts:
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1           As a court of equity, this Court cannot aid in enforcing an agreement that was

2             fraudulently procured in furtherance of an illegal purpose. See Sender v. Simon,

3             84 F.3d 1299, 1307 (10th Cir. 1996) (courts generally will not enforce an illegal

4             contract based upon “the elementary principle that one who has himself

5             participated in a violation of law cannot be permitted to assert in a court of justice

6             any right founded upon or growing out of the illegal transaction.”).

7           Courts have opined that “one of the principles courts apply in deciding whether
8             an illegal contract can be enforced is whether a party calls on a court to order
9             another party to carry out an illegal object.” Mann v. Gullickson, 2016 WL
10            6473215 at *6 (N.D. Cal. Nov. 2, 2016 (citing Kashani v. Tsann Kuen China
11            Enter. Co., 118 Cal. App. 4th 531, 543 (2004)); see also Wong v. Tenneco, Inc.,
12            39 Cal. 3d 126, 135 (1985); Lewis & Queen v. N.M. Ball Sons, 48 Cal. 2d 141,
13            150 (1957) (“[T]he courts generally will not enforce an illegal bargain or lend
14            their assistance to a party who seeks compensation for an illegal act.”).
15          As explained by the California Supreme Court, a “void contract is without legal
16            effect. (Rest.2d Contracts, § 7, com. a.) It binds no one and is a mere nullity.
17            Such a contract has no existence whatever. It has no legal entity for any purpose
18            and neither action nor inaction of a party to it can validate it....” Yvanova v. New
19            Century Mortg. Corp., 62 Cal. 4th 919, 929 (2016) (citation omitted).
20          In general, “courts reform contracts only where the parties have made a mistake
21            and not for the purpose of saving an illegal contract. Illegal contracts are void.”
22            Kolani, 64 Cal. App. 4th at 407.
23   See Response Brief, pg. 13-18.
24         Here, there was no mistake between the parties at the time the Legal Service
25   Agreements were entered — LPG and Tony Diab (the party with the superior bargaining
26   power and who was disbarred in Nevada and California for stealing client money and
27   forging a judge’s signature) intended to offer the illegal and unconscionable Legal Service
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1    Agreements to the consumers. The Trustee cannot unilaterally change the terms of the

2    contract.

3          Similarly, in the Response Brief, the U.S. Trustee contends that the Court should not

4    reform an illegal contract for public policy reasons. See Response Brief, pg. 18-21. The

5    Rules of Professional Conduct “are not only ethical standards to guide the conduct of

6    members of the bar; but they also serve as an expression of public policy to protect the

7    public.” Bird, Marella, Boxer & Wolpert v. Superior Ct., 106 Cal App.4th 419, 431

8    (2003). LPG has violated several California State Bar Rules of Professional Conduct,

9    including but not limited to, Rule 1.5 (illegal or unconscionable fees), Rule 5.4 (illegal fee

10   sharing), Rule 5.3.1 (unauthorized practice of law), and California Business & Professions

11   § 6125 (unauthorized practice of law). Thus, as a matter of public policy, the Legal Service

12   Agreement is unenforceable as any enforcement would require the victims of Diab’s fraud

13   and illegality to continue performing its obligations while cleansing the fraudulent and

14   illegal acts of a disbarred attorney. Further, if an illegal contract is reformed, it would

15   allow the wrongdoer to retain the benefit of the bargain, while forcing the victims

16   (consumers) to continue to perform their obligations. See Response Brief, pg. 18-21.
17         Notwithstanding the inability to reform the illegal consumer contracts, the U.S.
18   Trustee explains how the Modified Legal Service Agreement does not comply with
19   applicable law. See Response Brief, pg. 22-23. In violation of the TSR, the Modified
20   Legal Agreement still permits CLG to take advance fees for debt relief services, provides
21   for a schedule of ACH withdrawals that are earned upon receipt, and does not provide
22   consumers a refund of fees that have not been earned if they withdraw from the debt relief
23   service. See id.
24         Finally, the Response Brief explains that any funds the Trustee obtained in violation
25   of the TSR, CROA, and applicable laws belong to the consumers and should be returned,
26   even if the consumer contracts are reformed. See Response Brief, pg. 23-26.
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1       IV.     ARGUMENT

2          The U.S. Trustee opposes this sale because the Trustee has not met his burden under

3    section 363 of the Bankruptcy Code and because of the reasons explained in the above

4    pleadings. The Trustee has failed to provide reasonable and adequate notice to consumers

5    and has failed to show that a sound business purpose exists, that the purchase price is

6    adequate, and that the sale is beneficial to the estate’s main beneficiaries, the consumers.

7          Nevertheless, should the Court approve the sale over the U.S. Trustee’s objection, all

8    consumers should have the ability to affirmatively opt in to the sale — rather than be bound

9    by a failure to opt out when they have no obligation to act. Consent to contractual

10   reformation cannot be established by failure to accept a counterparty’s offer. The Trustee’s

11   proposed consumer protections built into the APA are also inadequate.

12         Also, CLG is not a good faith purchaser under section 363(m) because, among other

13   things, it allegedly assisted the Debtor with the unethical transfer of approximately 12,000

14   client files prior to the bankruptcy case. And finally, the Trustee’s conclusions about the

15   PGX Holdings, Inc. bankruptcy case are irrelevant. Accordingly, the Sale Motion should

16   be denied.
17         A.     THE TRUSTEE HAS FAILED TO MEET HIS BURDEN UNDER
18                SECTION 363 OF THE BANKRUPTCY CODE
19         Section 363(b)(1) of the Bankruptcy Code provides that “[t]he trustee, after notice
20   and a hearing, may use, sell, or lease, other than in the ordinary course of business,
21   property of the estate …” 11 U.S.C. § 363. Proposed sales are reviewed to determine
22   whether they are within the best interest of the estate resulting from a fair and reasonable
23   price, are supported by a valid business judgment, and proposed in good faith. See In re
24   240 N. Brand Partners, Ltd., 200 B.R. 653, 659 (B.A.P. 9th Cir. 996) (citing In re Wilde
25   Horse Enterprises, Inc., 136 B.R. 830, 841 (Bankr. C.D. Cal. 1991)); see also In re Slates,
26   2012 WL 5359489, at *11 (B.A.P. 9th Cir. Oct. 31, 2012).
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1            In determining whether a sale satisfies the business judgment standard, courts have

2    required that: (1) accurate and reasonable notice of the sale has been given to interested

3    persons; (2) a sound business purposes exists; (3) the sale yields an adequate price (i.e., one

4    that is fair and reasonable); and (4) the parties to the sale have acted in good faith. In re

5    Titusville Country Club, 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991); see also In re Walter,

6    83 B.R. 14, 19-20 (B.A.P. 9th Cir. 1988); In re Slates, 2012 WL 5359489, at *11; Comm.

7    of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1069 (2nd Cir.

8    1983).

9                    i.      The Trustee has Failed to Provide Adequate Notice of the Sale

10           On July 13, 2023, the Trustee filed a Declaration (the “Sale Decl.”) of Christopher

11   Celentino Regarding Notice of Sale to Consumer Clients [Bankr. Dkt. # 233]. The email

12   (the “Sale Email”) (attached as Exhibit “A” to the Sale Declaration) informs the consumers

13   that they have “ninety (90) days from the date of the sale to either (1) “opt out” of further

14   representation by the new law firm, recognizing that doing so will cancel your contract for

15   services; or (2) you will be offered a new ‘cured’ contract with the new lawyers to be

16   signed by you, and to allow for services to be performed on your behalf.” Sale Decl., at p.
17   7. But the Sale Email failed to alert the consumers that, unless they affirmatively “opt out,”
18   i.e., should they do nothing in response, they will be deemed to have entered into a new
19   contract and bound by the Modified Legal Services Agreement (Marshack Decl., Ex. 4).
20   Further, the Sale Email informs consumers that they must “retain counsel” if they have an
21   objection to the proposed sale, but they do not need to have a lawyer.8
22           Additionally, the Trustee proposes to provide notice to the consumers pursuant to
23   California State Bar Rule 1.17. The California State Bar Rule 1.17 provides for sale of a
24   law practice, stating:
25
26   8
      In his Response Brief, the U.S. Trustee recommended that the Trustee include all pleadings relating to the Sale
     Motion, including the U.S. Trustee’s Opposition, to the DropBox available for all consumers to review to ensure that
27   consumers make an informed decision. The U.S. Trustee has been informed that they have added additional
     pleadings to the DropBox for consumers to access.
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1              ...

2              (a) If the sale contemplates the transfer of responsibility for work
                  not yet completed or responsibility of client files . . . then:
3                 ...
4                 (2) in all other circumstances, not less than 90 days prior to the
                  transfer:
5                     (i) the seller, or the lawyer appointed to act for the seller
6                 pursuant to Business and Professions Code section 6180.5, shall
                  cause a written notice to be given to each client whose matter is
7                 included in the sale, stating that the interest in the law practice is
8                 being transferred to the purchaser; that the client has the right to
                  retain other counsel; that the client may take possession of any
9                 client materials and property, as required by rule 1.16(e)(1); and
10                that if no response is received to the notice within 90 days after it
                  is sent, or if the client’s rights would be prejudiced by a failure of
11                the purchaser to act during that time, the purchaser may act on
12                behalf of the client until otherwise notified by the client; and
                     (ii) the seller, or the lawyer appointed to act for the seller
13                pursuant to Business and Professions Code section 6180.5, shall
14                obtain the written consent of the client prior to the transfer. If
                  reasonable efforts have been made to locate the client and no
15                response to paragraph (b)(2)(i) notice received within 90 days,
16                consent shall be presumed until otherwise notified by the client.
17   See California State Bar Rule 1.17 (emphasis added).
18          The Trustee failed to comply with California State Bar Rule 1.17 because that rule
19   requires notice to consumers at least 90 days before the sale. Id. Moreover, presuming
20   consent because no response was received within 90 days does not satisfy California State
21   Bar Rule 1.17; that rule requires that reasonable efforts were made to locate the client. The
22   Trustee has not provided proper notice and has not explained what reasonable efforts were
23   taken to locate all consumers to provide them the required accurate and appropriate notice
24   of the sale.
25                   ii.   Trustee has Failed to Show that a Sound Business Purpose Exists
26          The decision to sell property out of the ordinary course of a debtor’s business must
27   be based on reasonable business judgment. In re Continental Air Lines, Inc., 780 F.2d
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1    1223, 1226 (5th Cir. 1986); In re Lionel Corp., 722 F.2d at 1070. In determining whether

2    the business purpose is justified under 11 U.S.C. § 363(b)(1), bankruptcy courts apply a

3    flexible, case-by-case approach. See In re Walter, 83 B.R. 14, 19 (B.A.P. 9th Cir. 1988)

4    (“the bankruptcy judge should consider all salient factors pertaining to the proceeding and,

5    accordingly, act to further the diverse interests of the debtor, creditors and equity holders,

6    alike.”) (quoting Continental Air, 780 F.2d at 1226). First, and foremost, there is no sound

7    business purpose in selling illegal and unconscionable contracts obtained by a disbarred

8    attorney’s fraudulent and illegal acts. The Trustee seeks to sell the accounts of the victims

9    of this fraudulent debt validation scheme and circumvent fundamental concerns relating to

10   the lawfulness of LPG’s business by obtaining approval of an expedited sale that will

11   prevent the proper notice and scrutiny contemplated by, and essential to, the equity and

12   integrity of the bankruptcy system.

13         The Trustee argues that winding down LPG “stands to potentially subject the

14   consumer clients to predatory practices of other substandard debt relief companies, illegal

15   marketing ploys, and bad actors, including but not limited to Tony Diab and his entourage

16   of alter egos.” See Marshack Decl., ¶ 14. The U.S. Trustee agrees with the CFPB that the
17   Trustee’s concerns about consumers being “thrown out on the street” if a sale is not
18   approved are overblown. See Response Brief, Ex. A, pg. 38. Complaints submitted by
19   consumers include demands for refunds and cancellation of contracts. Id., at pg. 32 (CFPB
20   Letter attaches FTC complaints); see also Ng. Conversion Decl., Ex. 11 (BBB
21   Complaints); Bankr. Dkt. #185 (Consumer Declarations in support of the Beech Opposition
22   to the CLG Rule 9019 Motion). Stopping LPG’s activities ensures that consumers suffer
23   no further harm and restores to consumers their absolute right to choose providers, the
24   services to be purchased, and the information to be shared. Additionally, as recognized by
25   the CFPB, the ongoing harm of potentially illegal advance fees pursuant to the Modified
26   Legal Services Agreement outweighs any risk of consumers being left without questionable
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1    debt relief services. See Response Brief, Ex. A, pg. 38. The proposed Modified Legal

2    Services Agreement “would likely put consumers in a worse position.” Id., at pg. 37.

3                 iii.   The Trustee has Failed to Show that the Purchase Price Will

4                        Benefit the Estate.

5          The Sale Motion claims that the purchase price is approximately $42 million. See

6    Sale Motion, pg. 12:6-7. But the actual sale price is linked to the number of consumer

7    contracts that are transferred to CLG (i.e., consumers that have not opted out). See

8    Marshack Decl., Ex. 2 (APA), § 2. The Trustee fails to discuss the impact on the sale price,

9    and whether such sale will still benefit the estate if numerous consumers opt out of the sale.

10   There is substantial evidence that LPG consumers are unhappy, requesting their contracts

11   be cancelled and unearned fees be returned to them. See Response Brief, Ex. A, pg. 32; Ng

12   Conversion Decl., Ex. 11 (BBB Complaints); Bankr. Dkt. #185 (consumer declarations in

13   support of the Beech Opposition to the CLG Rule 9019 Motion). In fact, by email dated

14   July 13, 2023, the Trustee notified the U.S. Trustee that Consumer Legal Group was

15   lowering the price because there are fewer client files than anticipated. It appears that the

16   number of active client files has decreased from 22,000 to approximately 14,000 (a 36%
17   decrease). Because the anticipated price is now lower, a new notice and hearing are
18   warranted.
19         But if what the Trustee says is correct, what benefit will the estate receive? And who
20   will receive this benefit? The Trustee presents no claims analysis. The Trustee fails to
21   provide a complete breakdown of what funds are coming into the estate, when these funds
22   would be received, where these funds are going, and who would be getting paid, including
23   anticipated trustee fees, professional fees, additional administrative fees from post-petition
24   funding, etc. The claims register shows secured debt of approximately $19 million and
25   with the increasing amount of professional fees, this case may be administratively
26   insolvent, leaving nothing to be paid to unsecured creditors and consumers.
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1                      iv.    The Trustee has Failed to Show that the Sale is Beneficial to

2                             Consumers.

3              The Trustee also fails to provide sufficient evidence showing the actual benefit

4    consumers would receive from the sale. The Trustee claims that “[w]hen law abiding,

5    barred attorneys operating on principles of transparency as opposed to secrecy supply these

6    services, the consumer client can achieve their goals, emotional gratitude and a brighter

7    financial future.” See Sale Motion, pg. 6:23-26. But the only evidence submitted to

8    support this statement are declarations from affiliated attorneys of LPG. The Trustee

9    acknowledges that of the 40,000 clients transferred to Phoenix, only 5,000 were in active

10   litigation or received legal services from an attorney between June 2, 2023, and June 28,

11   2023. See Sale Motion, pg. 6:12-16. What benefit are the other 35,000 clients receiving?

12             Likewise, there is little evidence that CLG will provide adequate legal services to

13   benefit consumers. CLG has an “F” rating on the BBB website.9 See Declaration of

14   Jaimee Zayicek attached hereto (“Zayicek Decl.”), ¶ 6. Several consumers filed complaints

15   with BBB against CLG alleging that it took unauthorized ACH draws and has been non-

16   responsive to refund requests. Id., at Ex. 5. For example, one consumer submitted a
17   complaint against CLG on May 3, 2023, alleging:
18                     On April 3, 2023[,] $270.70 was removed from My checking
                       account by CLG, otherwise known as Consumer Legal Group.
19                     This transaction was NOT authorized. In fact [I] have the email
20                     showing where I DECLINED to use their services. Now the
                       company refuses to refund the money taken from my account
21                     without my consent. I have contacted the company on numerous
22                     occasions asking for the money to be refunded, but they always
                       have a lame excuse that I did not follow cancellation procedures.
23                     How do you CANCEL a service you DECLINED from initial
24                     contact? I have the email showing where I DECLINED to sign
                       and use their services. I have all the emails requesting a refund,
25                     and all the documentation to show I. Imported the refund policy
26                     paperwork.
27
     9
         See https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089.
28
                                                               15
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1
     See Zayicek Decl., Ex. 5, pg. 12.
2
           On May 2, 2023, another consumer filed a BBB complaint against CLG, alleging
3
     that “[t]his company keeps withdrawing [] money from my account and I Want it to stop.
4
     This company is as [sic] Scam. I will have to close my account.” Id., at Ex. 5, pg.13.
5
     There is little or no evidence showing that CLG will provide adequate legal services that
6
     would benefit consumers.
7
           CLG is a New York based firm that has only been operating since 2022. See
8
     Declaration of Jason Rebhun in support of the Sale Motion (“Rebhun Declaration”), at ¶ 6
9
     [Bankr. Dkt. #191-4]. CLG has “dozens of employees who are not part of CLG’s legal
10
     ‘team,’ as well as four full-time attorneys (and is in the final state of hiring one more full-
11
     time attorney who are expected to be on board[] by the end of July 2023), three part-time
12
     attorneys, and eight paralegals.” Id. at ¶ 7. CLG’s website, at
13
     https://consumerlegalgroup.com/our-legal-team/, lists only one attorney (Aryeh Weber) on
14
     its legal team.
15
           At Mr. Rebhun’s deposition on July 17, 2023, he testified that the pictures of the
16
     individuals on the website are most likely stock photos, not real photos of real attorneys.
17
     See Declaration of Marilyn Sorensen (“Sorensen Decl.”), Ex. 6, Transcript of Deposition of
18
     Jason Rebhun (designated as the person most knowledgeable for CLG) taken on July 17,
19
     2023 (“CLG Depo. Transcript”), pg. 49:1-5. Mr. Rebhun was also unable to identify the
20
     officers and directors of CLG. Id., at pg. 36:23-37:1. He further testified that CLG was
21
     incorporated in May 2022, but he does not know how long CLG has been in business. Id.,
22
     at pg. 34:18-20. He further testified that he did not know how many consumer clients that
23
     CLG had, and he could not give an approximate number. Id., at pg. 153:25-155:19.
24
           The New York State Unified Court System shows that CLG has appeared in only
25
     one case in New York state court, which was a landlord tenant dispute. And there were no
26
     cases in New York found for the search of attorney Jason Rebhun or Aryeh Weber. See
27
     Zayicek Decl., at ¶¶ 3-5; see also Response Brief, Ex. D, pg. 555 (the NY-AG also
28
                                                    16
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1    confirms that CLG appears on behalf of a client in only one case). According to the PA-

2    AG, CLG is not even licensed to perform debt settlement in the state of Pennsylvania. See

3    Response Brief, Ex. C, pg. 550.

4          CLG’s attorneys are licensed in New York and New Jersey. See Rebhun

5    Declaration, at ¶ 7. Therefore, like LPG, CLG will most likely hire local counsel to service

6    its consumer clients outside of these states, which adds another layer of costs to financially

7    struggling consumers. LPG and CLG share a similar business model, and there is no

8    assurance from the Trustee that the services provided by the local attorneys affiliated with

9    CLG will provide benefits to the consumers.

10         In determining whether to enforce illegal contracts, courts have considered the end

11   result to “avoid unjust enrichment” to a defendant and a “disproportionately harsh penalty”

12   upon the plaintiff. Mann v. Gullickson, 2016 WL 6473215, at *6 (N.D. Cal. Nov. 2, 2016).

13   Here, permitting the Trustee to replace the illegal consumer agreements and then sell them

14   to CLG provides no benefit to the consumers. Those likely to be paid from the sale are the

15   Trustee, his professionals, the secured creditors (who funded all the wrong-doing), and the

16   post-petition lenders (who continue to fund the wrong-doing). Consumers are not being
17   protected and will not benefit from the sale. Rather, their contracts are being sold to CLG
18   with little evidence that they will receive adequate legal services from CLG or a full refund
19   of unearned fees (as provided under LPG’s Legal Service Agreement).
20                v.    The Deficiency in the Opt-Out Plan.
21         The Trustee contemplates providing the consumers with an “opportunity to object,
22   opt-out or be excluded from the sale and assumption and assignment during the notice
23   period or thereafter if no response is received.” See Sale Motion, pg. 13:6-8. As noted by
24   the Official Committee of Unsecured Creditors (“Committee”), however, the Sale Motion
25   and the APA contain very limited discussion of the “opt-out” procedure. There is no
26   evidence provided by the Trustee about the information this “opt-out” notice to consumers
27   will contain, who will be responsible for providing the notice, who will determine whether
28
                                                   17
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1    a consumer has opted out and what role, if any, the buyer will have in connection with this

2    process. Any notice must adequately explain, in layman’s terms, the options available to

3    consumers. This should include clear notice that consumers must affirmatively “opt out”,

4    the consequences of their failure to do so, and the consequences (if any) of the failure to

5    respond at all. Additionally, the notice must clearly and adequately explain the steps a

6    consumer needs to take to effectively opt out, the consequence for failing to respond, and

7    that should they opt-out they would be entitled to a refund of any unearned fees.10

8                    vi.     Consumers Cannot Consent to a New Contract by their Silence and

9                            Should Be Required to Affirmatively Opt In to the Sale.

10           In connection with the sale, the Trustee proposes to issue a new Legal Service

11   Agreement (i.e., the Modified Legal Service Agreement) between consumers and CLG.

12   See Marshack Decl., Ex. 4. This is not “reformation;” it is “replacement.” As such, the

13   Trustee needs to obtain the consumers’ informed, voluntary, and affirmative consent; that

14   is, they must affirmatively opt in to any new agreement. What the Trustee postulates is

15   akin to a third-party release, i.e., the imposition of a new contract with a non-debtor on

16   creditors, which is forbidden by the Ninth Circuit. See In re Lowenschuss, 67 F.3d 1394,
17   1401 (9th Cir. 1995) (citations omitted) (“This court has repeatedly held, without
18   exception, that “§ 524(e) precludes bankruptcy courts from discharging the liabilities of
19   non-debtors”). That is, should the sale be approved, these consumers will be bound to new
20   contracts — with non-debtors — to which they have not agreed, upending the core concept
21   of offer and acceptance in contract formation and principles of legal due process.
22           Following the basic principles of contract law, when one has no duty to act, then
23   failing to act cannot be deemed consent and cannot have the legal consequence of waiving
24   or altering any rights. The court in SunEdison applied principles of contract law in
25
26
     10
       As recognized by the CFPB, the 90-day opt-out period offers no benefit to the consumers because the consumers
27   are already entitled to a refund of all fees paid and unearned. See Response Brief, Ex. A, pg. 37; see also 16 C.F.R.
     § 310.4(a)(5)(i)(A)-(E).
28
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1    concluding that inaction or silence by nonvoting parties does not constitute consent. See In

2    re SunEdison, Inc., 576 B.R. 453 (Bankr. S.D.N.Y. 2017). Although the court found

3    consent to a third-party release may be express or manifested by conduct, mere silence does

4    not constitute consent absent a duty to speak. Id., at 458-61. “Charging all inactive

5    creditors with full knowledge of the scope and implications of the proposed third-party

6    releases and implying a ‘consent’ to the third-party releases based on the creditors’

7    inaction, is simply not realistic or fair, and would stretch the meaning of ‘consent’ beyond

8    the breaking point.” Id. at 461 (quoting In re Chassix Holdings, Inc., 533 B.R. 64, 81

9    (Bankr. S.D.N.Y. 2015)); see also In re Emerge Energy Services LP, No. 19-11563, 2019

10   WL 7634308, *18 (Bankr. D. Del. Dec. 5, 2019) (finding that the “failure of a creditor or

11   equity holder to return a ballot or Opt-Out Form manifested their intent to provide a

12   release. Carelessness, inattentiveness, or mistake are three reasonable alternative

13   explanations.”).

14         Similarly, in Ascena, the district court on appeal rejected the Debtors’ contention that

15   failing to opt out of a release evidenced consent to that release. See Patterson v. Mahwah

16   Bergen Retail Grp., Inc. (In re Ascena), 636 B.R. 641, 684-85 (E.D. Va. 2022). In its
17   decision, the district court analyzed basic contract law, and in doing so, found that silence
18   with no duty to act cannot show consent:
19         First, contrary to Debtors’ statement that “actual principles of contract law have long
           provided that the manifestation of assent may be made wholly by failure to act”
20
           (Appellee Br. at 65), black letter contract law dictates otherwise. See Meekins v.
21         Lakeview Loan Servicing, LLC, 2020 WL 1922765, at *4 (E.D. Va. Apr. 21, 2020)
22         (“A party’s silence, however, is insufficient to show its intention to be bound by the
23         terms of a contract.”) (quotations omitted). Indeed, in one of the cases cited by
           Debtors for its acceptance-by-silence proposition, the First Circuit stated, “it’s basic
24         contract law that an offeror cannot unilaterally impose on another party the
25         obligation to respond and reject their offer.” Rivera-Colon v. AT&T Mobility Puerto
26         Rico, Inc., 913 F.3d 200, 211 (1st Cir. 2019) (citing 1 Corbin on Contracts § 3.19
           (2018) (“It should here be plainly set forth that an offeror has no power to cause the
27
           silence of the offeree to operate as an acceptance when the offeree does not intend it
28
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1          to do so.”); 2 Williston on Contracts § 6:50 (4th ed. 1993) (“Merely sending an
           unsolicited offer does not impose upon the party receiving it any duty to speak or
2          deprive the party of its privilege of remaining silent *686 without accepting.”)).
3          Limited exceptions to this rule exist, such as previous dealings or when an offeror
4          gives the offeree reason to believe that silence or inaction will manifest assent, and
           the offeree remains silent or inactive with the intent to accept the offer. Restatement
5
           (Second) of Contracts § 69(1)(b). However, neither Debtors nor the Bankruptcy
6          Court identified any facts that would support the application of an exception to the
7          general rule of contracts that silence cannot manifest assent. Nor does the record
           reveal any such facts. Indeed, the Court has already found as a matter of fact that
8
           consent did not occur. Accordingly, any attempt to claim that contract law supports a
9          finding of consent to third-party releases based on inaction rings hollow.
10
11   Id. at 685-86.

12         Here, there should be no exception to the general rule of contracts. Consumers’

13   failure to opt out of the sale cannot equate to consent to the Modified Legal Service

14   Agreement with CLG. Consumers should not be assumed to acquiesce to the continuation

15   of services that many are complaining about especially when the Legal Services Agreement

16   was entered into with a law firm being controlled and operated by a disbarred attorney;

17   requiring an opt-in provision will ensure that those who understand and wish to enter into

18   new agreements can do so without being bound by an illegal contract.

19         Moreover, the Trustee has failed to describe what exactly is being sold under the

20   APA or how it will be protected. According to the Sale Motion, the sale consists of

21   “consumer client accounts” but the motion does not elaborate on what information is

22   included in each consumer client account. See Sale Motion, pg. 13. Does it include bank
23   account information, social security numbers, homes addresses, dates of birth, credit card
24   information and numbers, email addresses, payment history, records of encounters and
25   personal communication with consumers, demographic data, etc.? This is highly sensitive
26   data, and the Trustee has failed to show how such information will be adequately protected
27   in the proposed sale. The Sale Motion also provides no evidence of CLG’s capabilities and
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1    intentions of protecting the privacy records and data of consumers, or that it will abide by

2    all applicable privacy laws.

3          Given both the inadequacy of consent via silence and the considerable privacy

4    concerns inherent in the proposed transaction, if the Court approves any sale in this case,

5    the consumers should be required to opt in, not opt out, to the sale of their client file to the

6    proposed purchaser. See also Response Brief, Ex. A, pg. 39.

7                 vii.   The Trustee’s Proposed Consumer Protections are Inadequate.

8          The Trustee contends that the consumer protections built into the APA cure any

9    potential violations or concerns over consumer protection laws. See Marshack Decl., ¶ 12.

10   But many of these so-called consumer protections are inadequate and do not resolve the

11   infirmities in this sale described herein.

12                          a. Court Appointed Monitor

13         The Trustee seeks to insulate this legally questionable transaction by asking the

14   Court to appoint a monitor in conjunction with the proposed sale and, in doing so, relies on

15   the case of Purdue Pharma as support. See Trustee’s Add’l Brief [Bankr. Dkt. #260], pg.

16   14; see also Sale Motion, pg. 12-13, 17-18. The facts of that case are significantly different
17   and shed no light on the relief sought here. First, Purdue Pharma is a legal pharmaceutical
18   business that previously did illegal things in promoting the sale and use of opioids, to
19   which the company has agreed to plead guilty. Here, in contrast, the debtor’s entire
20   business model itself is likely illegal. Second, the court in Purdue Pharma entered an
21   injunction against Purdue Pharma and its beneficial owners, the Sackler Family, from
22   engaging in any criminal conduct in the sale and marketing of opioids, and the monitor was
23   appointed to ensure that the pre-petition, illegal conduct in the promotion and marketing of
24   opioids had actually ceased and did not continue while the case was pending in bankruptcy
25   court. Here, the debtor is not being enjoined from operating an illegal business in
26   bankruptcy and is, instead, asking that the court allow the business to continue under
27   different ownership. Third, the monitor in Purdue Pharma is monitoring the activities of
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1    the debtor-in-possession itself (and its beneficial owners who themselves have settled the

2    Government’s civil claims against them). The monitor sought here is not of the debtor-in-

3    possession’s conduct; it is the conduct of the entity that purchases the debtor-in-

4    possession’s assets. Purdue Pharma is no support whatsoever for the appointment of a

5    monitor.

6          The Trustee further relies on In re Ariz. Heart Inst. Inc., 2010 Bankr. LEXIS 5841

7    (Bankr. D. Ariz. 2010), as authority for appointing a monitor for the proposed sale, stating

8    that bankruptcy courts and trustees have the continuing authority to enforce the terms of an

9    Asset Purchase Agreement (“APA”) approved by the bankruptcy court. In Ariz. Heart

10   Inst., the court simply approved the sale and stated that it retained jurisdiction to adjudicate

11   any disputes related to, for example, entitlement to assets or proceeds of the assets,

12   peaceful use of the assets, and prorations under the APA (including taxes). That is a far cry

13   from a bankruptcy court exercising continuing jurisdiction and oversight of a purchaser’s

14   business practices simply because it purchased estate assets. That would be a vast

15   expansion of a bankruptcy court’s authority, unconfined by any limiting principle. Given

16   the ubiquity of debtors selling substantially all of their assets in chapter 11, the authority
17   sought here for a monitor could effectively transform bankruptcy courts into roving
18   regulators and enforcement agencies over a host of non-debtors.
19         Additionally, the Sale Motion and the APA provide little, if any, detail about the
20   specific duties, terms of appointment, and mechanisms for compensating the Monitor, and
21   how appointing the Monitor will enhance consumer protection and ensure CLG’s
22   compliance with certain consumer protection laws and obligations. As the Committee
23   argues, it has “no oversight over the Monitor or role in selecting the Monitor designated to
24   serve as a consumer watchdog.” Committee’s Opposition to Application for Order Setting
25   Hearing on Shortened Notice Regarding Sale Motion, pg. 5:14-17 [Bankr. Dkt. # 198].
26   The Trustee suggests retaining either Nancy Rapoport or Matthew Bouslog as the Court
27   appointed Monitor. See Sale Motion, at pg. 17-18. Both Ms. Rapoport and Mr. Bouslog
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1    appear to be bankruptcy attorneys and may not necessarily have consumer protection

2    experience. The mere appointment of a Monitor without a clearly defined role and

3    demonstrated benefit to consumers does not resolve the infirmities in the sale described

4    herein.

5                             b. Compliance with other State Bar Rules

6          The Trustee proposes to comply with California State Bar Rule 1.17. But, as

7    discussed above, notice under Rule 1.17 is deficient. And given that LPG has clients

8    throughout the nation, the Trustee must comply with the State Bar rules in all 48

9    jurisdictions, not just California State Bar Rule 1.17. For instance, the Florida State Bar

10   Rule 4-1.17, which governs the sale of a law practice, requires that any sale of a law

11   practice be sold to “1 or more lawyers or law firms authorized to practice law in Florida.”

12   CLG is not authorized to practice law in Florida and has not provided the proper notice

13   under Florida State Bar Rules.

14                            c. Modified Purchase Agreement still violates the TSR

15         Notwithstanding the Trustee’s inability to replace the consumer contracts as

16   discussed above, the Modified Purchase Agreement does not comply with all federal and
17   state laws, rules, and regulations as it still violates the TSR. See Response Brief, pg. 22-23.
18         B.        CLG IS NOT A GOOD FAITH PURCHASER UNDER 11 U.S.C. §
19                   363(m)
20         The Trustee proposes to sell LPG to CLG for $42 million, subject to overbid. See
21   Sale Motion, at pg. 1-2. But what exactly is being sold is unclear. The Trustee defines
22   CLG as the “Good Faith Purchaser” and requests such a finding under section 363(m). Id.
23   at pg. 23-24.
24         Under 11 U.S.C. § 363(m), in relevant part, if a sale order is subsequently reversed
25   or modified on appeal, such reversal or modification does not affect the validity of the sale
26   if the purchaser was a good faith purchaser and no stay pending appeal was obtained.
27   Although the Bankruptcy Code does not define the term “good faith,” courts have found
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1    that a “good faith purchaser” is one who buys ‘in good faith’ and ‘for value.’” In re M

2    Capital Corp., 290 B.R. 743, 746 (9th Cir. BAP 2003). “Typically, lack of good faith is

3    shown by fraud, collusion between the purchaser and other bidders or the trustee, or an

4    attempt to take grossly unfair advantage of other bidders.” Id., at 746-47. The burden of

5    proof to show “good faith” is on the proponent of good faith, or, in this case, the Trustee.

6    See id., at 747.

7            In the Complaint filed by the Trustee against LPG’s alter egos, fraudulent

8    transferees, and other related parties (Adv. No. 8:23-ap-1046-SC), the Trustee alleges that

9    CLG is an alter ego of the Debtor. “As he did with LPG, [Tony] Diab controls and

10   operates the Alter Egos, despite them being nominally owned by licensed attorneys.” See

11   Complaint, at ¶ 59. The Trustee also obtained a preliminary injunction against CLG based

12   on his allegation that CLG was a transferee of LPG’s pre-petition fraudulent transfer of

13   12,000 customer files that siphoned-off $3.3 million in the Debtor’s annual revenue. Id. at

14   ¶ 61. Further, on July 3, 2023, CLG’s special purpose affiliate, Liberty Acquisitions Group

15   Inc. (“Liberty”) was authorized to loan the estate $560,000.00, on a superpriority basis, on

16   24 hours’ notice [Bankr. Dkt. # 168].11
17           The Trustee fails to explain how CLG can go from being an alleged alter ego of a
18   disbarred attorney to a good faith purchaser. 12 In the Sale Motion, the Trustee again
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     11
20     By email dated July 12, 2023, the U.S. Trustee requested the Chapter 11 Trustee to identify the following
     information for Resolution Partners, Liberty Acquisitions, Sapphire Management Holdings, LLC, Capital, LLC, and
21   StratCat Management: (1) the state of incorporation/organization/formation; and (2) the owners, members, partners
     of each. As of July 18, 2023, the Chapter 11 Trustee has not produced this information. CLG’s Rule 30(b)(6)
22   witness, Jason Rebhun, was unable, or unwilling, to explain Liberty Acquisitions relationship to CLG at the
     deposition of CLG on July 17, 2023.
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       Similarly, it appears that the Trustee has failed to complete his due diligence as to all the various entities that may
24   be associated or affiliated with LPG. The U.S. Trustee was recently contacted by LendingClub Bank
     (“LendingClub”), who is involved with some of LPG’s current/former clients. On July 5, 2023, LendingClub
25   received a cease-and-desist letter from “Elite Legal Practice,” an entity located in Los Angeles, CA. Interestingly,
     the letter was sent using an LPG envelope. At a minimum, this creates confusions as it seems that the various
26   entities at play may all be connected.
27   Further, LendingClub received a letter from CLG on July 5, 2023, listing CLG’s address as “P.O. Box 412,
     Elmsford, NY 10523.” This address is listed on their website too. That address is incorrect. Neither consumers nor
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1    focuses on the alleged benefit consumers will receive from the sale to support a finding of

2    good faith. See Sale Motion, pg. 23-24. But this does not support a good faith purchaser

3    finding with respect to CLG. To the contrary, as discussed above, CLG has only been

4    operating since 2022, has an “F” rating on BBB with numerous complaints against it, and

5    has no presence in the New York state system. CLG also colluded with LPG and Tony

6    Diab in the transfer of the 12,000 clients prior to the bankruptcy case without providing the

7    clients with the required notice at least 90 days prior to the transfer. Accordingly, the

8    Trustee has failed to establish that CLG is a good faith purchaser under section 363(m).

9    This Court should not allow the Trustee’s sale to CLG.13

10           C.      Trustee’s Comments about PGX Holdings, Inc. are Irrelevant.

11           Finally, the Trustee contends in the Sale Motion that the U.S. Trustee’s and CFPB’s

12   failures to object in the bankruptcy case of PGX Holdings, Inc. means that “the offending

13   conduct and policies and procedures employed by LPG … can be cured.” See Sale Motion,

14   pg. 2. These conclusions are unfounded and irrelevant to this case. In PGX Holdings, Inc.

15   (No. 23-10718, Bankr. D. Del.), a motion was filed on June 6, 2023, which among other

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     creditors are able to send any communications to CLG. The U.S. Trustee is informed that CLG had provided a new
18   address to the Office of the New York State Attorney General (“NY-AG”) as to where complaints should be
     addressed. The NY-AG had requested CLG to update its website, so consumers also have a working mailing
19   address. As of the filing of this Opposition, CLG has yet to update its website to list a correct mailing address.
20   13 On July 13, 2023, the Trustee informed the U.S. Trustee that he may be receiving a bid from Russ Squires
21   (“Squires”) of Validation Partners, LLC (“Validation Partners”). In the event Validation Partners and/or Russ
     Squires are the successful bidders and purchasers, the Trustee must provide evidence that Validation Partners and/or
22   Russ Squires are good faith purchasers under section 363(m). On April 21, 2023, Carolyn Beech (“Beech”) filed a
     First Amended Complaint – Class Action in the District Court for the Southern District of Mississippi (Southern
23   Division) (Case No. 1:22-cv-057 HSO-BWR) against, among other parties, Squires and Validation Partners, alleging
     that: (1) between August 2021 and August 2022, Validation Partners purchased over 40,000 consumer accounts
24   from different marking affiliates and LPG with a total value of $400,000,000; (2) Validation Partners loaned LPG in
     the total sum in excess of $3.8 million between December 2021 and June 2022; (3) the funding by Validation
25   Partners was essential to the continued operation of LPG; (4) Validation Partners was fully aware of the nature of
     LPG’s business; and (5) Validation Partners received money obtained from consumers on LPG contracts violation of
26   CROA. As such, Beech alleged that Validation Partners and Squires are liable for the acts of LPG because they
     knowingly financed the Debtor’s illegal operation. See Validation Partner Complaint, at ¶¶ 27, 29, 30, 40 [Dkt. # 48
27   of Case No. 1:22-cv-057 HSO-BWR]. On June 8, 2023, Beech obtained a default against Squires and Validation
     Partners in the Validation Partners lawsuit [Dkt. # 75 of Case No. 1:22-cv-057 HSO-BWR].
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1    things, requested approval of bidding procedures and the scheduling of a sale hearing. The

2    U.S. Trustee opposed this motion with respect to the breakup fee for the stalking horse

3    bidder. Notably, no order has been entered approving the proposed bidding procedures or

4    setting a sale hearing. Because the time to object to the sale in PGX Holdings, Inc. has not

5    passed, no conclusions can be drawn about positions that have not been taken in that

6    matter.

7       V.      CONCLUSION

8            Based on the foregoing, and upon such other and further oral and/or documentary

9    evidence as may be presented at the time of the hearing, the U.S. Trustee respectfully

10   opposes any sale and requests that the Sale Motion be denied.

11
12                                                       Respectfully submitted,

13                                                       PETER C. ANDERSON
14                                                       UNITED STATES TRUSTEE

15
16   DATED:        7/19/2023                             By: /s/ Kenneth Misken
                                                         Kenneth M. Misken
17                                                       Assistant U.S. Trustee
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1                             DECLARATION OF JAIMEE ZAYICEK
2            I, Jaimee Zayicek, declare and state as follows:
3          1. I am employed by the Office of the United States Trustee for Region 16 as a
4    Paralegal Specialist. My duties and responsibilities include the review and analysis of
5    Chapter 11 cases, including the case of The Litigation Practice Group, P.C. (Bankr. Case
6    No. 8:23-bk-10571-SC). I make this declaration upon my own personal knowledge except
7    as to those statements made upon information and belief.
8          3. On July 14, 2023, I accessed the New York State Unified Court System’s online
9    case search database and used the attorney/firm search feature. I searched for any cases in
10   which attorney Aryeh Weber was representing either plaintiffs or defendants. There were
11   no results. Attached as Exhibit “1” is a true and correct copy of the search results.
12         4. I also searched for any cases in which attorney Jason Rehbun was representing
13   either plaintiffs or defendants. There were no results. Attached as Exhibit “2” is a true and
14   correct copy of the search results.
15         5. Finally, I searched for any cases in which Consumer Legal Group was representing
16   either plaintiffs or defendants. There was one result. Attached as Exhibit “3” is a true and
17   correct copy of the search results.
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 1
                          DECLARATION OF MARILYN SORENSEN
 2      I, Marilyn Sorensen, hereby declare as follows:
 3      1. I am employed by the Office of the U.S. Trustee for Region 16 as a Bankruptcy
 4   Analyst. My duties and responsibilities include the review and analysis of Chapter 11
 5   cases, including the case of The Litigation Practice Group, P. C. (Bankr. Case No. 8:23-bk-
 6   10571-SC). I make this declaration upon my own personal knowledge except as to those
 7   statements made upon information and belief.
 8      2. After the July 17, 2023, deposition of Jason Rebhun, on behalf of the Consumer

 9   Legal Group, P.C., I requested a transcript from the court reporter Focus Litigation

10
     Solutions.

11
        3. Attached hereto as Exhibit 6 is a true and correct copy of the transcript of the
     deposition held on July 17, 2023.
12
           I declare under penalty of perjury and under the laws of the State of California and
13
     the United States of America that the foregoing is true and correct, and if called as a
14
     witness I could and would completely testify thereto. Executed this 19 th day of July 2023
15
     in Lake Forest, California.
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                                                   Bankruptcy Analyst
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                               Exhibit 4




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                                    Business Profile
                                    Consumer Legal Group, P.C.
                                    Debt Relief Services




         Contact Information
              11 Broadway Ste 300
              New York, NY 10004-1398

              Visit Website

              (212) 920-1247




         Customer Reviews                                                         BBB Rating & Accreditation
         This business has 0 reviews


              Read Reviews
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         Be the First to Review!
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https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089
                                                                                                          Exhibit 4 0005         1/4
7/19/23, 8:53Case
              AM 8:23-bk-10571-SC                 Doc 296   Filed
                                                      Consumer Legal 07/19/23         Entered
                                                                     Group, P.C. | Better Business 07/19/23    18:24:54
                                                                                                   Bureau® Profile        Desc
         File a Complaint                         Main Document          Page 44 of 311



         Related Categories
         Debt Relief Services




        Business Details
        Location of This Business
        11 Broadway Ste 300, New York, NY 10004-1398
        BBB File Opened: 11/3/2022
        Years in Business: 1
        Business Started: 5/18/2022
        Licensing Information:
        This business is in an industry that may require professional licensing, bonding or registration.
        BBB encourages you to check with the appropriate agency to be certain any requirements are
        currently being met.
        Type of Entity: Professional Corporation (PC)
        Business Management
        Aryeh Weber, Principal
        Contact Information
        Principal
        Aryeh Weber, Principal
        Customer Contact
        Aryeh Weber, Principal
        Additional Contact Information
        Website Addresses
        https://consumerlegalgroup.org/




        Customer Complaints
        12 Customer Complaints



        Most Recent Customer Complaint
        Complaint Type: Problems with Product/Service
        Status: Resolved
                                                                                                                    06/06/2023
https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089
                                                                                                          Exhibit 4 0006         2/4
7/19/23, 8:53Case
              AM    8:23-bk-10571-SC        Doc 296    Filed
                                                 Consumer Legal 07/19/23         Entered
                                                                Group, P.C. | Better Business 07/19/23    18:24:54 Desc
                                                                                              Bureau® Profile
                                            Main Document           Page 45 of 311
                    On 5/22, I spoke with a representative and a supervisor about a payment reminder I
                    had received that Saturday prior. I called them first thing Monday morning. Realized that
                    they are not authorized to withdraw funds from my bank. I was told that it wouldnt be
                    done. Well, they ******** my account by processing a payment that wasnt supposed to…




        Customer Reviews
        0 Customer Reviews

        What do you think? Be the first to review!
                                                                                                          Start a Review
        How BBB Processes Complaints and Reviews




        Local BBB

        BBB Serving Metropolitan New York


                                                             More Info on Local BBB




        BBB Reports On
        BBB reports on known marketplace practices.


            See What BBB Reports On



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    BBB does not verify the accuracy of information provided by third parties, and does not guarantee the accuracy of any
    information in Business Profiles.
    When considering complaint information, please take into account the company's size and volume of transactions, and
    understand that the nature of complaints and a firm's responses to them are often more important than the number of
    complaints.
    BBB Business Profiles generally cover a three-year reporting period. BBB Business Profiles are subject to change at any
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https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089
                                                                                                        Exhibit 4 0007           3/4
7/19/23, 8:53Case
              AM    8:23-bk-10571-SC              Doc 296   Filed
                                                      Consumer Legal 07/19/23         Entered
                                                                     Group, P.C. | Better Business 07/19/23    18:24:54
                                                                                                   Bureau® Profile        Desc
                                                  Main Document          Page 46 of 311

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         Better Business Bureau organizations in the US, Canada and Mexico and BBB Institute for
           Marketplace Trust, Inc. All rights reserved. *In Canada, trademark(s) of the International
                       Association of Better Business Bureaus, used under License.




https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089
                                                                                                          Exhibit 4 0008         4/4
Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54   Desc
                        Main Document    Page 47 of 311



                               Exhibit 5




                               Exhibit 5
            Case
7/19/23, 10:04 AM   8:23-bk-10571-SC              Doc  296 Legal
                                                   Consumer   Filed   07/19/23
                                                                 Group,                Entered
                                                                        P.C. | Complaints            07/19/23
                                                                                          | Better Business      18:24:54
                                                                                                            Bureau® Profile    Desc
                                                  Main Document            Page 48 of 311




                                    Complaints
                                    Consumer Legal Group, P.C.
                                    Debt Relief Services




         View Business profile




         Need to file a complaint?
                                                                                                                   File a Complaint
         BBB is here to help. We’ll guide you through the process.



    Complaint Details
    Note that complaint text that is displayed might not represent all complaints filed with BBB. See
    details.




        Complaint Type:
        Problems with Product/Service
        Status:
        Resolved

                    Initial Complaint
                    06/06/2023

        On 5/22, I spoke with a representative and a supervisor about a payment reminder I had
        received that Saturday prior. I called them first thing Monday morning. Realized that they are
        not authorized to withdraw funds from my bank. I was told that it wouldnt be done. Well, they
        ******** my account by processing a payment that wasnt supposed to be done where I also
        accrued an NSF fee. The $240.61 was refunded without the additional fee a week later. I
        closed my account on that same day. Received confirmation that any further payments would
        not occur. Today 6/2/23, they again withdrew my account which incurred another NSF fee. I
        called them and I was told, issue would be resolved ASAP, yet still wanting me to fill out a
        refund request. HOW or WHY?! I DONT have a contract or request their services with them so
        why should I have to fill out a refund request for them to refund me the money they werent
        supposed to take out in the first place. They fraudulently withdrew my account. And Im only
        assuming that I will have to wait another week for my $240.61 to be refunded, not to mention a
        total of $58 in NSF fees Ill just have to swallow.

https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089/complaints
                                                                                                                   Exhibit 5 0009     1/7
            Case
7/19/23, 10:04 AM   8:23-bk-10571-SC              Doc  296 Legal
                                                   Consumer   Filed   07/19/23
                                                                 Group,                Entered
                                                                        P.C. | Complaints            07/19/23
                                                                                          | Better Business      18:24:54
                                                                                                            Bureau® Profile   Desc
                                                  Main Document            Page 49 of 311
                      Business response
                      06/27/2023

          Hello *******,
          We appreciate your communication with us so we could properly address your concerns.
          Our team is confirming that we have resolved this matter to your liking. We worked
          together to find the best possible solution. We wish you all the best moving forward and
          thank you for choosing us.
          All the best,d
          Consumer Legal Group


                    Customer response
                    06/29/2023

        Better Business Bureau:

        I have reviewed the response made by the business in reference to complaint ID ********, and
        find that this resolution is partially satisfactory to me and the matter has partially been
        resolved. They refused to refund the banks NSF fees that accrued both times that they
        withdrew funds without my consent.d

        Sincerely,

        *********************************




        Complaint Type:
        Billing/Collection Issues
        Status:
        Unanswered

                    Initial Complaint
                    05/15/2023

        About two years ago (First payment was on 7/7/21) I was desperate for a way to fix my
        debt/credit situation. I am a disabled 61 year old and my wife has some major health issues
        also (multiple strokes, Covid, diabetic). We were not bringing in enough money to pay our
        regular bills let alone cover our credit cards, mounting medical and other debts. I started
        looking online and found many different types of services. It was a very stressful time and we
        struggled to find the right fit. A company called ******************* Group promised to return the
        money spent for the service for any debt they could not resolve, but said I needed to give
        them at least a year. The twice monthly payments would equal a little less than the minimum
https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089/complaints
                                                                                                                   Exhibit 5 0010    2/7
            Case
7/19/23, 10:04 AM8:23-bk-10571-SC Doc       296 Legal
                                        Consumer   Filed   07/19/23
                                                      Group,                Entered
                                                             P.C. | Complaints            07/19/23
                                                                               | Better Business      18:24:54
                                                                                                 Bureau® Profile Desc
                                       Main  Document           Page    50    of  311
        payments to all the credit cards. Seemed like a pretty good guarantee so we chose them.
        Early on it was a struggle as they said but as the collections started coming in it was nice that
        they were now calling them instead. Fast forward to about about nine months ago and my
        calls stopped being answered and/or returned. Written messages were also being ignored,
        The only contact I was receiving from them was the money they continued to take from my
        checking account twice a month. Only .1 debt had been resolved and while we did pay an
        amount less than what we owed, if I add in the money spent on the service the amount is
        much, much more than I owed. After 3 months of no contact I finally received a Notice of
        Transition of Legal Services from a ******************************* from LPG stating the Consumer
        Legal Group would now be taking care of me and how much better prepared for my situation. I
        never signed anything with the new group called CPG and the company is no different.
        Websites are almost identical, even the clients page and they make sure they deduct money
        from my account twice a month. (continued in attachment but almost done)




        Complaint Type:
        Problems with Product/Service
        Status:
        Unanswered

                    Initial Complaint
                    05/03/2023

        I would like to get all or some of the money returned from Consumer who took over
        ************** when they were red flagged. I paid LPG a total of ******* for the 4 mos we were with
        them without seeing any progress. I asked them what I was paying the ******* a month for and
        they said it was legal fees. Then Consumer Legal Group took over and for 2 mos. I did not see
        where anything was being done. No phone calls or emails. When I contacted them they said it
        would take up to 48 mos. to resolve it. They too said that the ******* a month was going toward
        legal fees. Well if I paid that amount each month for legal fees I would be in a worst financial
        way than I am. My husband and I live on our social security from month to month which isnt
        easy. I could have been paying the fees they charged to my creditors. They were very
        misleading when they were explaining how the program worked. I would like to retrieve all or
        at least half of what we paid between the two of them.

                    Customer response
                    05/28/2023

        Better Business Bureau:

        At this time, I have not been contacted by Consumer Legal Group, P.C.dregarding complaint
        ID ********.

        Sincerely,

        ***********************




https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089/complaints
                                                                                                                   Exhibit 5 0011   3/7
            Case
7/19/23, 10:04  8:23-bk-10571-SC Doc
               AM                        296 Legal
                                     Consumer   Filed   07/19/23
                                                   Group,                Entered
                                                          P.C. | Complaints            07/19/23
                                                                            | Better Business      18:24:54
                                                                                              Bureau® Profile                Desc
        Complaint Type:             Main  Document           Page    51    of  311
        Problems with Product/Service
        Status:
        Unanswered

                    Initial Complaint
                    05/03/2023

        Our account with LPG has been doubled billed again for at least the 3rd time for $792.80, by
        LPG then Consumer Legal. The date of occurrence was 3/8/2023. We've tried to call via
        phone and have no resolution, nor been able to discuss with LPG. LPG hides behind the
        **************** team and just moved ** to Consumer Legal Group PC on 3/1/2023 and Consumer
        Legal Group billed us the second time after LPG billed the first. We've asked Consumer Legal
        for return of the money, as we did not get retained by them.We've faxed twice now, due to
        receiving a blocked email message using the ************. We have finally made it thru this
        nightmare to the last month and they double bill ** again. Now we've received notice that we
        were moved to Phoenix Law as of 3/30. LPG has been terrible to deal with and horribly
        represented us legally. We've paid for 18 months and have nothing to show for it. We would
        have been better off telling the sales lawyer to go away and let ** handle our situation on our
        own. LPG is a predator and needs to be shut down. Our client id is ********* Our advice to
        others is to run away from LPG and will ensure that we reach out to numerous media outlets
        as well, in order to protect others.




        Complaint Type:
        Problems with Product/Service
        Status:
        Unanswered

                    Initial Complaint
                    05/03/2023

        On April 3, 2023 $270.70 was removed from My checking account by CLG, otherwise known
        as Consumer Legal Group. This transaction was NOT authorized. In fact o have the email
        showing where I DECLINED to use their services. Now the company refuses to refund the
        money taken from my account without my consent. I have contacted the company on
        numerous occasions asking for the money to be refunded, but they always have a lame
        excuse that I did not follow cancellation procedures. How do you CANCEL a service you
        DECLINED from initial contact? I have the email showing where I DECLINED to sign and use
        their services. I have all the emails requesting a refund, and all the documentation to show I.
        Imported the refund policy paperwork.




        Complaint Type:
        Problems with Product/Service
        Status:
        Unanswered


https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089/complaints
                                                                                                                   Exhibit 5 0012   4/7
            Case
7/19/23, 10:04 AM   8:23-bk-10571-SC              Doc  296 Legal
                                                   Consumer   Filed   07/19/23
                                                                 Group,                Entered
                                                                        P.C. | Complaints            07/19/23
                                                                                          | Better Business      18:24:54
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                                                  Main Document            Page 52 of 311

                    Initial Complaint
                    05/02/2023

        This company keeps withdrawing,money from my account and I Want it to stop. This company
        is as Scam. I will have to close my account.




        Complaint Type:
        Advertising/Sales Issues
        Status:
        Answered

                    Initial Complaint
                    11/28/2022

        I have been receiving multiple calls per day from this company since last week. They have
        called each day ***** times, with all unique phone numbers from all over the world. They only
        leave a few voicemails. They have identified themselves variously as CLG, the advantage
        approval department, and the Consumer Legal Group. They say I am approved for $51,000.
        On one call they asked for a "******". I have answered a few calls and told them I didn't request
        a loan and that they have the wrong number associated with this account in their system. I
        have also told multiple people on these calls that I am on the Do Not Call list. I even returned a
        couple of the voicemails so I could clear up the misunderstanding and reiterate that I'm on the
        *** list. They are not interested in fixing it. They just hang up on me if I say anything other than
        "I'm interested ". And still, they call me multiple times per day. I don't answer now, but it's
        aggravating. I missed several Dr.s calls because I have the phone ringer turned off. What kind
        of recourse do I have? How do I get them to stop calling? I deleted the caller ID's from last
        week, but attached are some recent ID's. Thank you for your help.


                      Business response
                      12/01/2022

          To Whom It may *************************** you for bringing this to our attention.d I have
          reviewed the firm's files and I can confirm that no calls have been made to this individual
          by any individual here or on our behalf.d ****************** is not and has not been a client of
          ours, and we have no records of any communications to her or her phone number.d          r
          Further, We have no knowledge or affiliation with any "Advantage Approval
          Department".d As a law firm, we are dedicated to giving our clients the best service
          possible, and any suggestions are always welcome. We will further look into this matter
          and do everythingdwe can to make sure it doesn'tdhappen in the future. If this ever
          comes up again please let us know so that we can get to the bottom of this.d
          All the best!
          *****




https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089/complaints
                                                                                                                   Exhibit 5 0013    5/7
            Case
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                                                   Consumer   Filed   07/19/23
                                                                 Group,                Entered
                                                                        P.C. | Complaints            07/19/23
                                                                                          | Better Business      18:24:54
                                                                                                            Bureau® Profile   Desc
                                                  Main Document            Page 53 of 311
    *Some consumers may elect to not publish the details of their complaints, some complaints may not
    meet BBB's standards for publication, or BBB may display a portion of complaints when a high
    volume is received for a particular business. ճ

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        BBB Rating & Accreditation


           F
        THIS BUSINESS IS NOT BBB ACCREDITED


           Search for Accredited
           Businesses in this category

        Years in Business: 1

        Customer Reviews are not used in the calculation of BBB Rating

        Reasons for BBB Rating




         Contact Information
              11 Broadway Ste 300
              New York, NY 10004-1398

              Visit Website
https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089/complaints
                                                                                                                   Exhibit 5 0014    6/7
            Case
7/19/23, 10:04 AM   8:23-bk-10571-SC              Doc  296 Legal
                                                   Consumer   Filed   07/19/23
                                                                 Group,                Entered
                                                                        P.C. | Complaints            07/19/23
                                                                                          | Better Business      18:24:54
                                                                                                            Bureau® Profile   Desc
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              (212) 920-1247




         Complaints Summary
         12 total complaints in the last 3 years.
         12 complaints closed in the last 12 months.
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https://www.bbb.org/us/ny/new-york/profile/debt-relief-services/consumer-legal-group-pc-0121-87158089/complaints
                                                                                                                   Exhibit 5 0015    7/7
Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54   Desc
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                               Exhibit 6




                               Exhibit 6
     Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54   Desc
                                       Jason Redhun
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 1                      UNITED STATES BANKRUPTCY COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA
 3                               SANTA ANA DIVISION
 4

 5    In re:                     )                      Chapter 11
                                 )
 6    THE LITIGATION PRACTICE    )                      Case No. 8:23-bk-10571-SC
      GROUP, P.C.,               )
 7                               )
               Debtor.           )
 8    ___________________________)
 9

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15                           Deposition of JASON REDHUN
16                              Conducted Virtually
17                             Monday, July 17, 2023
18                           7:04 a.m. - 15:56 p.m. PST
19

20

21

22    Job No.:      7220
23    Pages:     1 - 206
24    Stenographically Reported By:                       Cara M. Foster, RPR
                                                          CSR No. 11973
25

                                The Litigation Practice Group, P.C.   Exhibit 6 0016   Page: 1
                                    Focus Litigation Solutions
     Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54   Desc
                                       Jason Redhun
                             Main Document      Page 57 of 311

 1    Deposition of JASON REDHUN, conducted virtually via Zoom
      videoconference.
 2

 3

 4

 5

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 7

 8                Pursuant to notice, before Cara M. Foster,
 9    Registered Professional Reporter and Stenographic
10    Certified Shorthand Reporter Number 11973, in and for
11    the State of California.
12

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                                The Litigation Practice Group, P.C.   Exhibit 6 0017   Page: 2
                                    Focus Litigation Solutions
     Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54   Desc
                                       Jason Redhun
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 1                            A P P E A R A N C E S
 2

 3    ON BEHALF OF CONSUMER LEGAL GROUP, P.C. DEPONENT JASON
      REDHUN:
 4
         LAW OFFICES OF RONALD RICHARDS & ASSOCIATES
 5       A Professional Corporation
         By: Ronald N. Richards, Esq.
 6       PO Box 11480
         Beverly Hills, California 90213
 7       310.56.1001
         ron@ronaldrichards.com
 8

 9    ON BEHALF OF THE OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS:
10
         FOX ROTHSCHILD LLP
11       By: Robert F. Elgidely, Esq.
         101 Park Avenue
12       17th Floor
         New York, New York 10178
13       212.878.7900
         relgidely@foxrothschild.com
14

15
      ON BEHALF OF THE UNITED STATES TRUSTEE:
16
         OFFICE OF THE UNITED STATES TRUSTEE
17       By: Kenneth M. Misken, Esq.
         411 W. Fourth Street
18       Suite 7160
         Santa Ana, California 92701-8000
19       714.338.3400
         kenneth.m.misken@usdoj.gov
20

21    ON BEHALF OF THE CREDITORS DEBT VALIDATION FUND 2, MCDVI
      Fund 1 and MCDVI Fund 2
22
         CAPPELLO & NOEL LLP
23       By: David L. Cousineau, Esq.
         831 State Street
24       Santa Barbara, California 93101-3227
         805.564.2444
25       dcousineau@cappellonoel.com

                                The Litigation Practice Group, P.C.   Exhibit 6 0018   Page: 3
                                    Focus Litigation Solutions
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                                       Jason Redhun
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 1                            A P P E A R A N C E S
 2                                         (cont.)
 3

 4    ON BEHALF OF THE CHAPTER 11 TRUSTEE AND RICHARD A.
      MARSHACK:
 5
         DINSMORE & SHOHL
 6       By: Sara A. Johnston, Esq.
         City Center
 7       100 W. Main Street
         Suite 900
 8       Lexington Kentucky, 40507
         859.425.1021
 9       sara.johnston@dinsmore.com
10

11

12

13

14

15

16

17

18

19

20    ALSO PRESENT:
21       Soloman Feig
         Queenie Ng
22       Mike Shields
         Chirstopher Celentino
23       Richard Marshak
24

25

                                The Litigation Practice Group, P.C.   Exhibit 6 0019   Page: 4
                                    Focus Litigation Solutions
     Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54   Desc
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 1                                       I N D E X
 2                                                                              PAGE
 3    JASON REDHUN
 4       Examination by Mr. Elgidely......................                             7
 5       Examination by Mr. Richards......................                       179
 6       Examination by Mr. Misken........................                       198
 7

 8

 9

10                                 E X H I B I T S
11    EXHIBIT                          DESCRIPTION                              PAGE
12                                   (none marked)
13

14

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                                The Litigation Practice Group, P.C.   Exhibit 6 0020   Page: 5
                                    Focus Litigation Solutions
     Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54   Desc
                                       Jason Redhun
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 1                            P R O C E E D I N G S
 2                                           * * *
 3                THE STENOGRAPHER:                 We are going on the record.
 4    The time is 7:04 a.m. Pacific Standard Time.
 5                I would like to introduce myself.                   My name is
 6    Cara Foster.       I am your California CSR for today.                    My
 7    license number is 11973.
 8                Before I swear in the witness, would counsel
 9    place their appearances on the record, please?
10                MR. RICHARDS:            Ronald Richards for the
11    deponent, Jason Redhun of the CLG Law Group.
12                MR. ELGIDELY:            Robert Elgidely of Fox
13    Rothschild on behalf of the Creditors Committee.
14                MR. MISKEN:          Kenneth Misken, Assistant
15    United States Trustee on behalf of the United States
16    Trustee.
17                MR. COUSINEAU:             David Cousineau on behalf of
18    Creditors Debt Validation Fund 2, MCDVI Fund 1 and MCDVI
19    Fund 2.
20                MS. JOHNSTON:            Sara Johnston with Dinsmore &
21    Shohl on behalf of the Chapter 11 Trustee, Richard
22    Marshack.
23                                   JASON REDHUN,
24    was called for examination, and after having been duly
25    sworn under penalty of perjury by the stenographic

                                The Litigation Practice Group, P.C.   Exhibit 6 0021   Page: 6
                                    Focus Litigation Solutions
     Case 8:23-bk-10571-SC   Doc 296 Filed 07/19/23 Entered 07/19/23 18:24:54        Desc
                                       Jason Redhun
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 1    certified shorthand reporter, was examined and testified
 2    as follows:
 3                                     EXAMINATION
 4    BY MR. ELGIDELY:
 5         Q.     Good morning, Mr. Redhun.
 6         A.     Good morning.
 7         Q.     My name is Robert Elgidely.                         I am one of the
 8    attorneys for the Creditors Committee in the Litigation
 9    Practice Group case.
10                Do you understand that?
11         A.     Yes.
12         Q.     Okay.      Have you ever had your deposition taken
13    before?
14         A.     Yes.
15         Q.     Okay.      As you know, there are ground rules for
16    depositions that are intended to make the process
17    proceed as smoothly as possible.                          I'm going to ask you
18    this morning, and it sounds like this afternoon, some
19    questions under oath, and the court reporter is going to
20    record your responses.
21                In order for her to do so, you need to give
22    verbal responses.          Responses such as yeah or uh-huh are
23    not acceptable; yes or no responses followed by an
24    explanation if appropriate.
25                Please wait for me to finish my question before

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 1    you begin to respond so that the court reporter can take
 2    down my full question, as well as your full response.
 3    That way, Mr. Redhun, we will get an accurate transcript
 4    of this proceeding.
 5                If you don't understand a question that I'm
 6    asking, please tell me and I will rephrase it.
 7    Otherwise, I will assume that you understood the
 8    question that I'm asking.
 9                As you also know, from time to time your
10    counsel may lodge objections to certain of my questions.
11    Typically, those objections will be to the form of my
12    question.      In those instances, you need to respond to my
13    question.      Those objections are just to preserve the
14    objections for later proceedings if necessary.
15                The only time you're not allowed to respond to
16    one of my questions is if your counsel instructs you not
17    to respond on the basis of some privilege, such as the
18    attorney-client privilege.
19                MR. RICHARDS:            Counsel, I don't agree with
20    that.     He's designated voluntarily for certain items
21    that we went through beforehand.                          If you ask him
22    something that he's not been designated for, he's just
23    not going to answer.             I don't need to give him an
24    instruction.       He's only going to answer things that he
25    has personal knowledge about.

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 1                The other thing is, I would not assume this
 2    witness is going to be here all day.                            He's here for
 3    limited issues.         So I would just advise you to get to
 4    the heart of the matter and ask him the relevant
 5    questions that we've designated him for so everyone has
 6    a chance to ask their questions.
 7                And I'm going to cut you off without prejudice
 8    if you go on and on so every other party can ask some
 9    questions.      So at least, without waiving your right to
10    continue the depo in the future, but I pulled this
11    lawyer off of his caseload today so he can provide some
12    testimony to the Committee on the relevant areas that we
13    designated him on.
14                So I would just ask you to respect his time.
15    He has a busy caseload himself.                         And at this point in
16    the matter, we're still in the vetting process of the
17    transaction as well.
18                So this is a completely voluntary deposition at
19    this point, and I would just ask you to respect his
20    time, and let's start asking questions.                            He's
21    well-prepared for the deposition.
22                MR. ELGIDELY:            Mr. Richard, can I start asking
23    questions or do you want to keep going?
24                MR. RICHARDS:            No, go ahead.
25                MR. ELGIDELY:            I understand your issue.               If

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 1    there is an issue, we'll bring it before the judge.
 2    BY MR. ELGIDELY:
 3         Q.     Mr. Redhun, where are you located this morning?
 4         A.     New York.
 5         Q.     Okay.      Are you in your office?
 6         A.     Yes.
 7         Q.     Okay.      And where is your office located?
 8         A.     11 Broadway, 3rd Floor.
 9         Q.     Okay.      Is that the offices of the Consumer
10    Legal Group?
11         A.     Yes.
12         Q.     Okay.      And how long has Consumer Legal Group
13    occupied those offices?
14         A.     I can't say for certain.                        More than a couple of
15    months.
16         Q.     Okay.      Where was Consumer Legal Group located
17    before that location?
18         A.     I don't have the exact address.                        It was, I
19    think, Red Hook, Brooklyn.                    I was certainly in Brooklyn
20    and it certainly was an industrial area.                           I think it's
21    Red Hook.
22         Q.     Okay.      As you know, sir, as an attorney, you're
23    not permitted to exchange text messages with anybody
24    during the course of your deposition or emails or
25    anything of that nature.

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 1                Do you understand that?
 2          A.    Yes.
 3          Q.    Okay.
 4          A.    Well, I understand that's requested.                    I'm not
 5    sure that's the rule, but I'll honor your request.
 6          Q.    Okay.      You understand that you're under oath
 7    today during your deposition and you're not allowed to
 8    communicate with anybody concerning the substance of
 9    your testimony in the process of your deposition?
10                Do you understand that?
11          A.    Yes, of course.
12                MR. RICHARDS:            Counsel, just so we're clear, he
13    has a family and his office.                      You're not suggesting if
14    his wife texts him if there's an emergency at the house
15    or someone at the office has a question, he's not
16    allowed to look at his phone?
17                MR. ELGIDELY:            If he needs to take a break, he
18    can take a break to communicate with somebody.                        I'm not
19    going to permit, and the rules do not allow for,
20    communications in the middle of a deposition.                       That's
21    highly unusual, and it will be something that we would
22    have to bring to the attention of the court.                       It doesn't
23    matter who that individual he is communicating with
24    is.
25    BY MR. ELGIDELY:

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 1         Q.     Mr. Redhun, are you in the room -- is somebody
 2    else in the room with you or is it just yourself?
 3         A.     Just me.
 4         Q.     Okay.      What did you do to prepare for your
 5    deposition today, sir?
 6         A.     I'm not sure that I did anything to prepare for
 7    today's deposition.            Maybe I spoke with counsel, but I'm
 8    obviously not going to speak to those communications.
 9         Q.     Okay.      Did you review any documents in
10    preparation for your deposition?
11         A.     No, I don't think so.
12         Q.     Okay.      And you indicated that you spoke with
13    counsel.      And again, without telling me what you spoke
14    about which is privileged, when did you speak with
15    counsel concerning your deposition testimony?
16         A.     Well, counsel and I spoke last night about the
17    link for today's deposition.                      And then I don't know that
18    we've had any other independent conversations about this
19    testimony.      It could be something that I discussed with
20    him in passing.         I just don't want to say, no, I didn't,
21    when it's possible I did speak with him.
22         Q.     Okay.      So is it fair to say that you have not
23    had any lengthy meetings with counsel concerning your
24    testimony today?
25         A.     That's correct.

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 1         Q.     Okay.      Thank you.
 2                Let me share my screen.                       Bear with me for one
 3    moment, please.         Bear with me.                 I'm just having some
 4    technical difficulties.
 5                Mr. Redhun, are you able to see the subpoena to
 6    testify at the deposition that I've shared on the screen
 7    today?
 8         A.     I see you have a file with 16 different files
 9    in them.      You haven't opened the actual subpoena.
10         Q.     It's showing on my screen.                          So bear with me for
11    one second while I close that.
12                Mr. Redhun, have you reviewed the subpoena that
13    was issued for your testimony today?
14         A.     Yes.
15         Q.     Okay.
16         A.     And it was not my testimony, it was the
17    testimony of Consumer Legal Group.
18         Q.     Correct.
19                Sir, are you the individual that's been
20    designated by Consumer Legal Group to provide testimony
21    concerning the 20 categories that were set forth in the
22    subpoena?
23         A.     I'm here, aren't I?
24                MR. RICHARDS:            I'm going to object because you
25    know that we had a conference, and we limited those to

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 1    the categories we set forth in the conference.                                  But he's
 2    here to testify to the areas that we've designated him
 3    for.
 4    BY MR. ELGIDELY:
 5         Q.     And who designated you to provide that
 6    testimony, sir?
 7                MR. RICHARDS:            I'm going to object.                    It calls
 8    for privilege.         I'll instruct him not to answer.
 9    BY MR. ELGIDELY:
10         Q.     Okay.      Why were you designated, Mr. Redhun, to
11    be the representative with the most knowledge from
12    Consumer Legal Group concerning the subjects of
13    testimony set forth in the subpoena?
14                MR. RICHARDS:            Objection.                 Invades
15    attorney-client work-product.                       I instruct him not to
16    answer.
17                MR. ELGIDELY:            This is going to be fun,
18    Mr. Richards.
19                MR. RICHARDS:            Well, he's a lawyer and you're
20    now trying to get into why we designated him and my
21    mental thought process and our communications.                                  I don't
22    see how he could answer that question without invading
23    the privilege.
24                Let's just stick with the facts.                           These are --
25    why he was designated after consultation with counsel is

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 1    not a fact.       That's privilege.
 2                MR. ELGIDELY:            Mr. Richards, we're going to
 3    have a lengthy call with the judge, but let's move
 4    forward in the interest of time.
 5    BY MR. ELGIDELY:
 6         Q.     What is your relationship with Consumer Legal
 7    Group, Mr. Redhun?
 8         A.     I'm an attorney here.
 9         Q.     Okay.      Are you an employee of Consumer Legal
10    Group?
11         A.     Yes.
12         Q.     How long have you been employed with Consumer
13    Legal Group?
14         A.     A few months.            I don't know exactly how long.
15         Q.     Okay.      Are you a shareholder of Consumer Legal
16    Group?
17         A.     No.
18         Q.     Are you an officer?
19         A.     No.
20         Q.     Are you a director?
21         A.     No.
22         Q.     Okay.      And in the few months that you've been
23    employed by Consumer Legal Group, have you -- do you
24    work full-time or part-time in those few months?
25         A.     I don't understand the distinction.

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 1         Q.     Okay.      Part time is less than full time.
 2    That's less than eight hours a day, typically.
 3                Are you regularly employed by Consumer Legal
 4    Group as your full duties, or do you provide duties in
 5    any other capacity or any other work?
 6         A.     I'm not sure I understand the question.
 7         Q.     Okay.      Sir, as an attorney that's been
 8    practicing for over 13 years, is it your testimony that
 9    you don't know the difference between full time or part
10    time?
11         A.     No, I know the difference.                          But there are
12    certain days where I work more than eight hours.
13    There's certain days I work less hours than eight.
14         Q.     Okay.      Do you work anywhere else?
15         A.     Yes.
16         Q.     Where else do you work?
17         A.     I have my own practice.
18         Q.     Okay.      And in terms of the percentage of time
19    in the last few months that you've worked with Consumer
20    Legal Group, what percentage of your time has been
21    devoted to your law practice versus your work for
22    Consumer Legal Group?
23         A.     I'm not sure that I can put a percentage on it.
24    It's certainly not 50/50, some days it might be 50/50,
25    some days it might be 80/20, one way or the other, and

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 1    the other days it might be 80/20 the other way.                           It
 2    depends on the day.
 3         Q.     Got it.
 4                Okay.      Let me try to share my screen again.
 5    Let's see if it works this time.                          Bear with me.
 6                Okay.      Can you see your LinkedIn profile on the
 7    screen, sir?
 8         A.     Yes.
 9         Q.     Okay.      So your LinkedIn profile, it reflects
10    that --
11                And this is your LinkedIn profile; correct?
12    This is your picture?
13         A.     It looks like it.                 That's certainly my picture,
14    yes.
15         Q.     Okay.      And on your LinkedIn profile, it says
16    that you are the President of the Law Offices of Jason
17    Redhun, P.C.; is that correct?
18         A.     That's correct.
19         Q.     Okay.      And is that the law firm that you were
20    testifying about earlier where you were employed in
21    addition to your work at Consumer Legal Group?
22         A.     Yes.
23         Q.     Okay.      Your bio on LinkedIn doesn't say
24    anything about Consumer Legal Group, does it?
25         A.     It does not appear to.

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 1          Q.    Okay.      And do you know why that is?
 2          A.    Because I haven't made any changes to it.
 3          Q.    Okay.      In the motion to sell that the trustee
 4    has filed, the trustee indicated that Consumer Legal
 5    Group has substantial experience in the consumer debt
 6    legal industry -- sir, I don't know if you could hear
 7    me?
 8                The trustee said in the motion to sell that
 9    Consumer Legal Group has substantial experience in the
10    consumer debt legal industry and a history of providing
11    legally compliant legal services to its clients.
12                Do you agree with those statements?
13          A.    The statements made by the trustee?
14          Q.    Yes.
15          A.    Yes.
16          Q.    Okay.      And the trustee's declaration in support
17    of the motion to sell states, "I determined that the bid
18    from CLG was the highest and best bid, based not only on
19    the consideration proposed, but also on CLG's history,
20    experience, and prior compliance with applicable law."
21                Do you agree with those statements?
22          A.    Sure.      Yeah.
23          Q.    Okay.      Mr. Redhun, I've put on the screen the
24    New York's Department of State Division of Corporations
25    Entity Information for Consumer Legal Group.

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 1                Do you see that?
 2         A.     Yes.
 3         Q.     Okay.      And on the date of Initial Department of
 4    State Filing, it reflects a date of May 18, 2022;
 5    correct?
 6         A.     That's what it says there.
 7         Q.     Okay.      So is it fair to say that Consumer Legal
 8    Group has been in business just over a year?
 9         A.     Well, the corporation, according to what's on
10    the screen, was incorporated in May of 2022.
11         Q.     Okay.      And in order for a corporation to be in
12    business it needs to incorporate; correct?
13         A.     Not always.
14         Q.     Okay.      So on behalf of the company, are you
15    testifying today that Consumer Legal Group, P.C.
16    conducted business prior to May 18, 2022?
17         A.     That's not my testimony.
18         Q.     Okay.      Well, I'm asking you, how long has
19    Consumer Legal Group been in business?
20         A.     I don't know.
21         Q.     Okay.      So you think it was about May 18, 2022,
22    before it was incorporated; is that your testimony?
23         A.     No.
24                MR. RICHARDS:            Misstates his testimony.
25                THE WITNESS:           You asked me -- and I'll explain

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 1    my answer.
 2                You asked me if a corporation can conduct
 3    business without being incorporated.                             That is not a
 4    clear yes or no answer because it is possible for a
 5    corporation to have de jure status, whereupon it acts in
 6    furtherance of a corporation without the formal act of
 7    incorporating, provided that at some point it engages in
 8    the formal act of incorporating.                          And essentially, it
 9    ratifies the prior pre-incorporation acts.                             At which
10    point, those pre-incorporation acts would be considered
11    part of the corporation's business.                             So it is possible
12    for a corporation to act without formally incorporating,
13    and then informally incorporating and then ratifying
14    those prior acts --
15    BY MR. ELGIDELY:
16         Q.     Mr. Redhun.
17         A.     Please don't interrupt my answer.
18         Q.     Please --
19         A.     Please don't interrupt my answer.
20         Q.     Okay.      Go ahead.
21         A.     Notwithstanding what I just said, I don't know
22    when Consumer Legal Group was incorporated.                             I was not
23    involved with that, so I can't answer questions about
24    that.     I can answer questions about general corporate
25    law like I just did.

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 1         Q.     Okay.
 2         A.     Which is what your answer elicited.
 3         Q.     I understand.
 4                So, Mr. Redhun, you're designated to provide
 5    testimony on behalf of Consumer Legal Group today;
 6    correct?
 7         A.     Yes.
 8                MR. RICHARDS:            Asked and answered.
 9    BY MR. ELGIDELY:
10         Q.     How long has it been in business?
11         A.     I don't know.            What I could see, based on the
12    screen, is that it was incorporated on May 18, 2022.
13         Q.     Okay.      Do you have any reason to believe, based
14    upon the facts of which you have knowledge, that it
15    conducted business prior to May 18, 2022?
16         A.     I don't believe so, but I don't know.                          I can't
17    say for sure.
18         Q.     Okay.      So if you look at the Department of
19    State, Entity Information for this entity, you'll see
20    that it is an active corporation and that it has a --
21    let me just see here.              Bear with me.                There are no
22    individuals listed for the chief executive officer.
23                Who is the chief executive officer of Consumer
24    Legal Group?
25         A.     I don't know if Consumer Legal Group has a

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 1    chief executive officer.
 2         Q.     Okay.      And where was its principal executive
 3    office?
 4         A.     Well, our office is at 11 Broadway.
 5         Q.     Okay.      Is that the principal executive office
 6    or is there another branch office?
 7         A.     I don't believe that there is another branch
 8    office, but I also can state with certainty that the 11
 9    Broadway address is its principal place of business.
10         Q.     Okay.      Is that where you go to work every time
11    you go to work for Consumer Legal Group?
12         A.     Yes.
13         Q.     Okay.      Now, if you look at "assumed named
14    history", sir, you'll see that Consumer Legal Group
15    registered assumed names of Legal Processing and Legal
16    Fees on March 3, 2023.
17                Do you see that on the Department of State's
18    information?
19         A.     Yes.
20         Q.     Okay.      And why were these assumed names
21    registered with the Department of State on March 3,
22    2023?
23         A.     I don't know.
24         Q.     Okay.
25                MR. RICHARDS:            Counsel, just for clarification,

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 1    are you saying that they registered those exact names or
 2    that's the category that the Secretary of State has
 3    assigned those assumed names?                       I think we're not clear
 4    about that.
 5    BY MR. ELGIDELY:
 6         Q.     Okay.      These are the exact names that were
 7    registered by the company on these dates.
 8                So my question --
 9                MR. RICHARDS:            How do you know that?
10                MR. ELGIDELY:            Sir, if you look at the
11    certificate of assumed name, when you click on the
12    information.       And then if you go to the first page of
13    the Department of State's information page, you run
14    those names and they come up as being registered by the
15    Consumer Legal Group.
16                MR. RICHARDS:            I'm trying to make sure I
17    understand your question.
18                Are you saying that they've registered the name
19    Legal Processing without anything else?                         That's the name
20    of the law firm now?
21                MR. ELGIDELY:            Correct, it is a d/b/a.
22                And, Mr. Richards, on a break, you can verify
23    the basis or the foundation for my question by going to
24    the Department of State's website and searching for the
25    assumed names.         And you will see that Legal Processing

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 1    is registered as an assumed name with the Department of
 2    State for Consumer Legal Group, as is Legal Fees.
 3                MR. RICHARDS:            Okay.          My only comment was there
 4    was a certificate that is linked to that name, and I was
 5    just wondering if you actually downloaded the actual
 6    certificate that would show what the name was?                           Like the
 7    full name, because it's usually company d/b/a something
 8    else.     So that's why I just don't know the answer to
 9    that.
10                MR. ELGIDELY:            Okay.          You can verify that
11    during the break of the deposition, sir.
12                MR. RICHARDS:            All right.
13                MR. ELGIDELY:            I was hoping the witness would
14    have some knowledge about why these assumed names were
15    registered, and why they were registered on those
16    particular dates.
17                MR. RICHARDS:            I just want to say one thing for
18    the record.       Since I had sent you the corporate records
19    on Friday, if you had asked me to clarify that, I could
20    have probably gotten that information.                          And I'll try to
21    get you that information before the hearing.
22                I don't think there's a -- I don't know the
23    reason for that either.                Frankly, it's the first time
24    I've seen that, but I'll find out because it just
25    doesn't make sense to me that someone would reserve

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 1    a generic name and the Secretary of State would allow
 2    you to have something like Legal Fees.                          That doesn't
 3    make any sense to me.              Yeah, okay -- yeah, that's not
 4    their company.         But I'll try to figure out what the
 5    basis of why those entries were because I have no
 6    knowledge either.
 7                MR. ELGIDELY:            Okay.          That's fine.
 8    BY MR. ELGIDELY:
 9         Q.     So, Mr. Redhun, do you know why Consumer Legal
10    Group was registering assumed names approximately 15
11    days before the petition date?
12                MR. RICHARDS:            I'm just going to make one
13    objection.      That to the extent it assumes a fact not in
14    evidence of those specific names.
15                And if you have any knowledge about why they
16    were registering just assumed names in general, you can
17    answer.
18                THE WITNESS:           I have no knowledge about that.
19    BY MR. ELGIDELY:
20         Q.     Okay.      You testified that you started working
21    for Consumer Legal Group a few months ago.                          Was that
22    after March 2023 or before March 2023?
23         A.     Before.
24         Q.     Okay.      And are you the attorney that's in
25    charge of the operation of Consumer Legal Group or are

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 1    you just being designated today to provide testimony on
 2    behalf of the entity?
 3         A.     Well, the form of your question is
 4    objectionable.         But I would ask you to define and
 5    interpret what you mean when you say "in charge"?
 6                MR. RICHARDS:            Well, it's compound.                 Let's just
 7    answer one at a time, if we could, if you don't mind.
 8                MR. ELGIDELY:            It's fine.                 We'll move on.
 9                And obviously, Mr. Richards, the more we get
10    delayed in terms of lengthy explanations of the basis of
11    your objections, that's going to delay the conclusion of
12    this deposition.
13                MR. RICHARDS:            I just said it's compound.                    Why
14    don't we just ask one part and then the next part so we
15    know in the record.
16                MR. ELGIDELY:            I'm going to move on.
17                MR. RICHARDS:            Are you withdrawing the question
18    now?
19                MR. ELGIDELY:            I'm withdrawing the question.
20                MR. RICHARDS:            Okay.          Fine.
21    BY MR. ELGIDELY:
22         Q.     Okay.      Mr. Redhun, how many employees does
23    Consumer Legal Group have?
24         A.     I don't have an exact number.
25         Q.     Okay.      Give me an approximate number?

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 1         A.     Maybe about 100.
 2         Q.     Okay.      And 100 W-2 employees Consumer Legal
 3    Group has in the past year?
 4         A.     I don't know.            I don't get into how the
 5    employees are paid.
 6                MR. RICHARDS:            Hold on.             Mr. Redhun, he just
 7    asked you to give him an estimate of how many employees,
 8    not how many they are paid.
 9                You go to work every day.                           This is important.
10    How many people are there?                    We do need to know that.
11                THE WITNESS:           I'd say 100.                  If you want to give
12    me a couple of seconds, I could mentally run through the
13    floor.
14                MR. RICHARDS:            By the way, Counsel, is your
15    name produced Elgidely?
16                MR. ELGIDELY:            Elgidely.
17                MR. RICHARDS:            Elgidely.              If it's important for
18    you to know how many are W-2 versus something else, I've
19    been to the office, so I'm assuming most are W-2.                                But
20    if that breakdown is important, we could get that from
21    financing and provide that to you.                              That's not a
22    problem.
23                MR. ELGIDELY:            Yes, I would like a list of all
24    the employees.
25                MR. RICHARDS:            No, we're not going to give you

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 1    a "list of all of the employees", but we could give you
 2    a list of the numeric employees and how they are
 3    allocated.      But we're not just going to dump a list of
 4    employees into the public record.
 5                MR. ELGIDELY:            No, you could give that to me
 6    under the "attorneys' eyes basis only", Mr. Richards.
 7                MR. RICHARDS:            Okay.          I'll work on that.
 8    BY MR. ELGIDELY:
 9         Q.     Mr. Redhun, how many independent contractors
10    had Consumer Legal Group utilized in the past year?
11         A.     I couldn't answer that.                       I have no idea.
12         Q.     Okay.      I notice, Mr. Redhun, you signed the
13    asset purchase agreement as "agent" for Consumer Legal
14    Group.
15                Can you tell me why you signed as "agent" for
16    the entity?
17         A.     I'm not an officer of the corporation.
18         Q.     Okay.
19                MR. RICHARDS:            Mr. Elgidely, just one question.
20    On the independent contractors, are you also including
21    local counsel that CLG employs in other states or just
22    people that work in New York at the office?
23           MR. ELGIDELY:         Just people in New York that
24    work in the office.
25                MR. RICHARDS:            Okay.          Thank you.

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 1                MR. ELGIDELY:            Thank you.
 2    BY MR. ELGIDELY:
 3         Q.     So, Mr. Redhun, you indicated you signed the
 4    asset purchase agreement as "agent" because you're not
 5    an officer or director of the entity; is that your
 6    testimony?
 7         A.     Correct.
 8         Q.     Okay.      Is there any reason why an owner or an
 9    officer or a director of the company wasn't able to sign
10    the asset purchase agreement?
11                MR. RICHARDS:            I'm going to object to the
12    extent it invades attorney-client privilege and
13    work-product.
14                If you can answer that question independently
15    of our discussions with respect to you signing it, feel
16    free to answer.
17                THE WITNESS:           No, I am heavily involved in the
18    subject matter of what's going on, and I am in constant
19    discussions with counsel.                   Basically hands are all over
20    this so it's me.
21    BY MR. ELGIDELY:
22         Q.     Okay.      But that's not my question, Mr. Redhun.
23                I mean, who has more authority on behalf of the
24    corporation, the owner of the company or you?
25         A.     What do you mean "authority"?

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 1         Q.     Authority to act on behalf of the company.
 2                Does the owner of the company have more
 3    authority or do you have more authority?
 4                MR. RICHARDS:            I'm just going to object to the
 5    extent it calls for a legal conclusion, it's vague,
 6    ambiguous, and unintelligible.
 7                MR. ELGIDELY:            Mr. Richards, he's a lawyer.
 8    Even if it calls for a legal conclusion, I think that he
 9    can testify whether an owner of the company has greater
10    corporate authority to sign an asset purchase agreement
11    to purchase the assets of this business versus an
12    agent.
13                MR. RICHARDS:            Okay.          How about we just
14    stipulate to the obvious that an owner of a company has
15    greater authority.           That's not really a fact in this
16    case, but I'll stipulate for the record that the owner
17    of CLG has more authority than Mr. Redhun because I
18    don't think it matters.
19                MR. ELGIDELY:            Mr. Richards, do you want to
20    testify on behalf of the company or is Mr. Redhun
21    testifying?       I'm not sure, based upon your objections
22    here.
23                You know, typically an attorney objects based
24    on form or on privilege, but you continue to answer my
25    questions and provide lengthy explanations.                       Now you're

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 1    providing stipulations sir.
 2                So it's not clear as to who the witness is for
 3    this company.          Is it Mr. Redhun or is it you?                  And if
 4    it's you, sir, I'd ask you to limit your objections
 5    based on the form or based on the issues of privilege or
 6    work-project.
 7                MR. RICHARDS:            Counsel, please don't raise your
 8    voice.     Why are you raising your voice?
 9                MR. ELGIDELY:            Because I'm confused who the
10    witness is, sir.
11                MR. RICHARDS:            There're rules of civility in
12    the Central District.              I'm just doing my job.              Don't
13    raise your voice.          The record should reflect you're
14    yelling.      And with respect to --
15                MR. ELGIDELY:            No speaking objections, sir,
16    please.
17                MR. RICHARDS:            Sir, I made an objection based
18    on calls for a legal conclusion.                          I set forth a bunch of
19    objections, and then you addressed me and argued with me
20    about why I made the objection.
21                So I was just explaining and trying to short
22    circuit it by saying, we would stipulate to the legal
23    conclusion, and now you're getting upset by it.
24                I'm happy to just make objections.                       Don't
25    comment on them, and I won't comment to you.

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 1    BY MR. ELGIDELY:
 2         Q.     Mr. Redhun, who are the owners of Consumer
 3    Legal Group?
 4         A.     Aryeh Weber.
 5         Q.     Just one owner?
 6         A.     Yes, that I'm aware of.
 7         Q.     Okay.      Who are the officers of Consumer Legal
 8    Group?
 9         A.     I don't know.
10         Q.     Who are the directors of Consumer Legal
11    Group?
12         A.     I don't know.
13         Q.     Did Consumer Legal Group previously occupy
14    offices at 40 Wall Street?
15         A.     No.    I have an office at 40 Wall Street.
16         Q.     You're on the 45th floor?
17         A.     That's correct.
18         Q.     Do you share offices with Hidrock Properties?
19         A.     I wouldn't say we share.                        I mean, I kind of
20    sublease.
21         Q.     Okay.      You sublease from Hidrock Properties?
22         A.     Yes.
23         Q.     And, Mr. Redhun, are you familiar with Consumer
24    Legal Groups' website?
25         A.     Yes.

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 1          Q.    Bear with me for one second.                        I'll put that up
 2    here.
 3                Mr. Redhun, do you see the website that I
 4    pulled up on the screen here?
 5          A.    Yes, but there's something not correct about
 6    what I'm looking at.
 7          Q.    What is not correct, sir?
 8          A.    Well, for starters, the CLG logo on the left is
 9    overwriting text on the website.                          The ABA, the American
10    Bar Association, line looks to be cut off.                           It looks to
11    me there's some sort of technological issue with what's
12    on your screen.
13          Q.    Okay.      Other than the line and the logo, do you
14    see any errors in the content of what you're looking at?
15                Does this look familiar to you?
16          A.    Well, I can only see a very, very small part of
17    it.    And to be frank, I generally look at the substance,
18    not these sort of, like, buzz words.
19          Q.    Okay.      Have you ever visited
20    consumerlegalgroup.com, the website?
21          A.    Yes.
22          Q.    Okay.      Did you prepare any of the content on
23    this website?
24          A.    I may have.          I think so.                I certainly have
25    edited it.

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 1         Q.     If you go to "About CLG", if you click on that,
 2    "Our Firm", who are these individuals who are depicted
 3    on the website?
 4         A.     I don't know.            Those probably are stock
 5    images.
 6         Q.     Okay.      So these aren't actual people who work
 7    at Consumer Legal Group?
 8         A.     They could be because they're a lot of people
 9    there whose faces look familiar.                          But, you know, I have
10    a very specific role.              I go do my job.              I don't really
11    fraternize or socialize with the people, so I don't
12    know.
13                MR. RICHARDS:            I just have one objection,
14    Counsel.      I did not produce this witness to go over how
15    the website was constructed.                      Of course, if you want to
16    ask about content, feel free.                       But you didn't give us
17    any acknowledgement in advance that you had specific
18    website questions.           And I don't think this witness
19    manages the website.
20                MR. ELGIDELY:            Okay.          Is that an objection to
21    scope, Mr. Richards?
22                MR. RICHARDS:            Yes, it's an objection to
23    scope.
24                MR. ELGIDELY:            All right.
25                MR. RICHARDS:            I don't want you to get into the

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 1    minutiae of how the website is managed unless this
 2    witness really does manage it.
 3                MR. ELGIDELY:            Again, I'd ask you not to make
 4    speaking objections.             If you want to object to scope,
 5    all you have to do is say you object to scope.
 6           MR. RICHARDS:         I object to scope, potentially.
 7    BY MR. ELGIDELY:
 8         Q.     Mr. Redhun, I've clicked on "About CLG", and I
 9    clicked on "Our Legal Team", and it loaded this page
10    which reflects Mr. Weber's picture and some information
11    regarding the nature of his practice.
12                Do you see that on the screen, sir?
13         A.     I do.
14         Q.     Okay.      You're not on here as part of the
15    Consumer Legal Groups' team, are you?
16         A.     No, it doesn't look like it.
17         Q.     Okay.      In your declaration of the support of
18    the motion to sell, you indicated that Consumer Legal
19    Group employed four attorneys as part of its team and
20    three -- I'm sorry.            Four full-time attorneys and three
21    part-time staff attorneys.
22                Do you see any of the other attorneys on this
23    screen as part of the Consumer Legal Groups' team?
24         A.     I don't.       No.
25         Q.     Okay.      And are you one of the four full-time

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 1    attorneys, or are you one of the three part-time
 2    attorneys that's referenced in your declaration?
 3         A.     I think I consider myself full time, but give
 4    me a second.       And let me see if I want to clarify
 5    that.
 6         Q.     What are you looking at, sir, to clarify
 7    that?
 8         A.     I was not looking at anything.                      I was counting
 9    on my fingers.
10                No, I think I classify myself as part time
11    then.
12         Q.     Okay.      Who are the other two part-time
13    attorneys that work at Consumer Legal Group?
14         A.     I don't see why their names are relevant to
15    this.
16         Q.     Sir, this is absolutely relevant.                      Consumer
17    Legal Group is proposing to purchase the assets of the
18    debtor.     And the nature of Consumer Legal Groups'
19    business, you know, who Consumer Legal Group is and how
20    it's going to service these accounts is
21    absolutely relevant.             As well as the fact that in your
22    declaration, you make a point of stating that there are
23    four full-time and three part-time staff attorneys at
24    Consumer Legal Group.
25                MR. RICHARDS:            Well, Counsel, you indicated

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 1    that we could provide you those for "attorneys' eyes
 2    only" and that's what I think the basis of the concern
 3    is.
 4                Do you want him to email them to me and I can
 5    email them to you?
 6                MR. ELGIDELY:            No, Mr. Richards.          I asked you
 7    to give me the names of the hundreds of employees that
 8    Consumer Legal Group employs after the deposition.
 9                But I'm asking him now with the names of six
10    individuals.       The two other part-time staff attorneys
11    and the four full-time attorneys that work at Consumer
12    Legal Group.       Since it is only six and it's relevant,
13    I'm sure Mr. Redhun can answer the question.
14                THE WITNESS:           Okay.          Would you mind restating
15    the question?
16    BY MR. ELGIDELY:
17          Q.    Yes.
18                Who are the other two part-time staff attorneys
19    employed by Consumer Legal Group?
20          A.    John Borelli and Albert Hamowi.
21          Q.    Okay.      How do you spell Borelli?
22          A.    B-o-r-e-l-l-i.
23          Q.    B-o-r-e -- go ahead.
24          A.    L-l-i.
25          Q.    Okay.      And Mr. Borelli is a part-time staff

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 1    attorney employed at Consumer Legal Group?
 2         A.     Yes.
 3         Q.     Okay.      And who's the other part-time staff
 4    attorney?
 5         A.     Albert Hamowi, H-a-m-o-w-i.
 6         Q.     Did you say "Albert"?
 7         A.     Yes.
 8         Q.     And how do you spell the last name?
 9         A.     H-a-m-o-w-i.
10         Q.     Okay.      And who are the four full-time attorneys
11    employed by Consumer Legal Group?
12         A.     Jack Gross, Pandy Shen, Danitza Campbell, and
13    Ben --
14         Q.     Sir, I need you to slow down.
15                You said Jack Gross.                    Is that G-r-o-s-e?
16         A.     No.    I think his last name is G-r-o-s-s.
17         Q.     Oh, I'm sorry, Gross, G-r-o-s-s.                    Okay.
18                And then Pandy you said?
19         A.     Pandy Shen, S-h-e-n.                    I believe that's her last
20    name.
21         Q.     S-h-e-n?
22         A.     Yes.
23         Q.     Okay.      Go on.
24         A.     Danitza Campbell.
25         Q.     How do you spell Danitza?

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 1         A.     D-a-n-i-t-z-a.
 2         Q.     Okay.       Next?
 3         A.     And then there's Ben -- I think his last name
 4    is Ozure, but I'm not 100 percent sure.
 5         Q.     And how do you spell that?
 6         A.     I think it's O-z-u-r, but I'm not certain.
 7         Q.     Okay.       And in your declaration, you indicated
 8    that you manage this team of attorneys; correct?
 9         A.     Yes.
10         Q.     Okay.       And when did John Borelli start working
11    for Consumer Legal Group?
12         A.     A few months ago.
13         Q.     Okay.       About the same time you did?
14         A.     Yes.       Same answer for Albert.
15         Q.     Okay.       And how about Jack Gross?
16         A.     Jack came on after me.                      I don't know the date
17    or the month for you.
18         Q.     Okay.       And you said you started some time prior
19    to March of 2023; correct?
20         A.     There's a long -- yeah.
21         Q.     And Pandy Shen?
22         A.     I don't know if she came on before Jack or
23    after Jack.       I don't remember, honestly.
24         Q.     Okay.       But during 2023?
25         A.     You know what, I couldn't even tell you if 2023

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 1    or late 2022.          I don't remember.                  I'm telling you, the
 2    time flies by.          I could hardly keep track of my own
 3    stuff.
 4         Q.     Okay.       How about Danitza Campbell?
 5         A.     Also, I don't know if Danitza Campbell came
 6    before Pandy, after Pandy, before Jack -- I don't know.
 7    And Ben is recent.
 8         Q.     Okay.       Would it be fair to say then,
 9    Mr. Redhun, that this team of attorneys at Consumer
10    Legal Group, the majority of these individuals, were
11    only hired in 2023?
12         A.     I wouldn't say that.                    That's not a proper
13    characterization of testimony.
14         Q.     Okay.       Which ones were hired prior to 2023?
15         A.     Again, I just told you.                       I don't know when
16    everybody was hired.
17         Q.     So you tell me that my characterization is
18    improper, but you can't identify any of the lawyers who
19    were hired prior to 2023?
20         A.     Well, I would not commit to stating that all
21    those individuals were hired in 2023.                           That's my
22    testimony.
23         Q.     Which ones do you think were hired in 2022?
24         A.     I don't know.            I don't know.              We can get their
25    employment records and find out when they started.                              I

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 1    don't know.
 2         Q.     All right.         I'll ask your attorney to send that
 3    to me at the conclusion of the deposition.
 4                How many consumer clients did CLG provide
 5    consumer debt resolution services to in 2022?
 6         A.     I don't have that number.
 7         Q.     Approximately?
 8         A.     I'm not -- I'd be speculating, so I'm not going
 9    to answer.
10         Q.     So being the designated representative of
11    Consumer Legal Group concerning the purchase of the
12    debtor's assets, you're unable to testify today
13    concerning the number of consumer clients that CLG
14    provided consumer debt resolution services to during
15    2022?
16         A.     I don't want to answer -- I don't want to give
17    an answer that potentially may be false.                        And I'd be
18    speculating as to what the exact number is, and I can
19    tell you why I can't give you an exact number.
20         Q.     Okay.      I'm asking you, sir, what the
21    exact number is or the approximate number.
22                You're unable to give me an approximate?
23         A.     That's correct.
24         Q.     Okay.      Was it less than 5,000 or more than
25    5,000?

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 1         A.     I would say more than five, but again, I'd be
 2    speculating as to what that answer is.
 3         Q.     Okay.      Do you have any records or any
 4    documentation that would reflect the number of consumer
 5    clients in 2022?
 6         A.     I'm sure the company could get you that
 7    information.
 8         Q.     Okay.      Great.        I am requesting that.
 9                In 2023, excluding the 12,546 client files that
10    CLG acquired from the debtor, how many consumer clients
11    did CLG provide consumer debt resolution services to?
12         A.     Again, I'd be speculating if I answered.
13         Q.     Okay.      And you're unable to even approximate;
14    is that your answer?
15         A.     Correct.
16         Q.     Okay.      How many 1099's did Consumer Legal Group
17    issue to local counsel and other states in 2023 related
18    to consumer debt resolution services?
19         A.     I don't have the exact number because certain
20    attorneys cover more than one state.
21         Q.     Okay.      Just give me an approximate?
22         A.     Did you ask about the year?
23         Q.     Yes, 2022.
24         A.     I'm not sure because the local counsel network
25    is my -- that's one of the things that I do, and I don't

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 1    recall at the end of 2022 how many people I had in place
 2    for that, so I'm not sure.
 3         Q.     Okay.      You're unable to approximate?
 4         A.     Again, I don't want to give an approximation.
 5         Q.     Okay.      How about in 2023, how many 1099's were
 6    issued to local counsel for consumer debt resolution
 7    services?
 8         A.     Probably more than 20, I would say.
 9         Q.     More than 20.
10                So more than 20 1099's?
11         A.     Yes, but again, I don't get into how those tax
12    structures are in place.                  I'm pretty sure that we pay
13    with 1099's.       But, again, some counsel have more than
14    one state.      Some counsel have, like, three states.                      So,
15    again, I couldn't tell you for sure.
16         Q.     In the time that Consumer Legal Group has been
17    doing business, has it been the subject of any
18    complaints by any State Attorney General Offices
19    concerning alleged violation of consumer protection
20    laws?
21         A.     Not that I'm aware of.
22         Q.     And what about Consumer Financial Protection
23    Bureau, were there any complaints concerning alleged
24    violations of consumer protection laws to your
25    knowledge?

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 1         A.     Not that I'm aware.
 2                MR. RICHARDS:            Counsel, when you say
 3    "complaints", you mean like actions filed against the
 4    firm?
 5                MR. ELGIDELY:            No, I'm talking more in terms of
 6    any investigations, any inquiries, any, you know, target
 7    letters, or anything of that nature.
 8                MR. RICHARDS:            Okay.          I think his answer is
 9    sufficient then.
10    BY MR. ELGIDELY:
11         Q.     Well, Mr. Redhun, do you agree in terms of when
12    I say "complaints", do you understand that includes
13    investigations, target, letters, inquiries, and anything
14    in relation to alleged violations of consumer protection
15    laws?
16         A.     Yes.
17         Q.     Okay.      And your answer with regard to the State
18    Attorney General Offices, that's still no to your
19    knowledge; is that still your answer?
20         A.     Correct.
21         Q.     Okay.      Great.
22                How about Consumer Financial Protection Bureau,
23    a no to your knowledge?
24         A.     Correct.
25         Q.     Okay.      How about the Federal Trade Commission,

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 1    anything of that nature from the Federal Trade
 2    Commission?
 3         A.     Not to my knowledge.
 4         Q.     Okay.      I'm going to share my screen.                  Bear with
 5    me for a moment.
 6                Well, are you aware, sir, of what the Consumer
 7    Legal Groups rating is with the Better Business Bureau?
 8         A.     No.
 9         Q.     Okay.      Were you aware that the Consumer Legal
10    Group has an F rating with the Better Business Bureau?
11         A.     I told you, I wasn't aware of what the rating
12    was.
13                MR. RICHARDS:            Counsel, this is outside the
14    scope.     And I can tell you that they service some of the
15    LPG files, they got wrongly dragged into Better Business
16    Bureau issues.         And that was disclosed to the trustee,
17    and those were not from clients of CLG.                         Those were LPG
18    clients that filed complaints.                        So I'm not going to have
19    him get into that.           But we did disclose that to the
20    trustee.
21           MR. ELGIDELY:         I was asking the witness for his
22    testimony and the corporation's testimony.
23                Again, Mr. Richard, I would ask you not to
24    testify unless you are offering to be the witness in
25    today's deposition.

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 1                MR. RICHARDS:            It's outside the scope.
 2    BY MR. ELGIDELY:
 3          Q.    All right.         Let me share my screen.                    Bear with
 4    me.    I'm trying to pull this up.
 5                Mr. Redhun, are you able to see the document
 6    that I pulled up from the Better Business Bureau?
 7          A.    Yes.
 8          Q.    Okay.      Have you ever visited the Better
 9    Business Bureau website concerning the information it
10    reports on Consumer Legal Group?
11          A.    No.
12          Q.    Okay.      Do you see there it reflects an F BBB
13    rating?
14          A.    You changed something on your screen.
15          Q.    I'm sorry.
16                MR. RICHARDS:            We're reading your notes,
17    Counsel.      Should we close our eyes?
18                MR. ELGIDELY:            No, that's fine.                 You can read
19    them.
20                MR. RICHARDS:            All right.                 Let's move on,
21    Counsel.      He doesn't know anything about the Better
22    Business Bureau.
23                MR. ELGIDELY:            Mr. Richards, this is my
24    deposition, please.            I'm not moving on, okay.
25    BY MR. ELGIDELY:

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 1         Q.     Can you see that now, Mr. Redhun, the Better
 2    Business Bureau rating?
 3         A.     Yes.
 4         Q.     Okay.      And you see there it reports an F
 5    rating?
 6         A.     Yes.
 7         Q.     Okay.      And you see that there are several
 8    complaints against the Consumer Legal Group; correct?
 9                MR. RICHARDS:            Hold on, please.           Go back.     It
10    says, "12 complaints closed"; correct?
11                MR. ELGIDELY:            Okay.          I'm not asking if they
12    were closed.       They were opened, Mr. Richards.                   I'm
13    asking --
14                MR. RICHARDS:            It says, "12 complaints closed."
15                MR. ELGIDELY:            Mr. Richards, please.
16    BY MR. ELGIDELY:
17         Q.     Mr. Redhun, do you see there are 12 customer
18    complaints against Consumer Legal Group reported with
19    the Better Business Bureau?
20         A.     I can't say that they were reported to the
21    Better Business Bureau.                What I could say is that the
22    screen reflects there were 12 complaints -- and you just
23    changed the screen, and I can't see.
24         Q.     Right.      Now, I'm pulling up the complaints,
25    sir, so that you can see what the subject of the

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 1    complaints are.
 2                Do you see that there was an initial complaint
 3    made on June 6, 2023?
 4         A.     I see what's stated there.                          I can't speak to
 5    the complaint, obviously.
 6         Q.     Okay.      And do you see there was another
 7    complaint filed on May 15, 2023?
 8         A.     I see somebody filed something that's reported
 9    on this website.
10         Q.     Okay.      And you see that there was another
11    complaint on May 3, 2023?
12         A.     Same answer.
13         Q.     A second complaint filed on May 3, 2023?
14         A.     Yeah, but if you look at the complaint, it
15    says, "Our account with LPG."
16         Q.     Right, but you recall that Consumer Legal Group
17    acquired accounts from LPG, over 12,000; correct?
18         A.     Yes.
19         Q.     Okay.      And then it says, "By LPG, then Consumer
20    Legal."
21                You actually see the name "Consumer Legal
22    Group" in this complaint; correct?
23         A.     I do.
24         Q.     Okay.      And then you see there's another
25    complaint filed on May 2, 2023?

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 1         A.     Yeah.       Could I read the complaint?               Would you
 2    let me read it for a second?
 3         Q.     Sure.
 4                MR. RICHARDS:            Counsel, I mean, if he doesn't
 5    have personal knowledge of this, what facts are we
 6    trying to elicit?          I don't really understand the basis
 7    of this.
 8                MR. ELGIDELY:            Okay.          Mr. Richards --
 9                MR. RICHARDS:            If he knows about it, he should
10    answer it.      But why are you showing him complaints --
11                MR. ELGIDELY:            Mr. Richards, yet again, another
12    speaking objection.
13                You know, this is my first deposition I've ever
14    taken with somebody with so many speaking objections and
15    so much testimony provided by the lawyer.
16                The witness asked me to show him the complaint
17    on May 2, 2023, so that he can see it says, "This
18    company", referring to Consumer Legal Group, "keeps
19    withdrawing from my account, and I want it to stop.
20    This company is a scam.                I will have to close my
21    account."
22                Did I read that correctly, Mr. Redhun?
23         A.     Yes.       And I will state that we have almost
24    always issued a refund to almost anybody that
25    complains.

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 1         Q.     Okay.      Well, let's talk about refunds.
 2                Okay.      And the complaint June 6, 2023, it says,
 3    "These $240.61 was refunded without the additional fee a
 4    week later."
 5                The complainant then goes on to say that he was
 6    asked on June 2, 2023 that he needed to fill out a
 7    refund request, and he asked "How or why?                              I don't have
 8    a contract or request for services with them, so why
 9    would I have to fill out a refund request for them to
10    refund me the money they weren't supposed to take out in
11    the first place?          Then fraudulently withdraw my account,
12    and I'm only assuming that I will have to wait another
13    week for my $240 to be refunded, not to mention the
14    total of $58 in NSF fees I'll just have to swallow."
15                Did I read that correctly?
16         A.     Yes.
17         Q.     So you agree, sir, that the Better Business
18    Bureau website concerning Consumer Legal Group reflects
19    complaints concerning refunds to customers; correct?
20         A.     Counsel, anybody can file a complaint about
21    anything they want on any website.                              That's not assuming
22    it's remotely factually accurate.
23         Q.     Well, that's not my question, sir.                           I'm asking
24    you if the Better Business Bureau's website for Consumer
25    Legal Group reflects complaints about customers, whether

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 1    they were factually correct or incorrect, concerning
 2    refunds to customers?
 3         A.     It only makes sense then to read the two items
 4    that were beneath that complaint to give context to the
 5    complaint.
 6         Q.     Okay.      And in terms of the -- let me get back
 7    on the screen here.            Bear with me for one moment.
 8                Okay.      Sir, is there a reason why you don't
 9    look at the Better Business Bureau website concerning
10    Consumer Legal Group in your capacity as one of the team
11    of lawyers at CLG?
12         A.     It's not relevant to what I have to do.
13         Q.     Okay.      In your declaration you testified about
14    standard operating procedures that you implemented at
15    CLG; correct?
16         A.     Correct.
17         Q.     When were those SOPs implemented?
18         A.     Initially, and then they get tweaked over
19    time.
20         Q.     Okay.      But when was "initially", sir?                       When
21    were they first implemented?
22         A.     Well, I can't answer that.                          I don't know for
23    sure.
24         Q.     Approximately?
25         A.     When I first started, there may have been some

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 1    in place already.          I'm not sure.                  But I know that when I
 2    started, that was one of the things I took care of.
 3         Q.     Okay.      Did you produce or did the company
 4    produce to the Creditors Committee these standard
 5    operating procedures that were first implemented and the
 6    amendments thereto?
 7         A.     I don't know.            I would have to ask counsel.
 8         Q.     Okay.      Do you know whether the company produced
 9    the standard operating procedures to the trustee?
10         A.     Again, I would have to consult with counsel.
11    I've never produced anything directly to the trustee.
12         Q.     Okay.      You also reference in your declaration
13    policies and procedures that are maintained and utilized
14    by CLG; correct?
15         A.     Maybe.      I don't know.                 I don't have the
16    declaration in front of me.
17         Q.     Well, as the witness for CLG, are you aware of
18    policies and procedures separate and apart from the SOPs
19    that are referenced in your declaration?
20         A.     I would need a specific question to be able to
21    answer that specifically.
22         Q.     Okay.      Does CLG mean team policies and
23    procedures separate and apart from the standard
24    operating procedures?
25         A.     Well, we have general policies.                       We have

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 1    specific SOPs.         So I'm not sure exactly -- again, I'm
 2    not trying to be evasive, but you're asking me a very
 3    broad and general question, and I'm not able to answer
 4    such a broad and general question.
 5         Q.     Okay.      Were all of the policies that are
 6    utilized in the operation of CLG's business produced to
 7    the trustee and to the Creditors Committee?
 8         A.     I don't know.            I don't have personal knowledge
 9    about what was produced.
10         Q.     Sir, I'm just trying to understand the basis
11    for the assertion and the motion and the trustee's
12    motion and declaration that CLG has substantial
13    experience in the consumer debt legal industry and a
14    history of providing legally compliant legal services to
15    its clients.
16                Do you know what those assertions are based
17    upon?     What documents are those assertions based upon?
18         A.     I don't know that they're based on specific
19    documents.      That statement is based upon my experience,
20    you know, as well as the other attorneys in the
21    office.
22         Q.     Okay.      And the trustee also refers to CLG's
23    history experience in prior compliance with applicable
24    law.
25                And you recall that the New York Department of

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 1    State reflects the date of corporation of May 18, 2022.
 2    So I'm trying to understand what documents CLG provided
 3    to the trustee showing its long history experience in
 4    compliance with applicable law?
 5                Can you tell me what those documents were?
 6                MR. RICHARDS:            I'm going to object.          It assumes
 7    a fact not in evidence.                Lack of personal knowledge.
 8    Calls for speculation as to what the trustee and his
 9    counsel put those arguments or comments in their papers,
10    and outside the scope.
11    BY MR. ELGIDELY:
12         Q.     Okay.      Let me pull up another document here.
13                MR. RICHARDS:            Madam Court Reporter, we've been
14    going an hour whenever.                You need to take a break, will
15    you let us know, please?                  Lawyers will keep talking if
16    you don't interrupt us.
17                THE STENOGRAPHER:                 Thank you.
18                MR. RICHARDS:            You're welcome.
19    BY MR. ELGIDELY:
20         Q.     Mr. Redhun, can you see the email that I pulled
21    up or do you still see my notes?
22         A.     I see what looks to be an Outlook inbox.
23         Q.     Okay.      Do you see an email from Ronald Richards
24    to Nicholas Koffroth from my office?
25         A.     I see a number of emails.

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 1                MR. ELGIDELY:            Actually, let's take a
 2    five-minute break so I can get these documents in order.
 3    Hold on one second, please.                     We'll take five minutes.
 4                THE WITNESS:           Come back at 11:10?
 5                MR. ELGIDELY:            11:10.           Thank you.
 6                (Off the record:                8:05 a.m. - 8:13 a.m.)
 7                THE WITNESS:           Before you ask anything, 9 or 10
 8    of these complaints are related to LPG.                           And, obviously,
 9    you know, we're not really responsible for what LBG is.
10    So to the extent there are two or three complaints
11    related to CLG, given the thousands of clients that we
12    do service, you know, those numbers kind of speak for
13    themselves.       Even if all 12 were related to CLG, that
14    also is not even a drop in the bucket.                           That's an eye
15    drop of a drop.
16    BY MR. ELGIDELY:
17         Q.     Mr. Redhun, are you now prepared to testify
18    what the number of clients that CLG had in the consumer
19    debt legal industry when before you weren't even able to
20    approximate the number?
21         A.     I know there were thousands.                        Thousands is at
22    least two, and it goes into 900,000, right.                           I know that
23    there are thousands.
24         Q.     Okay.      I appreciate that information.                     And,
25    obviously, the complaints themselves and the responses

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 1    thereto are the best evidence of the nature of the
 2    complaints.
 3                So let's move forward, sir.                           So we were talking
 4    at the break about the representations about the long
 5    history that CLG had providing legally compliant
 6    consumer debt legal services to clients.                              And my
 7    questions were in relation to the standard operating
 8    procedures and the policies and procedures.
 9                Do you recall that?
10         A.     Yes.
11         Q.     Okay.      And sitting here today, you can't recall
12    whether those SOPs and policies and procedures were
13    provided to the Chapter 11 trustee prior to the filing
14    of the sale motion?
15         A.     That's correct.               I don't know what was
16    produced.
17         Q.     Okay.      And is it the same answer with regard to
18    the Creditors Committee, you don't know if the SOP,
19    policies or procedures were filed to the financial
20    committee before the sales motion was filed?
21         A.     That's correct.
22         Q.     Mr. Richards has sent me an email on Saturday
23    morning attaching three documents.                              It's called "Partial
24    production" is the subject line.                          And what he attached
25    was an IRS employer identification number letter, a

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 1    certificate of corporation for CLG, and a supplemental
 2    declaration that was signed by you.
 3                Do you know if this was the extent of the
 4    documentation that was provided to the trustee regarding
 5    the long history that CLG had providing legally
 6    compliant consumer debt legal services to clients?
 7                MR. RICHARDS:            I'm just going to object that it
 8    misstates the transmission.                     It was not to you.
 9    BY MR. ELGIDELY:
10         Q.     Okay.      It was to my firm; correct,
11    Mr. Richards?
12                MR. RICHARDS:            It was to Mr. Nicholas
13    Koffroth.
14    BY MR. ELGIDELY:
15         Q.     Nicholas Koffroth; correct?
16                MR. RICHARDS:            Yes.         I just don't want the
17    witness to get confused.                  I sent it to him, not to
18    you?
19                MR. ELGIDELY:            All right.                 Thank you, Mr.
20    Richards.
21    BY MR. ELGIDELY:
22         Q.     Mr. Redhun, my question is, the three documents
23    that are attached to Mr. Richards' email to the Fox
24    Rothschild Law Firm, are these the three documents that
25    were provided to the trustee to establish CLG's long

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 1    history of providing legally compliant legal services to
 2    clients?
 3         A.     I don't know.            I'm not the right person to
 4    answer about what Mr. Richards might have produced to
 5    somebody else.
 6         Q.     Okay.      Who would be the right person?
 7         A.     Mr. Richards.
 8         Q.     Okay.      So if we look in the employer
 9    identification number letter here, are you able to see
10    that?     I just opened it.
11                Are you able to see the letter, sir, on your
12    screen?
13         A.     No.    I see your email.
14         Q.     Okay.      Let me stop sharing the email and go to
15    the letter.
16           Do you see the letter now, sir?
17         A.     Yes.
18         Q.     And you'll see the letter is dated the same
19    date on the New York Department of State website
20    concerning the corporation date of CLG; correct?
21         A.     I don't recall offhand what the CLG date of the
22    corporation was.
23         Q.     Would you like me to go back to the website to
24    refresh your recollection?
25         A.     If you need to.               I'll stipulate that the date

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 1    of this notice, according to this document, states May
 2    18, 2022.
 3         Q.     Okay.      Do you have any reason to believe that
 4    CLG had an employer identification number prior to May
 5    18, 2022?
 6         A.     I don't understand the question, but I think I
 7    understand what you're asking me.
 8                I think but -- I have no way of answering that
 9    one way or the other.
10                MR. RICHARDS:            Mr. Elgidely, can you please
11    take that down?         I'm going to call back the document.
12    Something didn't get redacted.                        I'm going to resend the
13    same document but redact the identifying personal
14    information.       I'm going to send it right now.                   For some
15    reason, I see something that I intended to redact is
16    still on the screen so I'll send you one more version of
17    that with one more redaction.
18    BY MR. ELGIDELY:
19         Q.     Mr. Redhun, do you know whether the Consumer
20    Legal Group entity that you're testifying on behalf of
21    today had an employer identification number prior to May
22    18, 2022?
23         A.     I don't know one way or the other.
24         Q.     Okay.      Can you testify today about the
25    documents that you provided to the trustee to establish

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 1    CLG's long history of providing legally compliant legal
 2    services to clients in the consumer debt legal industry?
 3          A.    Again, I can only testify about things I know.
 4    I don't know what was produced to the trustee.
 5          Q.    Okay.
 6          A.    I'm happy to answer questions about CLG's
 7    operations.       I think that's what I'm here for.
 8                MR. RICHARDS:            Mr. Elgidely, I've now sent you
 9    back the same document.                You can repost it and use that
10    one.    It's called "V2".              I redacted the inadvertent
11    identifying information.                  Just let me know that you got
12    it.    I apologize for not catching that.
13                MR. ELGIDELY:            No problem.
14    BY MR. ELGIDELY:
15          Q.    Mr. Redhun, were you aware that on May 25 of
16    this year, the trustee had filed a lawsuit against
17    Consumer Legal Group and others?
18          A.    I'm aware that the trustee filed a suit.                      I
19    don't know about the date.
20          Q.    Okay.      If you look at the top of the complaint,
21    you'll see here it says May 25, 2023.
22                Do you see that here at the top of the
23    complaint?
24          A.    I do.
25          Q.    Do you have any reason to dispute that it was

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 1    filed on May 25, 2023?
 2         A.     No.
 3         Q.     Okay.      And you see in the caption of the
 4    complaint, it reflects Consumer Legal Group as a
 5    defendant.
 6                You see that on the bottom of the page there?
 7         Q.     Along with a bunch of other defendants?
 8         A.     Yes.
 9         Q.     In the complaint, sir, the trustee alleged that
10    the debtor transferred over 12,000 client files to
11    Consumer Legal Group.
12                Do you understand that?
13         A.     Understand the allegation or understand that
14    the trustee made the allegation?
15         Q.     Do you understand that that's what the trustee
16    was alleging in the lawsuit that the debtor fraudulently
17    transferred over 12,000 client files to CLG?
18         A.     It's my understanding that the complaint
19    alleges a slew of things against a lot of different
20    people.
21         Q.     Okay.      Well, we can go to the exact
22    allegations.
23                Is it your testimony, sir, that you don't know
24    what the trustee was suing CLG for?
25         A.     I know what I remember reading, but given that

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 1    we're taking a deposition with testimony and a lot of
 2    interested people, let's go to the actual allegation.
 3         Q.     Sure.       I'm happy to do that.
 4                MR. RICHARDS:            And just to caution the witness,
 5    please don't testify to anything that I've told you
 6    about the lawsuit or my impressions or comments.
 7                THE WITNESS:           Understood.
 8    BY MR. ELGIDELY:
 9         Q.     Okay.       Let me pull up the amended complaint
10    that was filed.
11                So you looked at the original complaint, sir,
12    right, and you saw the date was May 25, 2023; correct?
13         A.     When you say "original", what do you mean?
14         Q.     The first complaint?
15         A.     Is there more than one?
16         Q.     Yes.       I'm going to pull up the amended
17    complaint.
18                Could you see this says "Complaint 4", and it
19    lists six causes of action against Consumer Legal Group?
20         A.     I see that.
21         Q.     Okay.       And you see the date is May 25, 2023;
22    correct?
23         A.     Yes.
24         Q.     Okay.       Thank you.
25                Let me pull up the amended complaint.

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 1                Sir, do you see an amended complaint that was
 2    filed on June 15, 2023, by the trustee against Consumer
 3    Legal Group and a host of other -- you see Consumer
 4    Legal Group, LPC on page 2 of 31?
 5                You see that there, sir?
 6         A.     Yes.       I don't know that I've ever seen this
 7    document before.
 8         Q.     Okay.       And you see it says "amended complaint"
 9    as opposed to what the other document just said
10    "complaint"; correct?
11         A.     Yes.
12         Q.     Okay.       And let me get to the allegations
13    concerning Consumer Legal Group.
14                If you look at paragraph 67, sir, you see "In
15    addition to fraudulent client file transfers to the
16    alter egos described above, trustee is informed and
17    believes and based thereon alleges that Diab" --
18                Do you know who Diab is?
19         A.     I know who the trustee alleges that he is.
20         Q.     Have you had any conversations with Tony Diab
21    at any point in time?
22         A.     Maybe.
23         Q.     Okay.       Why do you say "maybe"?
24         A.     Because I'm not sure.
25         Q.     Okay.       What was the subject of that

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 1    conversation?
 2         A.     I don't recall.               I haven't -- I don't think
 3    I've spoken to Tony Diab in at least 10 months, I would
 4    say.
 5         Q.     Okay.      Do you know why you were speaking with
 6    him 10 months ago, approximately?
 7         A.     I think I wanted to know who he was using as
 8    local counsel in various states.
 9         Q.     I'm sorry.         You broke up a moment ago.
10                Can you repeat what the nature of your
11    conversation was with Mr. Diab approximately 10 months
12    ago?
13         A.     I think it had to do with finding local counsel
14    in the various states.
15         Q.     Okay.      How did you come to connect with
16    Mr. Diab?
17         A.     I don't recall.
18         Q.     Okay.      It was just a random call?                        You just
19    punched some numbers in on your phone and Mr. Diab
20    answered or --
21                MR. RICHARDS:            Objection.                 That's
22    argumentative.         Come on.
23    BY MR. ELGIDELY:
24         Q.     Mr. Redhun, did somebody introduce you to
25    Mr. Diab?

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 1         A.     I don't think anybody introduced me.                         I think
 2    that -- I knew that he was the principal of LPG, and he
 3    had a network of local counsel.                         And I think I probably
 4    reached out to him on a professional basis to see if he
 5    would share with me his network.
 6         Q.     How did you know he was the principal of the
 7    debtor?
 8         A.     I mean, you can look it up.                         But I don't recall
 9    how I initially made that contact.
10         Q.     Excuse me?
11         A.     I don't recall how I initially made that
12    contact with him.
13         Q.     Okay.      Well, would you have any emails or any
14    documents that would reflect how you initially made
15    contact with Mr. Diab?
16         A.     Unlikely.
17         Q.     Why is it "unlikely"?
18         A.     Because I remember speaking to him on the
19    phone.
20         Q.     Was it just a Google search that led you to
21    Mr. Diab?
22         A.     I don't recall, and I don't want to give a
23    speculative answer.
24         Q.     Okay.      Why was the debtor something that was of
25    interest to you approximately 10 months ago?

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 1                MR. RICHARDS:            Objection.
 2                THE WITNESS:           That's not what I said.
 3                MR. RICHARDS:            That's vague.              That misstates
 4    his testimony, and we need to be specific.                           You mean,
 5    LPG, why was that of interest or Tony Diab?
 6    BY MR. ELGIDELY:
 7         Q.     Okay.      Why was the debtor entity LPG, why did
 8    you initiate a call approximately 10 months ago -- or
 9    have a call approximately 10 months ago with Mr. Diab,
10    who you understood at the time was the principal of
11    LPG?
12         A.     Because it's my understanding that he had a
13    network of local counsel in the various states, and I
14    knew that I needed to create my own local counsel
15    network.      So why reinvent the wheel when I could see if
16    he would be willing to share his network with me.
17         Q.     Okay.      Well, sir, you're running your law firm,
18    Jason Redhun, P.C., at the time 10 months ago;
19    correct?
20         A.     Yes.
21         Q.     You weren't running Consumer Legal Group at the
22    time; correct?
23         A.     Correct.
24         Q.     So why was LPG's business and the network of
25    local counsel of interest to you approximately 10 months

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 1    before you even worked for Consumer Legal Group?
 2         A.     Because part of my work starting at CLG was to
 3    create this network.
 4         Q.     Okay.      So now you are testifying that you had
 5    started CLG?
 6                MR. RICHARDS:            Objection.                 That misstates his
 7    testimony.
 8    BY MR. ELGIDELY:
 9         Q.     Sir, I'm sorry.               You're breaking up a little
10    bit.
11                But I understood your testimony that part of
12    your work in starting CLG was to create this network of
13    local counsel?
14                MR. RICHARDS:            That misstates his testimony --
15    hold on.      Please give me an opportunity to object.                             That
16    misstates his testimony.
17    BY MR. ELGIDELY:
18         Q.     So, Mr. Redhun, why don't you clarify your
19    testimony in that regard?
20         A.     I didn't say that I started CLG.
21         Q.     So why again was LPG's business approximately
22    10 months ago, you know, of relevance to you since you
23    didn't work for CLG at the time such that you needed to
24    contact Mr. Diab about the network of local counsel?
25         A.     Part of the duties of mine at CLG is the local

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 1    counsel network.          When I came to CLG, when I onboarded
 2    at CLG, I knew that I had to set up that network.
 3    Instead of starting to call random people all over, I
 4    called somebody whom I believed already had a network in
 5    place to see if they would share that network so I
 6    didn't have to start from scratch.
 7          Q.    Okay.      I'm only confused, Mr. Redhun, because
 8    you testified that you started working for CLG a few
 9    months ago.       But now you're testifying that you
10    contacted Mr. Diab about a network of local counsel
11    approximately 10 months ago.
12                So in terms of the timeline, please, how do you
13    reconcile those two answers?
14          A.    That's a good question.                       Because I don't know
15    that I officially came on board at CLG until after the
16    local counsel network was in place.
17                It could be when I approximated 10 months, I
18    was mistaken, which is why I approximated.                          It could be
19    that I was at CLG longer than a couple of months.                            I
20    don't have a timeline ready to go for you.                          But my
21    answer in terms of creating the network of local counsel
22    speaks for itself.           That's one of the things I need to
23    do.
24          Q.    Okay.      So did you know whether Mr. Diab was a
25    licensed attorney approximately 10 months ago when you

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 1    had this call with him?
 2         A.     I had no idea nor was it of any interest -- I
 3    could care less.
 4         Q.     How did you find Mr. Diab's phone number?
 5         A.     I don't recall.
 6         Q.     Okay.      Did you send him any emails to initiate
 7    the call or coordinate the scheduling of the call?
 8         A.     When you're asking something from somebody,
 9    it's typical that you call up and maintain a friendly
10    approach as opposed to a very cold email.
11         Q.     Okay.      So is it your testimony that you did
12    coordinate the call prior to actually having the call?
13         A.     When you say "coordinate", I'm not sure what
14    you mean.
15         Q.     Okay.      Did you say, please let me know if
16    you're available on such and such day at such time so
17    that we can have a call regarding your network of local
18    counsel or something to that effect?
19         A.     I mean, I probably just called the way I
20    have -- I'm still trying to replace local counsel in
21    certain states to this day.
22         Q.     Why didn't you call Mr. March?                      Why did you
23    call Mr. Diab?
24         A.     I don't know.            That's a good question.
25         Q.     And at the time, were you contemplating the

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 1    formation of CLG when you called Mr. Diab?
 2         A.     That's not my prerogative.                          It wasn't me that
 3    incorporates CLG.          I had nothing to do with that.
 4         Q.     Okay.       Were you contemplating CLG acquiring
 5    LPG's business at the time of this phone call?
 6         A.     That's not a "me" question.
 7         Q.     Okay.       I thought, Mr. Redhun, though you
 8    testified that the reason you called Mr. Diab was to
 9    establish this network of local counsel for purposes of
10    serving consumer clients; is that accurate?
11         A.     That's accurate.
12         Q.     Okay.       And did you service consumer clients
13    through your individual P.C. prior to coming on board
14    with CLG?
15         A.     Yes.       I still do.
16         Q.     Your law firm, your P.C. has a portfolio with
17    consumer clients that you represent with regard to
18    consumer debt services?
19         A.     Now, it's a lot less than it once was.
20         Q.     Okay.       How much was it at its height?
21         A.     I don't know that I could pinpoint a specific
22    area because there are times of my life and times of the
23    year where I was busy doing X kind of work.                             And
24    then sometimes the X kind of work would dwindle, and I
25    would pick up Y, or I'd start doing a little bit of Z.

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 1    And then, you know, A or B would come along, and I'd
 2    focus on that even though I had some files left over
 3    from X, Y, and Z.          So it's tough to differentiate
 4    between the lines.           When you are solo and you have a
 5    small operation, you are kind of doing different things
 6    until certain things take on more precedence than
 7    others.
 8         Q.     Okay.      And this is the time during which you
 9    were a subtenant of Hidrock Properties; correct?
10         A.     I don't recall because I've moved offices, I'd
11    say, in the last year and a half.
12         Q.     Okay.      Going back to paragraph 67 of the
13    complaint.
14                The trustee alleges that the LPG fraudulently
15    transferred files without client consent to various
16    fraudulent transferees.
17                Do you see that in paragraph 67?
18         A.     I see the allegation.
19         Q.     And in paragraph 69, "The trustee alleges that
20    at or around the petition date, Diab admitted that LPG
21    had transferred or sold approximately" -- and then it
22    goes on -- "12,000 files to CLG, approximately $3.3
23    million in revenue."
24                Were you aware that was what the trustee was
25    alleging in or about June 2023?

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 1         A.     No.
 2         Q.     You had no idea what the trustee was alleging
 3    against CLG in June of 2023?
 4         A.     I was not aware that there was a complaint
 5    filed.
 6         Q.     Okay.      That's not my question, sir.
 7                My question is, did you understand the trustee
 8    was alleging in his lawsuit against CLG that the debtor,
 9    LPG, had fraudulently transferred 12,000 files
10    approximately to CLG and that represented approximately
11    $3.3 million in revenue?
12                Did you understand that's what the trustee was
13    suing CLG for?
14         A.     No, because I was unaware that there was
15    another complaint filed.
16         Q.     You weren't aware that's what the original
17    complaint alleged, sir?
18         A.     If they are similar allegations in the original
19    complaint, then yes, I was aware of what the similar
20    allegation was in the original complaint.
21         Q.     Okay.      When did you first become aware that LPG
22    was suing CLG?
23         A.     I don't have an exact date.                         Within the last
24    couple of months, I would say.
25         Q.     Okay.      So for approximately the last couple of

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 1    months, you knew that the trustee was suing CLG;
 2    correct?
 3         A.     Yes.
 4         Q.     And you knew that it related to LPG's transfer
 5    of approximately 12,000 files to CLG; correct?
 6         A.     I knew that was the claim that the trustee was
 7    making.
 8         Q.     Correct.       You knew that for approximately the
 9    last couple of months; correct?
10         A.     Yeah, that's why CLG was named in the first
11    place.
12         Q.     Okay.      And you know that the trustee was
13    alleging that the file transfer represented
14    approximately $3.3 million in revenue for the past
15    couple of months?
16         A.     I don't know if I knew that.
17         Q.     Okay.      What, if any, involvement did you have
18    on behalf of CLG relating to these file transfers?
19         A.     None related to the transfers, except for our
20    duties in servicing them when they came to CLG and
21    working on those files.
22         Q.     Do you know how the company became aware of the
23    opportunity to acquire these files?
24         A.     I'm not aware.             I'm not entirely certain.
25    Again, it's not something I deal with.

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 1          Q.    I'm sorry.         I couldn't hear you.                  Your signal
 2    broke up for a minute.
 3                MR. RICHARDS:            You didn't hear his answer,
 4    Mr. Elgidely?
 5                MR. ELGIDELY:            I did not.
 6                MR. RICHARDS:            Okay.          Can the court reporter
 7    read it back?
 8                (The stenographer read back the answer.)
 9    BY MR. ELGIDELY:
10          Q.    So, Mr. Redhun, you indicated that
11    approximately 10 months ago you contacted Mr. Diab
12    regarding his network of local counsel; correct?
13          A.    That was my testimony, yes.
14          Q.    Okay.      And sitting here today as the
15    representative of the company in response to the company
16    subpoena, is it your testimony that you don't have any
17    idea how CLG first learned of the opportunity to acquire
18    the LPG files?
19          A.    That's correct.               I deal with the legal end of
20    it.    I don't deal with anything else.
21          Q.    Okay.      Who would have dealt with the
22    acquisition of these files from LPG?                            Who at CLG?
23          A.    I don't know.
24          Q.    Were you aware that the company has a duty to
25    designate an individual that has knowledge concerning

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 1    the subject matters that are set forth in the Committee
 2    subpoena?
 3                MR. RICHARDS:            I'm going to object.          Now,
 4    you're asking him for privilege, work-product, and his
 5    own legal opinion.           We went through the categories he
 6    would testify to, and so this is an argumentative
 7    question.
 8                MR. ELGIDELY:            Okay.          I disagree, Mr. Richards,
 9    and again note your speaking objection.
10    BY MR. ELGIDELY:
11         Q.     Mr. Redhun, what if any efforts did you make to
12    identify an individual at CLG who could testify about
13    the acquisition of LPG's files which is set forth in the
14    trustee's complaints?
15                MR. RICHARDS:            I'm going to object.          It's not
16    in your deposition notice that specific category.
17    BY MR. ELGIDELY:
18         Q.     Okay.      Mr. Redhun, what did you do?
19         A.     Well, we previously had a call and agreed to a
20    scope of what the questions would be at this deposition.
21    And I don't know that this was specified as part of that
22    list, but I'm here to testify and answer questions about
23    CLG's business and legal operations.
24         Q.     Would Mr. Weber be the individual that is able
25    to testify concerning CLG's acquisition of files from

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 1    LPG?
 2         A.     I don't know.
 3         Q.     So your testimony, sir, under oath today is
 4    that you have no idea who at CLG has knowledge
 5    concerning its acquisition of files from LPG?
 6         A.     No, that's not my knowledge.
 7         Q.     What is it then?
 8         A.     What is that?
 9         Q.     What is it?          Who is the individual?                  If you
10    have knowledge, please tell me who those individuals
11    are?
12         A.     I don't know that -- sorry.                          Go ahead,
13    Richard.
14                MR. RICHARDS:            Counsel, the witness is prepared
15    to testify to the things he was designated for.                              Now
16    you're saying, please tell me who the individuals are
17    when this witness isn't designated.                             How can he answer
18    that truthfully unless he personally interviewed to
19    figure out who was part of that transaction?                             This is
20    not an appropriate question.                      You're trying to trick the
21    witness.      He's not designated for this.
22                MR. ELGIDELY:            The Committee issued a subpoena
23    to CLG's corporate representative and listed 20
24    categories of subject matters that would be -- that the
25    witness -- that we sought testimony concerning.

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 1                During our prior call, Mr. Richards, you
 2    indicated that Mr. Redhun could not testify to certain
 3    areas, but that doesn't excuse CLG from providing other
 4    witnesses who could testify to those other subject
 5    matters.
 6                So because the issue of good faith relates to
 7    the relationship and dealings between CLG and LPG prior
 8    to the bankruptcy filing, the knowledge of a CLG witness
 9    concerning the relationship and transactions between
10    those parties is absolutely relevant.
11                And I'm just trying to determine.                   I'm not
12    asking the witness what occurred, you know, with regard
13    to these transactions.
14                I'm asking him, based upon his experience as
15    the senior lawyer at CLG, who at CLG has knowledge
16    concerning its acquisition of files from LPG before the
17    bankruptcy.
18                MR. RICHARDS:            Respectfully, I think we're
19    talking past each other.                  All I said was, he simply was
20    not engaged in preparation for this deposition to answer
21    those questions.          We also told you on such short notice,
22    this is who we would be producing to answer these
23    categories.
24                We didn't limit perspective if you had to take
25    another deposition in the future, someone on other

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 1    categories.
 2                But it's not fair to ask this witness on a
 3    transaction he didn't participate in who would be the
 4    people that would have knowledge when he was never
 5    prepared to testify to that.
 6                So let's move on to another subject because
 7    he's not going to be able to tell you the parties to
 8    that specific transaction because I didn't prep him for
 9    that, he wasn't designated for that, and we told you
10    that before we did the deposition.
11                And you're implying on the record that we
12    somehow had a duty to produce someone else, when we
13    expressly told you, here's the only person we're going
14    to produce to answer these operational categories.
15                Like I said, other stuff that you need for the
16    purpose of the motion, I'm going to get you separately
17    and send it over.          So I'm happy to work with you and
18    cooperate with you, but let's not burden this witness
19    who has been testifying now for an hour and 45 minutes
20    of things he has no personal knowledge of.                      It's not
21    fair to him.
22                MR. ELGIDELY:            First of all, the time crunch,
23    the Committee didn't commit the time crunch.                       CLG and
24    LPG created the time crunch.
25                Secondly, you indicated you were designating

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 1    this witness.          We didn't choose the witness.               We chose
 2    the categories of testimony and the scope of testimony
 3    that the Committee was seeking.
 4                So you can't just select a witness with limited
 5    knowledge and then, you know, tie the hands behind the
 6    back of the Committee regarding the scope.
 7                This witness purports to be the senior attorney
 8    at CLG regarding this consumer debt practice.                       And
 9    certainly in his experience and his knowledge as to the
10    acquisition of over 12,000 files from LPG, he can
11    testify about who at the company may have knowledge
12    concerning that transaction.                      That's absolutely relevant
13    to CLG's good faith.
14                So I'm going to continue the questioning.
15    BY MR. ELGIDELY:
16         Q.     Mr. Redhun, does John Borelli have knowledge
17    concerning the acquisition of LPG files?
18         A.     No.
19         Q.     How about Albert Hamowi?
20         A.     No.
21         Q.     How about Jack Gross?
22         A.     Unlikely.
23         Q.     How about Pandy Shen?
24         A.     Unlikely.
25         Q.     How about Danitza Campbell?

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 1         A.     Unlikely.
 2         Q.     How about Ben Ozur?
 3         A.     No.
 4         Q.     How about Mr. Weber?
 5         A.     Potentially.
 6         Q.     Okay.      Thank you.
 7                So sitting here today, you have no knowledge
 8    about how the opportunity to acquire these files from
 9    LPG came about; is that your testimony?
10         A.     No, I'm saying that I'm not -- I'm not sure.                        I
11    know that they're -- there's probably a very simple
12    answer that I'm not privy to.
13                The same way that an associate at a law firm is
14    given an assignment and he's told to work on that, and
15    that's kind of the scope of his work and his
16    involvement.
17         Q.     Okay.      And is it your testimony that it's pure
18    coincidence that you contacted Tony Diab 10 months ago
19    concerning his network and local counsel and CLG's
20    subsequent acquisition of approximately 12,000 files
21    from LPG, that's pure coincidence?
22         A.     Not a coincidence.
23         Q.     Okay.      Were they related then?
24         A.     No.
25         Q.     If it's not related and it's not coincidence,

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 1    what is it?
 2         A.     Because if you have a business that operates
 3    and does similar work than you, it is not unreasonable
 4    to reach out, to go ahead and get samples that way.
 5    I'll call certain colleagues of mine and say, hey, do
 6    you have a memo of law on a specific performance issue
 7    when the seller died?              That I do all the time in my
 8    practice.      So it's not unreasonable to think to call up
 9    people that may be able to point you in the right
10    direction to getting your job done.
11         Q.     Okay.      Did your call with Tony Diab
12    approximately 10 months ago spur conversations
13    concerning the acquisition of LPG files?
14         A.     No, because that's not something that I dealt
15    with, have any involvement, I'm responsible for, or I'm
16    nothing like that.           I'm a boots on the ground person.
17         Q.     So CLG's subsequent acquisition of LPG files
18    had nothing to do with your call with Tony Diab
19    approximately 10 months ago; is that your testimony?
20         A.     I believe so, yes.                  That's correct.
21         Q.     What, if any, consideration did CLG pay for the
22    12,000 files?
23         A.     I don't know.            I would have to find out who
24    would know the answer to that question.
25         Q.     Do you know whether CLG had performed an

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 1    appraisal or a valuation of the compliant files before
 2    it acquired them?
 3         A.     I don't know that we did.                           But, again, I don't
 4    know.
 5         Q.     Where are the closing documents maintained for
 6    CLG's acquisition of client files from LPG?
 7         A.     I need to think about that.                           I'm not really
 8    sure.
 9         Q.     Okay.      Again, you're the senior attorney at CLG
10    that handles these consumer debt files?
11         A.     I am an attorney working at a law firm that
12    services clients.          There's a difference between a
13    rainmaker and a guy that sits in an office, or a
14    female -- I don't mean to go into that -- but there's a
15    difference between somebody whose job it is to bring
16    business into the firm and somebody's whose job it is to
17    bring in the actual work.                   I'm the person who does the
18    work.
19         Q.     Who is CLG's rainmaker?
20         A.     I was giving you a metaphor basically outlining
21    the distinguishing factor between what I do and what I
22    don't do.
23         Q.     And in your experience as the senior attorney
24    at CLG overseeing the team of lawyers on consumer debt
25    files, you don't know who the rainmaker is during that

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 1    period of time?
 2         A.     My job and my role is to make sure that when
 3    clients have files with suits attached to them that were
 4    coming in, they're being handled efficiently, by
 5    confident people, where things are not falling through
 6    the cracks, we're getting information from the clients,
 7    relaying that information, and we're taking care and
 8    protecting the client's interest.                           That's not my job.
 9    That's what we do at CLG.                   That's our role.
10                We are there to represent mostly people that
11    cannot afford proper legal representation who are being
12    sued and heavily outmatched by well-resourced and
13    powerful corporate institutions.                          And these individuals
14    who can never, in their wildest dreams, afford an
15    attorney at Fox Rothschild, who would otherwise be left
16    unrepresented, defending themselves, pro se by huge
17    collection corporations, we are the last line of the
18    defense between those individuals and them having their
19    financial condition turned upside down, having judgments
20    entered against them, having their wages garnished, and
21    having their homes and assets taken away.                           That's what
22    I'm charge of.
23         Q.     Okay.      But being in charge of a team of seven
24    lawyers, including yourself, you don't know who was
25    involved in acquiring the client files from LPG; is that

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 1    your testimony?
 2         A.     Servicing these clients is more than a
 3    full-time job.         We go from putting out fire to fire --
 4    well, thankfully recently, those fires are no longer as
 5    prudent as they once were.
 6         Q.     Sir, again, my question is limited to your
 7    knowledge about who was involved in the acquisition of
 8    files from LPG.
 9                And it's your testimony that as the senior
10    lawyer at CLG and the individual that signed the asset
11    purchase agreement as an agent, the person that's been
12    designated by the company for the deposition today, you
13    have no knowledge of what individual or what individuals
14    were involved on behalf of CLG in the acquisition of LPG
15    files; is that your testimony?
16         A.     You asked a very loaded and compounded
17    question.
18                I can tell you what we've been working on in
19    connection with the case that we're all here about in
20    terms of why --
21         Q.     Sir, I'll rephrase the question.
22                Who was involved at CLG in the acquisition of
23    files from LPG?
24         A.     I don't have the answer to that right now.
25           MR. ELGIDELY:         Okay.          Thank you.

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 1                All right.         The time is 11:52 Eastern Time.                      I
 2    understand that you have a court appearance, Mr. Redhun.
 3                How long do you anticipate that court
 4    appearance will take?
 5                THE WITNESS:           I don't know.                The last two times
 6    the court attorney was delayed for about 15 minutes, and
 7    then the whole conference lasted anywhere between
 8    20 minutes and 30 minutes.                    So let's give me 45 minutes
 9    to cover myself.          And if I'm not back, it's because I'm
10    still on that conference.
11           MR. ELGIDELY:         Okay.          So we'll resume the
12    deposition at 12:45 Eastern Time; is that acceptable to
13    you?    Or would you prefer 1 o'clock to give you a little
14    bit more time?
15                THE WITNESS:           No, I want to get this over with
16    so let's keep it 12:45.                And what I'll do is, I'll email
17    Mr. Richards, and I'll tell him if I'm delayed or not.
18           MR. ELGIDELY:         Okay.          So we'll all sign back on
19    at 12:45 Eastern Time.               And just to give you a sense of
20    how long it will take, maybe another hour to 90 minutes.
21    I don't anticipate that we'll be going much longer, but
22    we'll sign back on at 12:45 Eastern.
23                (Off the record:                8:53 a.m. - 10:04 a.m.)
24    BY MR. ELGIDELY:
25         Q.     Good afternoon, Mr. Redhun.

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 1         A.     Good afternoon.
 2         Q.     Just to remind you, you are still under oath.
 3                Do you understand that?
 4         A.     Yes.
 5         Q.     Okay.      Great.
 6                Mr. Redhun, before we had taken a break, we
 7    were talking about the trustee's complaint against CLG
 8    that was filed on May 25th.
 9                Do you recall that?
10         A.     Yes.
11         Q.     Okay.      Do you know why CLG has not filed an
12    answer to the complaint in the past two months?
13         A.     I was --
14                MR. RICHARDS:            Hold on.             That calls for
15    attorney-client privilege, work-product, and that's in
16    our stipulation.          You probably don't know that because
17    you're not the main counsel, but there's a stipulation
18    giving us an extension of time.
19    BY MR. ELGIDELY:
20         Q.     Okay.      Let me go to share my screen.                   Bear with
21    me for one second.
22                Mr. Redhun, I've put on the screen a
23    stipulation.       I don't think it's the stipulation that
24    Mr. Richards was referring to, but it was filed with the
25    court on July 6, the day before the motion to sell was

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 1    filed.     And it is a stipulation in the lawsuit regarding
 2    the partial settlement of claims and modification of the
 3    order on the trustees omnibus emergency motion as to
 4    covered parties and Defendants Consumer Legal Group,
 5    P.C. and LGS Holdco LLC.
 6                Are you familiar with this stipulation, sir?
 7         A.     I think so.          I would prefer to see all 13
 8    pages.     So if you could zoom out so I could see the
 9    entire complex?
10                MR. RICHARDS:            Mr. Elgidely, that was the
11    stipulation I was referring to.                         There should be a
12    provision in there that has an extension.
13    BY MR. ELGIDELY:
14         Q.     Before I go through all the 13 pages,
15    Mr. Redhun, I just want to ask you, on the 13th page, is
16    that your signature on behalf of Consumer Legal Group,
17    P.C?
18         A.     Yes.
19         Q.     Okay.      Do you know why an owner, officer, or
20    director of Consumer Legal Group, P.C. did not sign this
21    stipulation?
22         A.     No.
23                What's the date on this?
24         Q.     The day before the motion to settle was filed,
25    July 6, but you signed it, it looks like, on June 29.

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 1                Do you see that to the left of your signature
 2    block?
 3         A.     Yeah.       I do see that.
 4                I don't know why I signed it as opposed to
 5    anybody else.          I know that I've been working on it with
 6    everything so maybe that's the answer.
 7         Q.     Okay.       Did you have any discussions with
 8    anybody at Consumer Legal Group other than Mr. Richards
 9    concerning the motions that culminated in this
10    stipulation?
11         A.     Yes.
12         Q.     Who did you discuss it with?
13         A.     Mr. Weber.
14         Q.     Okay.       And what did you say to Mr. Weber?
15         A.     I think that might be privileged.
16         Q.     You're a party to the lawsuit.                      One corporate
17    representative speaking to another corporate
18    representative, what is the basis of your privilege
19    assertion?
20         A.     Well, that would certainly fall within the
21    context of document or information prepared in the
22    contemplation of litigation, which is privileged.
23         Q.     Do you represent -- are you the attorney for
24    Consumer Legal Group in this litigation?
25                Have you filed an appearance?

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 1         A.     No.
 2         Q.     Okay.      Has Mr. Weber?
 3         A.     Not that I'm aware of.
 4         Q.     Okay.      So sitting here today, you are unwilling
 5    to tell me what you and Mr. Weber discussed concerning
 6    the negotiations that culminated in this stipulation?
 7         A.     Well --
 8                MR. RICHARDS:            My only objection is, it's lack
 9    of personal knowledge and assumes a fact not in evidence
10    with respect to his negotiations.
11                MR. ELGIDELY:            He said he just talked to
12    Mr. Weber.      I mean, how is that lack of personal
13    knowledge?      I asked him, did he have any communications
14    with other representatives of Consumer Legal Group other
15    than you, Mr. Richards, concerning the negotiations that
16    culminated in this stipulation, and he testified, yes,
17    Mr. Weber.      And so I think he has personal knowledge of
18    what he said to Mr. Weber and what Mr. Weber said to him
19    and those are non-privileged.
20                MR. RICHARDS:            I'm not quarreling with you.              I
21    was just trying to point out that I negotiated with the
22    trustee one-on-one with his counsel and that there was
23    no negotiation.         You used the word "negotiation" in your
24    question with Redhun for this stipulation.                      That's all
25    I'm telling you.          I don't know what he talked about with

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 1    Mr. Weber, and if it was him passing along a message for
 2    me.    I don't know.
 3                MR. ELGIDELY:            That's why I asked him.                  This is
 4    fair game.
 5    BY MR. ELGIDELY:
 6          Q.    Mr. Redhun, unless Mr. Richards is going to
 7    assert the attorney-client privilege in response to my
 8    question concerning what discussions you had with
 9    Mr. Weber that resulted in this stipulation, you'll have
10    to answer the question, sir?
11          A.    Well, I think that any communication between
12    parties themselves concerning pending litigation, which
13    results in a stipulation that gets filed in court, are
14    certainly protected by the attorney-client privilege or
15    work-product.
16           MR. ELGIDELY:         Mr. Richards, is that your
17    position?
18                MR. RICHARDS:            Come on, Counsel.                 Did I make an
19    objection or instruction?
20                MR. ELGIDELY:            No, but --
21                MR. RICHARDS:            Hold on.             He's in New York.         He
22    runs his law office.             I don't know the context.                    I don't
23    know if he's passing on a message.                              I'd have to go
24    off-line and explore the privilege, and we don't have
25    the time to do that.

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 1                I'm not saying anything right now.                     He's a
 2    lawyer.     He knows what he's doing with respect to
 3    privilege, and I don't know what privilege he's
 4    referring to.
 5                Again, I don't know.                    I'm just saying, I didn't
 6    make an objection or an instruction to that question.
 7    And I can't -- without further talking to my client, I
 8    can't help out or not help up.                        He's going to have to
 9    make that decision on his own.
10    BY MR. ELGIDELY:
11         Q.     Mr. Redhun, you signed the NSF purchase
12    agreement as an agent for Consumer Legal Group;
13    correct?
14         A.     Yes.
15         Q.     Okay.      You signed this stipulation as the
16    authorized representative of Consumer Legal Group;
17    correct?
18         A.     Yes.
19         Q.     Okay.      Earlier you testified, as evidenced in
20    the two declarations you filed in support of the motion
21    to sell, that you were the senior attorney handling the
22    subject files at Consumer Legal Group overseeing a team
23    of four full-time attorneys, three part-time attorneys,
24    and eight paralegals; correct?
25         A.     Yes.

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 1         Q.     Okay.      When you had conversations with
 2    Mr. Webber concerning the terms and conditions of this
 3    stipulation, were you speaking to him as a
 4    representative of Consumer Legal Group?
 5         A.     I was speaking to him as an attorney working at
 6    Consumer Legal Group.
 7         Q.     Okay.      So is it your position that every
 8    communication you had with Mr. Weber, you had as an
 9    attorney that was subject to the attorney-client
10    privilege?
11                MR. RICHARDS:            I'm going to object.          That's
12    overbroad, that question, and it misstates his
13    testimony.
14                MR. ELGIDELY:            It's intentionally broad.
15    BY MR. ELGIDELY:
16         Q.     So again, Mr. Redhun, is it your testimony that
17    every conversation you had with Mr. Weber was in your
18    capacity as an attorney, and therefore, protected from
19    disclosure by the attorney-client privilege?
20         A.     No, not every communication.
21         Q.     Okay.      So did you render advice to Mr. Weber
22    regarding the terms and conditions of this stipulation
23    during these conversations?
24         A.     Well, which conversations are you referring to
25    because you just conceded that you asked a very broad

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 1    question?
 2         Q.     I'm asking about the stipulation, sir.
 3                Did you render legal advice to Mr. Weber
 4    concerning the terms and conditions of the stipulation
 5    with the trustee?
 6         A.     I think any answer that I would give you, other
 7    than my answers immune from response from this because
 8    of the attorney-client privilege, might theoretically
 9    waive that privilege, and it's not proper here.
10         Q.     Again my question, sir, is, when you discussed
11    the terms and conditions of the stipulation that was
12    ultimately filed with the court on July 6, 2023, with
13    Mr. Weber, did you render legal advice to Mr. Weber
14    concerning those terms and conditions?                          That's a yes or
15    no answer.
16         A.     I have to think if I can even answer that
17    question yes or no without violating the privilege.
18    Give me a second.
19         Q.     How much time do you need to think, sir?                         Do
20    you want to take a five-minute break?
21         A.     Sure.
22                MR. RICHARDS:            Mr. Elgidely, then I'm going to
23    instruct him to call me because I have no way of
24    understanding this issue.
25                Is that okay with you?                      Not that he's

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 1    precluded, but I just want to disclose I'm going to talk
 2    to him now because you're taking a break, and I don't
 3    understand the issues.
 4                MR. ELGIDELY:            Mr. Richards, you said, I didn't
 5    invoke the objection, he did.                       He's an attorney.        He
 6    knows what the attorney-client privilege is.
 7                So again, during my deposition, I don't want
 8    him to confer with you, Mr. Richards.                           It is either it
 9    is privileged and you, Mr. Richards, as counsel of
10    record are invoking the privilege on behalf of the
11    client or supporting the client's invocation of the
12    privilege or it's not privileged.                           So I just want an
13    answer.     Yes, we'll take five minutes.
14                MR. RICHARDS:            Hold on.             I'm not agreeing to go
15    off the record yet.
16                In California, we don't have a rule you can't
17    talk to your client during the deposition.                           I'm just
18    letting you know, I know some states do.                           There's
19    nothing improper.          The local rules don't like it when
20    there's a question pending, but he has a constitutional
21    right to talk to his lawyer, and there's no preclusion
22    whatsoever in California.
23                So I'm letting you know right now that, if you
24    want to take a break -- he's going to ask me my opinion
25    on the privileged issue because he has a right to do

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 1    that, and I'm going to invite him to do that.                             If you
 2    don't want him to ask me, we should not take a break,
 3    and you should either accept what he's saying, ask
 4    further questions, or move on.
 5                I just want you to let you know, if we take a
 6    break, that will happen.                  I'm just disclosing it so you
 7    have an opportunity to ask some more questions before I
 8    talk to him.
 9                MR. ELGIDELY:            Okay.          Mr. Richards, I'm not
10    going to take a break.               I disagree with you regarding
11    California law.          You can't consult with counsel while a
12    question is pending.             You can consult with counsel, I
13    agree with that, but you can't consult with counsel
14    regarding a pending question before the question is
15    answered.
16                So I'll move on.                And I don't agree that it's
17    privileged, but I'll move on in the interest of time.
18                MR. RICHARDS:            No problem.                I just want to also
19    point out, he did answer the question.                             You just didn't
20    like his answer, and we can move on.
21                MR. ELGIDELY:            He would not testify about what
22    he said to Mr. Weber.              He didn't answer that question,
23    Mr. Richards.          He said he had conversations, and I asked
24    him what the conversations were.                          And I asked, did you
25    give legal advice, and he said I can't even answer that

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 1    question.      I can't answer yes or not because it might
 2    waive the privilege.             I'm going to move on.           Let's not
 3    waste any more time on this.
 4                MR. RICHARDS:            You got it.
 5    BY MR. ELGIDELY:
 6         Q.     But your testimony, Mr. Redhun, was there were
 7    conversations with Mr. Weber concerning the terms of the
 8    conditions of this stipulation; correct?
 9         A.     I don't think you asked me in the plural.                       I
10    think you asked me if I spoke with Mr. Weber, and I
11    think I answered that in the affirmative.
12         Q.     Was it just one conversation or were there
13    multiple conversations?
14         A.     I don't recall.               There was certainly one.
15         Q.     Okay.      Do you recall whether that conversation
16    was before or after you signed the stipulation on behalf
17    of the company?
18         A.     I don't recall.
19         Q.     Mr. Richards was your counsel of record at the
20    time this stipulation was being negotiated; correct?
21         A.     He was counsel for Consumer Legal Group.
22         Q.     Right.      That's what I mean.
23                Well, you're here on behalf of Consumer Legal
24    Group; correct?
25         A.     Yes.

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 1         Q.     Okay.      So Mr. Richards was counsel of record
 2    for Consumer Legal Group at all relevant times during
 3    the adversary proceeding from May 25 through the present
 4    day; correct?
 5         A.     That's my understanding.
 6         Q.     Does Consumer Legal Group have any other
 7    counsel of record in the adversary proceeding followed
 8    by the trustee?
 9         A.     I don't know.
10                MR. RICHARDS:            Mr. Elgidely, just to point out,
11    there are two firms Greenspoon Marder and my office so
12    we have a truthful record.
13                MR. ELGIDELY:            Okay.          I appreciate that.
14                MR. RICHARDS:            Those are the two law firms
15    representing CLG, Greenspoon Marder, specifically Dan
16    Lev and myself, Law Offices of Ronald Richards &
17    Associates, A.P.C.           Both bar and admitted to the Central
18    District Bankruptcy Court.
19           MR. ELGIDELY:         Okay.          I was just going to the
20    signature block to see if any of the attorneys from CLG
21    signed it, but I don't see any of the attorneys'
22    signatures.
23           MR. RICHARDS:         Just for the record, that's
24    because we haven't made an appearance in the case yet
25    because the stipulation provided an extension.                        That's

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 1    why.
 2                MR. ELGIDELY:            Understood.                 Thank you.
 3    BY MR. ELGIDELY:
 4         Q.     So, Mr. Redhun, looking to the terms of the
 5    stipulation in the opening paragraph, it says that
 6    "Consumer Legal Group, P.C. along with its related
 7    company LGS Holdco, LLC."
 8                Do you see that in the first paragraph?
 9         A.     Yes, I do.
10         Q.     How is LGS Holdco related to CLG?
11         A.     It's my understanding that they are related
12    with respect to capital and financing.
13         Q.     What do you mean by that?
14         A.     I don't understand the question.
15         Q.     Well, you said they were related regarding
16    capital and financing, and I'm asking you to explain
17    that.
18                What does that mean?
19         A.     I think that LGS Holdco has loaned money to
20    Consumer Legal Group.
21         Q.     Typically, when a company like -- such as a
22    bank, loans money to a customer as a borrower, that's an
23    arms length relationship; correct?                              That doesn't make
24    them related?
25         A.     I'm not going to answer hypotheticals or

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 1    questions about "typical".
 2         Q.     Okay.       So I'm asking you, other than the fact
 3    that LGS Holdco, LLC loaned money to Consumer Legal
 4    Group, P.C., what if any other relationship exists
 5    between the two entities?
 6         A.     I think that is the extent of their
 7    relationship.
 8         Q.     Okay.       There's no common ownership of these two
 9    entities?
10                MR. RICHARDS:            I'm going to object.            It
11    misstates the evidence.                He already testified to that.
12                MR. ELGIDELY:            Okay.          I'm asking the questions,
13    Mr. Richards.          You can object.                It's noted for the
14    record.
15    BY MR. ELGIDELY:
16         Q.     I didn't hear an answer.
17                Mr. Redhun, is there any common ownership
18    between Consumer Legal Group and LGS Holdco?
19         A.     Not to my knowledge.
20         Q.     Okay.       Any common officers or directors?
21         A.     Not to my knowledge.
22         Q.     Was LGS Holdco involved in fundings CLG's
23    acquisition of the 12,000 plus files from LPG in early
24    2023?
25         A.     I'm not entirely sure.                      That's my answer.     I

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 1    know I left you hanging on the end, but I'm not entirely
 2    sure.
 3         Q.     Okay.      Do you know what LGS stands for?
 4         A.     I do not.
 5         Q.     In Section 1.3 of the stipulation, it contains
 6    various deliverables by CLG.
 7                Do you want to take a moment to review 1.3?
 8         A.     Yeah.      Do me a favor and zoom out?
 9         Q.     Can you still read it?
10         A.     Yeah, it's clearly cut off on the bottom.
11         Q.     I'm going to scroll down as you read to get to
12    that section.
13                Okay.      Did you read 1.3 through (i) to the
14    bottom of page 4 -- strike that.                          Let me try it a
15    different way.
16                Does Section 1.3 provides that "Within seven
17    calendar days of CLG's signature of this stipulation,
18    CLG will provide a declaration to the trustee under
19    penalty of perjury from its managing attorney attesting
20    to the following."
21                And in Roman (i) it says, "CLG's lack of any
22    personal business, or financial arrangements with LPG or
23    Tony Diab, aside from its purchase of the CLG acquired
24    clients or anything else that has been disclosed to
25    trustee."

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 1                Did I read that correctly?
 2         A.     Yes.
 3         Q.     Was such a declaration provided to the
 4    trustee?
 5         A.     I don't know.
 6         Q.     You signed this stipulation, sir, obligating
 7    the company to provide this declaration within seven
 8    calendar days of June -- we'll call it June 30, the last
 9    signer of the stipulation, and today is July 17.
10                So sitting here today, you don't know if this
11    declaration has been provided to the trustee pursuant to
12    1.3 (i)?
13         A.     I don't have any personal knowledge whether a
14    declaration was provided to the trustee.
15         Q.     Okay.
16         A.     If your question is, if I provided one to the
17    trustee, I have not provided anything to the trustee
18    directly.
19         Q.     Okay.      Do you know who the managing attorney of
20    CLG is?
21         A.     It might be me.
22         Q.     Who else could it be?
23         A.     Jack, but it's probably me.
24         Q.     Okay.      Did you sign such a declaration within
25    seven calendar days of your signature of the

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 1    stipulation?
 2         A.     I believe so.
 3         Q.     Okay.       Can you email that to me?
 4                Are you at a location where you could email
 5    that declaration to me?
 6                MR. RICHARDS:            Counsel, we provided two
 7    declarations at the request of the trustee, and then we
 8    set up this deposition.                So the parties to the agreement
 9    have not -- and the judge continued the hearing on the
10    motion to the date of the sale.
11                There's not a separate declaration he signed
12    other than the two that we've been provided.                       If the
13    trustee needs a third that's going to say the same thing
14    that he's going to testify to today, I'm sure they'll
15    ask us for one.
16                But I'm letting you know that we got redirected
17    on other things, and the stipulation has not been
18    approved yet.          And so if there's something missing, the
19    trustee would let us know if they want a third
20    declaration, but we've gone back and forth.
21                So I don't have anything to send you other than
22    the two we've sent you which should cover that concern.
23    But if it doesn't, the trustee will let us know and
24    we'll provide a third.
25                There's a reason why one was not provided.                       So

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 1    I don't think we should spend time on looking for
 2    something that's not there.
 3                MR. ELGIDELY:            Respectfully, Mr. Richards, I
 4    know you don't want to spend time on it, but this is my
 5    deposition, our witness, and we're trying to get to
 6    cooperation with the discovery from this proposed buyer
 7    of the debtor's assets.
 8    BY MR. ELGIDELY:
 9         Q.     Mr. Redhun, the Section 1.3, doesn't say that,
10    that these deliverables will be provided upon court
11    approval of the stipulation, does it?
12           It says within seven calendar days of CLG's
13    signature of the stipulation; correct?
14         A.     Without reading the entire agreement, I can't
15    give you my opinion.             But I would also say that a
16    stipulation is really subject to being so ordered by the
17    judge.
18         Q.     Sir, I'm asking you what this says.                    The first
19    clause in 1.3, does it say within certain days of
20    approval of the stipulation or does it say within a
21    certain number of days of CLG's signature of the
22    stipulation?
23         A.     There might be other language in the agreement
24    that triggers that exact thing that you're asking
25    about.

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 1         Q.     You're right, there could be.                       But I'm asking
 2    you about what this says?
 3         A.     1.3 speaks for itself.                      I don't know why you
 4    need me to opine on that.
 5         Q.     Okay.      It says, "within seven calendar days of
 6    CLG's signature of the stipulation."
 7                So my only question was whether it was
 8    provided -- sounds like you don't know if it was
 9    provided, but certainly something was provided.                           So I
10    appreciate that explanation, Mr. Richards.
11                So with regard to Roman (i) it says at the end
12    "or anything else that has been disclosed to the
13    trustee."
14                Do you know what that language means?                        I mean,
15    was there something else that was disclosed to the
16    trustee that's intended to encompass, or was it limited
17    to the lack of any personal business or financial
18    arrangements with LPG or Tony Diab?
19         A.     The language of anything else that has been
20    disclosed to this trustee is rather vague.
21                Like I've said, I have not provided anything
22    directly to the trustee.                  So I don't know that I'm the
23    proper person to answer that question.
24         Q.     Okay.      Going to Roman (ii), which also follows
25    the language of "within seven calendar days of CLG's

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 1    signature of the stipulation" it says, "A list and
 2    summary of all attorneys employed or retained by CLG to
 3    service the CLG acquired clients."
 4                Do you know -- and maybe Mr. Richards can
 5    add -- whether such a list has been provided to the
 6    trustee?
 7         A.     Again, I don't know.                    So I'm not the right
 8    person to answer that question.
 9                MR. ELGIDELY:            Mr. Richards?
10                THE WITNESS:           He's not under oath here.             He's
11    not testifying.
12                MR. ELGIDELY:            Well, he's been testifying all
13    morning.      All day he's been testifying.
14                THE WITNESS:           No, he's been doing his job.
15                MR. ELGIDELY:            Okay.
16                MR. RICHARDS:            I'm not going to become the de
17    facto deponent.
18                I can just tell you that there's settlement
19    communications that have involved numerous exchanges,
20    and that I don't think there's a concern about our
21    compliance with the stipulation, and if there is one, it
22    will be brought to my attention quickly.
23                But I don't want to get into how the different
24    things have changed, but I could tell you that no one
25    has contended we're in breach of the deliverables under

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 1    the settlement agreement.
 2    BY MR. ELGIDELY:
 3         Q.     Okay.      So, Mr. Redhun, as the individual that's
 4    signed this on behalf of CLG, you don't know if the
 5    deliverable in 1.3(ii) was provided?
 6         A.     I have no personal knowledge.                       Yes, I'm going
 7    to state the same answer.
 8         Q.     Okay.      And would the same thing hold true
 9    regarding (iii), (iv), (v), and (vi) Roman numerals?
10         A.     Yes, sir.
11         Q.     So this stipulation was filed July 6 in which
12    the trustee had touted the long history of legal
13    compliance by CLG.           But yet, Section 1.3 (iv) requires a
14    detailed summary of the services CLG provides within
15    seven calendar days.
16                Do you know why the trustee was asking for this
17    information the day before the motion to settle was
18    filed?
19         A.     That's not a question for me.                       That's a better
20    question for the trustee.
21         Q.     Okay.      1.4 says "CLG agrees that within 10
22    calendar days after execution of this stipulation by all
23    parties, CLG will provide trustee with financial
24    statements, profit and loss statements, and balance
25    sheets."

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 1                Do you know, Mr. Redhun, as the individual who
 2    signed this stipulation on behalf of CLG, whether that
 3    deliverable was delivered timely?
 4         A.     Again, I have not provided or communicated
 5    anything with the trustee directly, so I can't answer
 6    your question.         "Cannot" to the extent that maybe you
 7    heard "can" or whatever.                  Sorry.
 8         Q.     How about 1.6, do you know if that deliverable
 9    was provided?
10         A.     I'm going to give the same answer.                      I have no
11    personal knowledge as to whether CLG provided anything
12    directly to the trustee.
13                MR. RICHARDS:            And my objection will just be
14    outside the scope.
15                MR. ELGIDELY:            Okay.          I understand.
16    BY MR. ELGIDELY:
17         Q.     Section 1.8 of this stipulation provides for
18    CLG's payment of 40 percent from CLG fee share clients
19    to the debtor's estate.
20                Are you familiar with that provision?
21         A.     I don't see the word "debtor's estate" in
22    there.     I also would need to see what the definition
23    within the stipulation of CLG fee share clients is.                          I
24    would also need to see the rest of the paragraph before
25    I could even potentially give you an answer.

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 1         Q.     All right.         Let's do that.
 2                If you look at the second whereas clause, it
 3    speaks to -- it says, "For some of the CLG acquired
 4    clients, CLG contends that it paid reasonably equivalent
 5    value.     And that's defined as CLG non-fee share clients.
 6    And for others, CLG agreed to pay 40 percent of the
 7    revenue earned from the CLG acquired clients, and that's
 8    defined as CLG fee share clients."
 9                Do you see that, sir?
10         A.     Yes.
11         Q.     Okay.      Now, your other question is you wanted
12    to see the whole provision, so let's go back to that
13    provision.      1.8.
14                Why don't you take a moment to read that.
15         A.     Can you zoom out again, please?
16         Q.     Sure.
17         A.     Okay.      This is a dense paragraph.
18         Q.     It is.
19                But would it be fair, if I summarized it as
20    saying that CLG is going to pay 40 percent from all CLG
21    fee share clients to the trustee for the benefit of the
22    debtor's estate?
23         A.     Well, I would disagree with your part about the
24    debtor's estate.          I understand why you said that, but
25    this does not reference that.                       So let's just start with

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 1    that.     The second thing of it is, it says CLG is going
 2    to withhold 40 percent of receivables.
 3         Q.     How about the language I just highlighted?
 4         A.     Okay.       What's your question?
 5         Q.     Okay.       So does this agreement or this provision
 6    say that CLG, after an accounting, will provide the 40
 7    percent of the CLG fee share client revenue to the
 8    trustee?
 9         A.     I didn't read that.                   I don't mean to quibble
10    with you about the language, but I will.                           I don't read
11    it that way.
12         Q.     How do you read it, sir?                        How do you read it?
13         A.     So CLG is going to withhold 40 percent.                          It's
14    going to work on harmonizing the accounting.                           After the
15    accounting is harmonized and resolved, CLG will make
16    monthly payments of the resolved amounts, and then
17    provide the trustee with an accounting, and remit any
18    amounts previously withheld to the trustee.
19                So it's going to withhold 40 percent and then
20    do its thing.          It's going to do an accounting.                    After
21    the accounting is resolved, it's going to make monthly
22    payments of the resolved amounts.                           What resolved amounts
23    though?     The amount that's, I guess, subject to the
24    accounting.
25         Q.     So, Mr. Redhun, even though you signed this

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 1    document after discussing it with Mr. Weber and
 2    presumably with Mr. Richards, you're unclear as to
 3    what's to be remitted to the trustee from the 40
 4    percent?
 5         A.     No, I remember reading it.                          And this was the
 6    kind of thing where I had to stop everything that I was
 7    doing and really give it my full-undivided attention.
 8                And asking me a quick interpretation of what
 9    we've already agreed upon is a dense paragraph, it's not
10    fair to me.
11         Q.     I don't mean to be unfair.
12                MR. RICHARDS:            Well, you sort are respectfully,
13    Robert, because he's really here for operations.                               He's
14    not going to be segregating the money.                             That's not what
15    he does there.
16                But, I mean, we understand the stipulation, but
17    again, I'm just letting you ask him the questions.                                We
18    still haven't gotten into whether he knows whether he
19    has any relationship --
20                MR. ELGIDELY:            Mr. Richards, another speaking
21    objection.
22                MR. RICHARDS:            No, I'm not.                Sorry.
23                MR. ELGIDELY:            You're speaking more than the
24    witness today.
25                MR. RICHARDS:            I don't think so.

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 1    BY MR. ELGIDELY:
 2         Q.     Mr. Redhun, in the second whereas clause, do
 3    you understand the second whereas clause?                              How about we
 4    can start there.
 5                Did you understand it before you signed it?
 6         A.     Yes.
 7         Q.     Okay.      Do you understand it today?
 8         A.     Yes.
 9         Q.     Okay.      Now, what do you understand the
10    highlighted language to mean here?                              I'm going to
11    highlight it for you.
12                What do you understand what it means here?
13         A.     What's the relevance of my understanding of
14    this?
15         Q.     Because it goes to the dealings with LPG before
16    the petition date, and it goes to the good faith of your
17    company CLG or the company you work for.
18         A.     What do you mean "good faith"?
19         Q.     Sir, I'm not here to answer your questions.
20                I'm asking you what you understand the
21    highlighted sentence to mean?
22         A.     Is your client contending that the agreement is
23    vague or ambiguous?
24         Q.     Sir, I'm not being deposed by you.                           I'm asking
25    you this question, Mr. Redhun.

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 1                It's clear to me that you don't want to testify
 2    about this.       If you did, I don't know why you're
 3    fighting me so much.
 4         A.     I'll just say that the language speaks for
 5    itself.
 6         Q.     Okay.      So let me tell you how I interpret this
 7    provision.
 8                So at the time CLG acquired the 12,546 client
 9    files from LPG, it has taken the position in this
10    litigation that it paid reasonably equivalent value for
11    some of the clients.             And that's defined in this whereas
12    clause as CLG non-fee share clients.
13                Do you agree with that so far?
14         A.     I would need to hear the first part of what
15    your interpretation was before I could agree to that.
16                I don't know why you're fighting me about this
17    language.      It speaks for itself.                      You're not contending
18    that it's vague and ambiguous.
19         Q.     Mr. Redhun, there's a reason I'm asking this,
20    and I'm going to get to the reason, okay.
21                In this paragraph, again this sentence I should
22    say in the second whereas clause it says, "For some of
23    the CLG acquired clients, CLG contends that it agreed to
24    pay 40 percent of the revenue earned from the CLG
25    acquired clients."

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 1                Did I read that correctly?
 2         A.     Yes.       What's there is what you read.
 3         Q.     Okay.       And so at the time that CLG acquired
 4    these so-called CLG fee share clients from LPG, it
 5    agreed to pay 40 percent of the revenue earned back to
 6    LPG, the debtor; correct?
 7         A.     That's what this says.
 8         Q.     Okay.       So in this stipulation that's a partial
 9    settlement with the trustee, CLG is just agreeing to
10    comply with what it was already obligated to do, meaning
11    to give the 40 percent to LPG; correct?
12         A.     No, it's saying that the 40 percent that you
13    just read is a recital to this agreement because this
14    whole agreement is essentially a product of litigation
15    which is the product of various allegations between the
16    parties.
17         Q.     Okay.       Let me ask it this way, sir.
18                When CLG acquired these client files from LPG,
19    it agreed with regard to some of the files to pay 40
20    percent of the revenue earned back to LPG; correct?
21         A.     It doesn't say who the 40 percent is going to
22    go to actually.
23         Q.     Okay.       Let's go back to the second paragraph.
24    For others, CLG agreed to pay --
25                Who else would CLG pay 40 percent of the

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 1    revenue earned from files that it acquired from LPG?
 2    Who else?
 3         A.     I don't know, but this paragraph doesn't say
 4    who.
 5         Q.     Okay.      And you don't know who, as the person
 6    who signed this stipulation on behalf of CLG?
 7         A.     Now that you've highlighted the deficiency in
 8    the drafting of it, you've made me feel a little bit
 9    foolish.
10         Q.     Okay.      So, sir, isn't it true that under
11    Section 1.8 of the stipulation, CLG is merely agreeing
12    to honor its obligation to LPG by withholding and
13    remitting after an accounting, 40 percent of the revenue
14    earned from CLG fee share clients?
15                There's no additional money.                        This is not like
16    the trustee's getting any additional money with regard
17    to the CLG fee share clients.                       He's merely obtaining
18    CLG's compliance --
19         A.     Stop scrolling.
20         Q.     Merely obtaining CLG's compliance with its
21    preexisting obligation?
22         A.     Scroll down a little bit?
23         Q.     Sure.
24         A.     Stop.
25           I'll tell you why I can't answer your

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 1    question.
 2          Q.    Please.
 3          A.    I don't know if this paragraph relates to a
 4    settlement agreement with the trustee or if it relates
 5    to an agreement involving LPG.
 6          Q.    Do you know who the trustee is a representative
 7    of?
 8          A.    He's the trustee appointed by this court on
 9    behalf of the debtor estate.
10                And I'm going to insert one other thing about
11    bankruptcy.       I made a huge mistake taking that class in
12    law school.       I don't do any bankruptcy work.                  I
13    understand more or less the way bankruptcy works, but
14    whenever I see a file approaching the realization, the
15    actual realization that it's going to go to bankruptcy,
16    I'm going to have to send it to somebody who has more
17    knowledge than me.
18                So I kind of sound a little stupid, I
19    understand that, but I'm also not going to answer
20    questions about things that I don't handle on a
21    day-to-day basis.
22          Q.    Understood.          Thank you for explaining that to
23    me.
24                Mr. Redhun, this stipulation was negotiated
25    obviously as a result of the lawsuit that the trustee

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 1    filed, correct, against CLG?
 2         A.     That's my understanding, yes.
 3         Q.     It says, "partial statement of claims."
 4                Do you know if there has been compliance by CLG
 5    with regard to Section 1.10 in terms of CLG's obligation
 6    to deliver to the trustee or to provide to the trustee
 7    information relating to any and all payments made within
 8    the preceding four years to LPG, Tony Diab, and any of
 9    the covered entities and individuals described in the
10    June 2 order and to any of the defendants in the
11    fraudulent transfer action?
12         A.     Again, I don't have personal knowledge whether
13    CLG provided anything to the trustee, so I can't answer.
14    I'm sorry.
15         Q.     Understood.
16                What is your understanding of the scope of the
17    release that the trustee has given to CLG through this
18    stipulation?
19                MR. RICHARDS:            I'm going to object.            It calls
20    for a legal opinion/conclusion.                         It's outside the scope
21    of his knowledge.          I'm going to instruct him not to
22    answer that.
23                MR. ELGIDELY:            I'm just asking him what his
24    personal understanding as a lawyer practicing over 13
25    years as the managing attorney of the proposed buyer of

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 1    the debtor's assets and as the party who signed this
 2    stipulation.
 3                Certainly, he has an opinion that is not the
 4    product of consultation and advice from you,
 5    Mr. Richards, or the Greenspoon Marder Firm as to his
 6    understanding of the scope of the release that the
 7    trustees providing through this stipulation.
 8                MR. RICHARDS:            I don't know if he could answer
 9    that without invading privilege.                          It's also not
10    calculated to lead to the discovery of admissible
11    evidence.      His lay opinion about what the release means,
12    it speaks for itself.              I think you are going too far
13    afield.     Respectfully, I'm going to instruct him not to
14    answer on that question.
15                MR. ELGIDELY:            Okay.          Mr. Richards, where in
16    the stipulation does it provide for the extension of
17    time -- I think I missed it -- to answer the complaint?
18    I don't see that in here.
19                THE WITNESS:           Are we off the record?
20                MR. ELGIDELY:            Let's go off the record for 30
21    seconds.
22                (Off the record:                10:48 a.m. - 10:48 a.m.)
23                MR. ELGIDELY:            We're back on the --
24                MR. RICHARDS:            Counsel, asked me a
25    stipulation --

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 1                THE WITNESS:           Only one person can speak at a
 2    time.     Come on.      You all know how this works.
 3                MR. RICHARDS:            Counsel, asked me a question
 4    before we went off the record, where in the stipulation
 5    we get the extension.              I have 80 active files.            I
 6    couldn't remember that exact paragraph within one second
 7    so we went off the record and the deponent pointed out
 8    it's 10.1.
 9                MR. ELGIDELY:            Yes, which says, "CLG has
10    granted a 90-day extension of time to respond to the
11    complaint."
12    BY MR. ELGIDELY:
13         Q.     Mr. Redhun, do you know what the state of the
14    litigation would be between the trustee and CLG if the
15    sale goes through, if the sale is approved by the
16    court?
17         A.     That's a question that I think is more
18    appropriate for Mr. Richards.                       And I'm exceptionally
19    grateful for his involvement and his understanding of
20    the way the bankruptcy law works.
21    BY MR. ELGIDELY:
22         Q.     So my question is whether the litigation
23    between CLG and the trustee would continue to remain
24    pending, notwithstanding the sale of the debtor's asset
25    to CLG if it's approved by the court?

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 1                MR. RICHARDS:            Objection.                 Calls for
 2    speculation.       Attorney-client.                   Work-product.         Lack of
 3    personal knowledge.            Outside the scope.
 4    BY MR. ELGIDELY:
 5         Q.     Okay.      And all of those objections, you still
 6    can answer that, Mr. Redhun.                      Particularly, since there
 7    are some filings with the court concerning what the
 8    state of the litigation would be if the sale of the
 9    debtor's assets is approved by the court to CLG?
10         A.     Okay.      I don't mean to be annoying, but just
11    ask me your question again pointedly.
12                MR. RICHARDS:            Can't we just read it back?
13                MR. ELGIDELY:            No.        Mr. Richards, again, this
14    is my deposition, okay.
15    BY MR. ELGIDELY:
16         Q.     Are you aware, Mr. Redhun, that the litigation
17    between the trustee and CLG would continue, according to
18    documents filed with the court, notwithstanding the sale
19    of the debtor's assets to CLG, if such sale is approved
20    by the court?
21                MR. RICHARDS:            Objection.                 Calls for
22    speculation.       Lack of personal knowledge.
23    Attorney-client.          Work-product.                 Outside the scope.
24                MR. ELGIDELY:            Mr. Richards, it's certainly the
25    witness who signed the stipulation on behalf of CLG and

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 1    who was intimately involved.                      Earlier he testified this
 2    sale is all me, and he's been party to all of these
 3    documents, has personal knowledge of what the state of
 4    the litigation would be.                  But if you're instructing the
 5    witness not to answer this very simple question, and you
 6    don't want to cooperate on that point, then that's fine.
 7    We'll move forward.
 8                MR. RICHARDS:            Well, I never instructed him not
 9    to answer, Counsel.            I made --
10                MR. ELGIDELY:            You asserted attorney-client
11    privilege.
12                MR. RICHARDS:            I did, but I didn't instruct him
13    not to answer.         I just objected.                   There was no
14    instruction.       I'm allowed to object under privilege.
15    I'm just telegraphing that I'm making an objection.                                And
16    the witness, I didn't instruct him.                             He can answer it if
17    he wants.
18                THE WITNESS:           I would like to think that if the
19    court approved the sale, the court would recognize that
20    tens of thousands of mostly indigent consumers would now
21    have confident proper legal representation, otherwise
22    they would be left unrepresented.
23                So I would like to think after CLG is
24    recognized for helping all of these individuals out, the
25    litigation would end against them, but I can't say for

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 1    sure.
 2    BY MR. ELGIDELY:
 3         Q.     Okay.      But is it your understanding and belief
 4    at the time you signed this stipulation on behalf of
 5    CLG, that the litigation between the trustee and CLG
 6    would conclude if the court approved the sale of the
 7    debtor's assets to CLG?
 8         A.     I don't know if that stipulation that we just
 9    went over pertained to the pending claims by the trustee
10    against CLG or if it pertained to the potential
11    acquisition of those claims, so I can't answer.
12         Q.     Do you want me to pull it up again?
13         A.     Sure.
14         Q.     Okay.      Is it on your screen?
15         A.     Yeah, but I don't have control over it.
16         Q.     I understand.            I'm happy to scroll as you
17    request, sir.
18                So you see it's a stipulation that was filed in
19    the lawsuit and it says, "Partial settlement of claims
20    and modification of order on the trustee's emergency
21    motion with regard to Consumer Legal Group and LGS
22    Holdco."
23                Do you see that to the right of the caption?
24         A.     Yes.
25         Q.     And if you go down further.                         So you see this

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 1    whereas clause at line 7 through 11.                            "Whereas, neither
 2    the claims set forth in the adversary proceeding as
 3    amended, included but not limited to the trustee's
 4    action for avoidance or recovery, nor CLG's defenses
 5    thereto are being resolved by this stipulation and the
 6    parties reserve all of the rights, claims, and
 7    defenses."
 8                My question again, sir, is whether it was your
 9    understanding, belief, hope, whatever it may be, that if
10    the sale of the debtor's assets to CLG is approved by
11    the court that the litigation between the trustee and
12    CLG would conclude?
13         A.     Well, like you said, that would be my hope.
14         Q.     Okay.      Did anybody make any promises or
15    representations to you concerning what would happen with
16    that litigation in the event the bankruptcy court
17    approves the sale of the debtor's assets to CLG?
18         A.     Well, Mr. Richards should have immediately
19    spoken up and said attorney-client privilege.
20                But any communications that I had with
21    Mr. Richards would be protected by the attorney-client
22    privilege, and I have not spoken or communicated with
23    the trustee directly.
24                MR. RICHARDS:            The reason why I didn't object
25    is because I assumed he's referring to communications

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 1    with you outside of me.
 2                MR. ELGIDELY:            Correct.
 3                THE WITNESS:           I took a shot at you.              You know
 4    that.
 5                MR. RICHARDS:            It seems like everybody likes to
 6    do that.      Okay.     Thanks.
 7                THE WITNESS:           And you know there's love there?
 8                MR. RICHARDS:            I know.
 9                MR. ELGIDELY:            Can you guys do that off the
10    record, please?
11                MR. RICHARDS:            Sure.
12    BY MR. ELGIDELY:
13         Q.     Is LGS Holdco the source of any funds for the
14    purchase of the debtor's assets?
15         A.     You mean, the prospective files?
16         Q.     The pending motion to sell?
17                MR. RICHARDS:            I'm going to object.             That is
18    going to invade attorney-client privilege, work-product,
19    and financial privacy.
20                But I told you this when we spoke at the break,
21    that none of the funds are coming from HCH, and they
22    won't be coming from LGS Holdco.                          I can represent that
23    as well, but this is outside the scope of the witness's
24    knowledge.
25                MR. ELGIDELY:            Again, you're testifying.               I

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 1    don't know if the witness --
 2                MR. RICHARDS:            Listen, I'm a lawyer.                 I can
 3    make a representation on -- this is not an adversarial
 4    deposition.       It's an informational deposition.                          So if I
 5    have something that would help the Committee, there's
 6    nothing inappropriate about me volunteering that.                                It's
 7    just that this witness is not going to be involved in
 8    the financing of the acquisitions.                              That's not what he
 9    does.
10                MR. ELGIDELY:            To clarify, Mr. Richards, the
11    reason I said that is because obviously we like to get
12    sworn testimony from the actual buyer about what is
13    happening with regard to this transaction rather than
14    representations of counsel.
15                And sometimes clients tell us everything.
16    Sometimes they tell us half of things.                              I'm not saying
17    that's the case here, but this client is here to be
18    deposed under oath regarding a substantial transaction
19    relating to debtor's assets.                      And in light of the
20    allegations regarding the prior principals of LPG, it's
21    important that the Committee obtain sworn testimony by
22    the actual buyer.
23                MR. RICHARDS:            I know, but you asked me that at
24    the break, and I said that because it's so much money,
25    we don't know what account or what entity is going to

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 1    capitalize.
 2                MR. ELGIDELY:            Mr. Richards, you don't need to
 3    keep testifying, okay.
 4                MR. RICHARDS:            I'm not.             But I'm saying that
 5    the sworn testimony could be provided at the time of
 6    funding that this witness is not the right witness to
 7    get that from.         That's all I was trying to tell you.
 8                THE WITNESS:           What I can say is that whatever
 9    money that will be paid is not coming from anything else
10    to do with Tony Diab or LPG.                      And it's not coming from
11    any money that would be withheld or set aside pursuant
12    to the language in that stipulation.
13    BY MR. ELGIDELY:
14         Q.     Mr. Redhun, earlier I asked you whether you had
15    seen the trustee's allegation that the 12,000 plus files
16    that LPG transferred to CLG represented $3.3 million in
17    revenue.
18                Do you recall us going through that allegation
19    of the complaint?
20         A.     Yes.
21         Q.     Now, is any of the revenue or funds generated
22    from those 12,000 plus files being utilized in whole or
23    in part to purchase the debtor's assets in this proposed
24    transaction?
25         A.     No.

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 1         Q.     Okay.      So even though Mr. Richards says you
 2    don't know anything about where the source of the funds
 3    is coming from to pay the purchase price, you know for a
 4    fact that it's not coming from the $3.3 million in
 5    revenue that's result from the 12,000 plus files that
 6    were previously transferred from LPG to CLG?
 7         A.     Correct.
 8         Q.     Okay.      Thank you.             That's helpful.
 9                Earlier you testified that you were heavily
10    involved in the negotiations for the purchase of the
11    debtor's assets; correct?
12         A.     I don't know if I said "heavily".                      I'm
13    actively -- I'm doing a lot of the work.                         I don't know
14    if I used the word "heavily".                       That's what I want to
15    say.
16         Q.     Okay.      It's fair to say that you are actively
17    involved in the negotiation for the purchase of the
18    debtor's assets?
19         A.     Yes.
20         Q.     Okay.      And what was the nature of your
21    involvement in that regard?
22         A.     That's a very broad question.                       Let's go if you
23    could limit it, please.
24         Q.     Okay.      Did you have any discussions with the
25    trustee?

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 1         A.     No.
 2         Q.     Were you on any conference calls in which the
 3    trustee was participating?
 4         A.     I'm not sure.
 5         Q.     And by "conference calls", I mean telephonic or
 6    by videoconferencing equipment or otherwise?
 7         A.     Yeah, I'm not sure.
 8         Q.     Well, did you participate in any meetings in
 9    which the trustee was present?
10         A.     No.
11         Q.     Okay.      Did you provide any documents directly
12    to the trustee or the trustee's counsel?
13         A.     Not me.
14         Q.     Okay.      So if there was a document that was --
15    that Mr. Richards requested, you provided it to
16    Mr. Richards, and you would expect that Mr. Richards
17    would pass that along?
18         A.     Well, if Mr. Richards asked me for something, I
19    would give it to him regardless of what he needs it for
20    or uses it for.
21         Q.     Okay.      But in terms of negotiations for the
22    sale and purchase of these assets, did you provide
23    certain documents in connection with those efforts?
24         A.     Maybe.      I'm trying to think, but maybe.                  I
25    think I can better answer your question by saying that I

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 1    did a lot of the due diligence.
 2         Q.     Okay.
 3         A.     We can talk about that if you'd like.                        That's
 4    where I think you want to go.
 5         Q.     Okay.      I'm actually not talking about the due
 6    diligence with regard to LPG's assets.                          I'm asking about
 7    what information you gave regarding CLG's business to
 8    the trustee, the trustee's counsel, or your counsel.
 9                Did you provide any documents relating to CLG's
10    business to anybody?
11         A.     Not that I'm aware of.
12         Q.     Do you know if any of your team of lawyers that
13    you oversee provided any documents to the trustee, the
14    trustee's counsel, or Mr. Richards regarding CLG's
15    business or operations?
16         A.     I can only answer about me.
17         Q.     But you supervise the lawyers, so you don't
18    know what they do even though you supervise them?
19         A.     Well, you're asking me if somebody did
20    something and you're also asking me, how could you not
21    know everything you do because you supervise them.
22    That's not a fair characterization of that question.
23         Q.     Okay.      Who was the person most actively
24    involved at CLG with regard to the negotiations for the
25    purchase of the debtor's assets?

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 1         A.     CLG's counsel, Mr. Richards.
 2         Q.     Okay.      Who was the person underneath the CLG
 3    umbrella in terms of the corporate umbrella that was
 4    most active with regard to the negotiations for the
 5    purchase of the debtor's assets?
 6         A.     That would probably be me.
 7         Q.     And did you instruct anybody that you
 8    supervised to provide any documents to trustee,
 9    trustee's counsel, or your counsel regarding CLG's
10    business or operations?
11         A.     I'm not sure I can answer that because I think
12    that goes to the privilege issue again.
13         Q.     Okay.      What, if any, documents do you recall
14    providing concerning CLG's business and operations?
15                MR. RICHARDS:            I believe you've asked and
16    answered that.
17    BY MR. ELGIDELY:
18         Q.     You can answer, Mr. Redhun.
19         A.     I probably turned over the legal services
20    agreement and probably the SOPs that I drafted.
21         Q.     Okay.      Earlier you testified you didn't know if
22    the SOP's were provided.                  So now, do you recall having
23    provided those to the trustee or others involved in this
24    transaction?
25         A.     No, but if my answer that I just gave you

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 1    didn't have the word "probably" in the beginning of it,
 2    I would have included that there.
 3         Q.     So you may have?
 4         A.     Meaning, if you ask me what documents we
 5    needed, these would be the documents that I would give
 6    over.
 7         Q.     Okay.       In connection with my preparation for
 8    this deposition, we received a handful of emails between
 9    Mr. Richards and trustee's counsel concerning the
10    contemplated acquisition of the debtor's assets by CLG,
11    and those emails reflected a date range June 15 through
12    July 7.
13                Is that consistent with your recollection
14    concerning the time period of the negotiations for the
15    purchase of the debtor's assets?
16         A.     Sounds about right.                   I'm not going to commit to
17    those dates, but that sounds right.
18         Q.     All right.         Let me actually pull up one of
19    those emails.          Bear with me for one second.              Okay.      Let
20    me share my screen.
21           Can you see the letter that I put up on
22    the screen, Mr. Redhun, with the letterhead of Law
23    Office of Ronald Richards & Associates?
24         A.     I see a letterhead.
25         Q.     Okay.       That's what I was asking you.

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 1                You see the letterhead and the date June 19?
 2         A.     Yeah, I see that June 19 is listed on there.
 3         Q.     Okay.      And you see the subject is "Revised
 4    offer to purchase files", directed to Christopher Ghio
 5    at Dinsmore?
 6         A.     Yes.
 7         Q.     Okay.      And this says it is a revised offer.
 8                So do you recall how long before this revised
 9    offer negotiations began concerning the CLG's possible
10    purchase of the debtor's assets?
11         A.     No.
12         Q.     Do you know approximately how long?
13         A.     No.
14         Q.     Okay.      Let me pull up another email.                   Let me
15    share my screen.
16                Mr. Redhun, do you see a letter on
17    Mr. Richards' letterhead dated June 18 and it says
18    "Offer to purchase files"?
19         A.     Yes.
20         Q.     Okay.      And you recognize that this is an offer
21    to debtor's -- I'm sorry, to trustee's counsel to
22    purchase LPG files on June 18, 2023; correct?
23         A.     I don't know who Mr. Ghio represents.                        I don't
24    know that it's relating to that.                          I would need to read
25    the entire letter.           But also it's not a letter that I've

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 1    written, so I can't really comment on that.
 2         Q.     Okay.      Well, do you think Mr. Richards would
 3    send a letter without your authorization and consent?
 4                MR. RICHARDS:            That calls for speculation.
 5    Attorney-client privilege.                    Don't answer that.
 6    BY MR. ELGIDELY:
 7         Q.     So you see in this letter it says, "I am
 8    putting our offer to writing so we can have a framework
 9    to discuss matter further.                    Consumer Legal Group, P.C.
10    is offering the following."
11                Do you believe Consumer Legal Group was making
12    an offer to purchase files on June 18, Mr. Redhun?
13         A.     I believe so.            That's the topic of today's
14    conversation, no?
15         Q.     Well, my prior question you weren't, you know,
16    sure what it said until you read the whole thing and,
17    you know, this and that.
18                So I'm asking you now, looking at the terms of
19    this letter, does it refresh your recollection that, you
20    know, the prior document was an amended offer, does it
21    reflect an original offer to purchase files on June 18,
22    2023, from CLG?
23         A.     Can you zoom out, please?                           Let me read the
24    entire thing.
25         Q.     Can you still read it?

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 1         A.     Yeah.      Give me a second.                    Unless you can get
 2    both sets of texts in the same window?
 3         Q.     I can't.       Take your time.
 4         A.     Scroll down, please.                    Stop.       Okay.
 5         Q.     Does this refresh your recollection that CLG
 6    was making an offer to purchase files of LPG on June 18,
 7    2023?
 8         A.     Well, I don't want to add LPG into this, but
 9    the letter speaks for itself, and it certainly looks
10    like it's an offer.
11         Q.     Okay.      Do you know if CLG was offering to buy
12    35,000 or more files from any other entity other than
13    LPG in June 2023?
14         A.     I can't answer that.                    I know what I know.
15         Q.     Okay.      So somebody else may have been
16    negotiating a purchase of 35,000 or more files through
17    Mr. Richards in June that's unrelated to LPG; is that
18    your testimony?
19         A.     I'm saying, I don't know things that I don't
20    know.     I know what I know.
21         Q.     Okay.      And that was three days after the
22    trustee filed the amended complaint against CLG;
23    correct?
24         A.     The amended complaint was, what, 6/15 or 6/25?
25         Q.     6/15?

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 1         A.     So, yeah, three days later would be June 18.
 2         Q.     Okay.      So the negotiations for the purchase of
 3    the debtor's assets were done against the backdrop of
 4    the litigation between the trustee and CLG; correct?
 5         A.     Well, litigation between trustee and CLG has
 6    been ongoing since the trustee filed its main
 7    complaint.
 8         Q.     Right.      But my question is, sir, in negotiating
 9    the purchase of the debtor's assets, those negotiations
10    were taking place against the backdrop of the litigation
11    between the trustee and CLG; correct?
12                The litigation was pending when negotiations
13    started; correct?
14         A.     The negotiations were ongoing at the time that
15    the amended complaint was filed.
16         Q.     Okay.      Were there any negotiations between the
17    trustee and CLG before May 25?
18         A.     I don't know.
19         Q.     Okay.      Who would know?
20         A.     I don't know.
21         Q.     Do you have periodic meetings with Mr. Weber
22    and the team of lawyers that you supervise at CLG
23    concerning issues of interests to the business?
24         A.     We have way too many meetings about way too
25    many different things.

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 1         Q.     Okay.
 2         A.     Way too often.
 3         Q.     Okay.      So when was the first time the prospect
 4    acquiring LPG's assets, when was the first time that
 5    came to your attention or knowledge?
 6                MR. RICHARDS:            I'm just going to object.               It's
 7    going to invade attorney-client privilege,
 8    work-product.
 9                MR. ELGIDELY:            Are you instructing him not to
10    answer or no?
11                MR. RICHARDS:            I'm just instructing him to
12    answer if it's prior to my engagement.
13                MR. ELGIDELY:            Okay.          That's not --
14                MR. RICHARDS:            I don't want him to answer after
15    we were engaged, which I know the answer, but if he has
16    a different view he can answer, but I'm instructing him
17    not to answer after we were engaged.
18    BY MR. ELGIDELY:
19         Q.     Let me rephrase the question.                       Maybe that will
20    help.
21                So other than through Mr. Richards, did you
22    have any discussions or -- well, strike that.
23                Other than Mr. Richards, did the potential
24    opportunity to purchase LPG's assets come to your
25    attention?

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 1          A.    I don't know if it came to my attention as much
 2    as when I read the initial complaint from the trustee in
 3    May -- in late May, I immediately recognized that there
 4    was an opportunity there.
 5          Q.    Okay.      So it was only after the complaint was
 6    filed that you conceived the idea to acquire LPG's
 7    assets?
 8          A.    No.
 9          Q.    Okay.      How is my statement incorrect?
10          A.    It was not only after, it was upon the reading
11    of.
12          Q.    Okay.      Simultaneously with?
13          A.    Yes, I think -- then I think the answer to that
14    would be, yes.
15          Q.    Okay.      So you're reading the trustee's
16    complaint on or about May 25, 2023; correct?
17          A.    Around that day.                I don't remember exactly that
18    day.
19          Q.    Okay.
20          A.    It could have been a day or two later.                     I don't
21    know.
22          Q.    Okay.      And while you're reading the complaint,
23    did you think to yourself, hey, we may be able to --
24    hey, we, CLG, may be able to buy LPG's assets?
25          A.    No.    I thought that we could try and make a

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 1    deal in connection with defending ourselves in the
 2    litigation.
 3         Q.     Okay.      But again, sir, my question -- now, your
 4    last answer confused your prior answers.
 5                When did you first hear about or consider the
 6    possible acquisition of the debtor's assets?
 7         A.     I guess, I'm not sure.                      But I guess my default
 8    answer would be as soon as I heard about LPG's
 9    bankruptcy filing, but again, I'm not really sure.                               So I
10    can't answer that question.
11         Q.     So you believe it was before the trustee sued
12    CLG that you conceived the idea or was alerted to the
13    possibility of purchasing LPG's assets?
14         A.     So it wasn't my idea, and I wasn't alerted to
15    anything.      Any time I read any sort of pleading, in any
16    capacity I think about three things.                            And one of those
17    things is reaching a resolution.                          And that was the way I
18    analyzed and read the trustee's complaint in this
19    case.
20         Q.     Okay.      So when you read the trustee's complaint
21    and you were thinking about a way to resolve it, you
22    thought it could be resolved through a purchase of LPG's
23    assets?
24         A.     No, I thought that there was a potential deal
25    to be made with the trustee.

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 1         Q.     Okay.      And in these way too many meetings that
 2    you have with Mr. Weber and your legal team, did the
 3    subject of the acquisition of LPG's assets come up?
 4         A.     I have not discussed the -- the potential
 5    acquisition of LPG's assets with the legal team, it was
 6    only discussed with Mr. Weber after the initial
 7    complaint was filed.
 8         Q.     Okay.      Have you ever had a conversation with
 9    Mr. Weber and your legal team regarding the acquisition
10    of the assets of LPG?
11         A.     I can't answer that question on the grounds of
12    privilege.
13         Q.     Okay.      It's my understanding that CLG is going
14    to acquire approximately 22,000 customer files in
15    connection with this sale of the debtor's assets; is
16    that correct?
17         A.     I know that there are ongoing negotiations, and
18    I don't know if the number is 22,000.
19         Q.     Okay.      Did you ever have a conversation with
20    your team and say, hey, can we do this?                         There are a lot
21    more files coming on board.                     Do we have capacity?        Do we
22    have bandwidth?
23                Do you ever have any of those conversations?
24         A.     I don't need to have those conversations.
25         Q.     Okay.      How many customer files does CLG

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 1    currently have other than the 12,000 that it acquired
 2    from LPG?
 3         A.     I don't have an exact number.                       I think we went
 4    through this initially.
 5         Q.     Is it more or less than 22,000?
 6         A.     I don't have an exact number.                       I think we went
 7    through this initially.
 8         Q.     I'm not asking for an exact number.                       I'm asking
 9    for an approximate.
10                How many customer files does CLG have in the
11    year 2023, excluding the 12,000 customer files that it
12    previously acquired from LPG?
13         A.     I couldn't answer that.                       And let me preface my
14    answer with the following:
15                Files come in at various stages and files leave
16    at various stages.           So you could have an individual who
17    signs up, pays, and then can't afford the service
18    anymore.      Or you have a client that signs up but doesn't
19    make their initial payment.                     Or you could have a
20    situation where the client discharges CLG.                          Or you could
21    have a situation where CLG has resolved a particular
22    issue or matter for a particular client in which case it
23    no longer services that client.                         So there's a flux of
24    numbers that really prevents an accurate statement to --
25    excuse me, an accurate answer to your question.

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 1         Q.     Okay.      And I'm not asking for, you know,
 2    scientific precision, Mr. Redhun.                           I'm asking you in
 3    terms of an average or an approximate, does CLG during
 4    2023 have more than 22,000 files?
 5         A.     I don't believe so.                   I think the number is
 6    closer to not less than 10,000, coupled with the caveats
 7    and the covering and all that stuff.
 8         Q.     Okay.      That's helpful.
 9                So does the 10,000 approximation that you have
10    given me include any of the 12,000 customer files that
11    CLG acquired from LPG in early 2023?
12         A.     I can't answer that question.
13         Q.     Did CLG have any customer files other than the
14    files that it acquired from LPG in early 2023?
15         A.     Probably.
16         Q.     How many?
17         A.     I don't know.
18         Q.     Approximately?
19         A.     I can't answer that question.
20         Q.     Isn't it fair to say that the files that CLG
21    acquired from LPG in early 2023 effectively put CLG in
22    business?
23         A.     I don't think that's accurate.
24         Q.     But you have no metrics that you can provide to
25    dispute that characterization, do you?

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 1          A.    We had our own client base, I just don't know
 2    what that number looked like.
 3          Q.    Okay.      I asked you of the 10,000, did any of it
 4    include the files originally obtained from LPG in early
 5    2023 and you couldn't answer that; correct?
 6          A.    Because the answer was probably, but I'm not
 7    100 percent sure.          Likelihood, yes.                     But also maybe,
 8    no.
 9          Q.    Okay.      What percentage?
10          A.    The percentage of the 12,000 or the percentage
11    of CLG's 10,000, let's say?
12          Q.    Percentage of the 10,000?
13          A.    Probably around half, I would say.
14          Q.    Okay.      So before CLG acquired any of the LPG
15    files, it had approximately 5,000 of its own customer
16    files?
17          A.    Sounds about right.                   But, again, that number
18    may be up, may be down.
19          Q.    So would it be fair to say that CLG doubled its
20    business or the number of its files when it acquired the
21    LPG files in early 2023?
22          A.    I don't know about doubled.                          But as you saw,
23    based on those complaints that were filed on the BBB
24    website, not all those LPG clients were happy clients.
25          Q.    But that's not my question, sir.

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 1                So you started with 5,000 and then you acquired
 2    12,000; correct?
 3         A.     I don't know that all 12,000 were performing
 4    files.
 5         Q.     Did I say the word "performing"?                    No.
 6         A.     You're talking about doubling in size.                     I look
 7    at it from two perspectives.                      I look at it from a
 8    performing file or I look at it from a file where
 9    there's too much damage already done to the particular
10    client in which case we're not going to be able to do
11    anything for that client.
12         Q.     Understood, and I appreciate that
13    clarification.
14                For this question, I'm asking you just about
15    files, whether they are performing or non-performing.
16                So before the acquisition of files from LPG,
17    according to your estimates, and I recognize they're
18    only estimates, CLG had approximately 5,000 files;
19    correct?
20         A.     Okay.
21         Q.     And then it acquired 12,000; correct?
22         A.     Okay.
23         Q.     So it doubled the number of files, did it not,
24    through this LPG acquisition?
25         A.     More than doubling five brings you to at

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 1    least 10.
 2         Q.     That's a yes or no, sir.                        I don't need you to
 3    help me with the math.               I'm asking you, is it yes or no?
 4    It had 5.      It got 12.          So it more than doubled the
 5    number of files that it had; correct?
 6         A.     Yes.
 7         Q.     Okay.      So now CLG is proposing to acquire
 8    22,000 files, so that's another doubling of the number
 9    of files that CLG has; correct?
10         A.     Well, I don't know what the number of current
11    files it has now, so I can't say that.
12         Q.     Okay.      So at one point it had 12,000 customer
13    files it acquired from LPG; correct?
14         A.     Yes.
15         Q.     And then it's going to acquire through this
16    proposed sale 22,000 additional customer files;
17    correct?
18         A.     Hopefully.
19         Q.     That's nearly doubling the number of
20    files again; correct?
21         A.     Yes, close to doubling.
22         Q.     Okay.      And notwithstanding that, you don't feel
23    the need to have any conversations with any of the
24    attorneys that you supervise or with Mr. Weber whether
25    you have the ability at current staffing numbers to

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 1    service these numbers of files?
 2         A.     We didn't say before our current staffing
 3    numbers.
 4         Q.     That's what we were talking about today, right?
 5                So let me ask you this, Mr. Redhun.                           When you
 6    filed the motion to sell, according to your
 7    declarations, you had four full-time attorneys at CLG;
 8    correct?
 9         A.     Yes.
10                MR. RICHARDS:            Objection.                 He did not file the
11    motion to sell.         The trustee filed the motion to sell.
12    It misstates the evidence.
13                MR. ELGIDELY:            Thank you.                 But he was a party
14    to the asset purchase agreement.
15                MR. RICHARDS:            No, he wasn't.                 Actually, he was
16    not a party.       The trustee just filed a motion and used
17    its declaration.          There's no party in the motion.                        It's
18    just the trustee's motion so you know that's not
19    accurate, Counsel.
20    BY MR. ELGIDELY:
21         Q.     All right.         Let me share my screen.                    Hold on
22    one second, please, because I want to be accurate.                                 It's
23    always important to be accurate.
24                Mr. Redhun, I put on the screen, hopefully you
25    can see a document that was filed the day after the

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 1    stipulation of partial settlement on July 7.                           And it
 2    says, "Notice of motion and motion of trustee for entry
 3    of an order approving the sale."
 4                Do you see the first page of that document,
 5    sir?
 6         A.     Yes.
 7         Q.     Okay.       And attached to the motion was not only
 8    your declaration but it was -- let me get the exact page
 9    here.     It's Exhibit 2, page 250.
10                Do you see a document, which again is Exhibit 2
11    to the sale motion, entitled "Agreement of purchase and
12    sale and joint escrow instructions."
13                Do you see that document?
14         A.     Can you please zoom out?                        All I see is a very
15    limited portion of the page.
16         Q.     Do you see the section where it says,
17    "Agreement of purchase and sale and joint escrow
18    instructions"?
19         A.     You mean the heading of the document?
20         Q.     Yes.
21         A.     Yes.       I see that.
22         Q.     Can you see in the first paragraph the
23    agreement is between the trustee and Consumer Legal
24    Group as buyer?
25         A.     Yes.

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 1         Q.     Okay.      And this was filed with the sales
 2    motion, so let's go to the exhibit page of this
 3    Exhibit 2.
 4         A.     I need a bathroom break in a minute.
 5         Q.     Okay.      Of course.             Let me get to the signature
 6    page.
 7                MR. RICHARDS:            Counsel, how much more time do
 8    you think you have here?
 9                MR. ELGIDELY:            Probably about 15 to 30
10    minutes.
11                MR. RICHARDS:            Okay.          Great.
12                Is this all prompted by my comment that we're
13    not party to the motion because I'm still sticking to
14    that?
15                MR. ELGIDELY:            Thank you, Mr. Richards.
16    BY MR. ELGIDELY:
17         Q.     Mr. Redhun, do you see that you signed the
18    exhibit to the sale motion on behalf of Consumer Legal
19    Group on July 7, 2023?
20         A.     So then we're all very technical and careful.
21    I see my signature on a piece of a page, but I don't see
22    anything else about the page.                       I don't see any preceding
23    pages or any postdating pages.                        Nothing like that.
24         Q.     Okay.
25         A.     I also note the page you're looking at right

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 1    now which is 279 of 940 has a draft that is identified
 2    as the watermark, but the signature page did not have a
 3    draft watermark.
 4         Q.     I'm looking again at the sales motion, and I'm
 5    looking at Exhibit 2 which is the agreement for the
 6    purchase of the debtor's assets.
 7                Do you see in the lower right-hand corner of
 8    this 25th page it says "Exhibit 2"?
 9         A.     I see a blank page.                   It looks to be page 25 and
10    then on the bottom right in a different font it states
11    "Exhibit" in capital letters, page 229 even though we're
12    looking at page 274 of 940.
13         Q.     Do you see -- sir, is that your signature on
14    page 274?
15         A.     Yes.
16         Q.     And if you go back, there's page 24, page 23,
17    page 22, page 21, and 20.
18                MR. RICHARDS:            Okay.          Counsel, this is becoming
19    badgering.      It's an unsigned draft.
20                MR. ELGIDELY:            Please let me finish my
21    question.
22                MR. RICHARDS:            There's no question though.
23                MR. ELGIDELY:            I'm in the middle of a question.
24    The witness said, I can't see what I signed.
25                THE WITNESS:           No, I did not say that.            Don't

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 1    put words in my mouth.
 2    BY MR. ELGIDELY:
 3         Q.     Sir, did you not say you did not sign an asset
 4    purchase agreement, all you see is a signature page?
 5         A.     I conceded that was my signature, but I said, I
 6    can't see what it's connected to.
 7         Q.     Okay.      And that's what I'm trying to show you
 8    before I got interrupted.                   So let's keep going, and I'm
 9    going to show you what it's connected to so you're
10    comforted.
11                You see the mark, Exhibit 2, continues to be in
12    the lower right-hand corner of every page of this
13    document.      And now we're getting to page 1 where at the
14    top it says, "Agreement of purchase and sale and joint
15    escrow instructions", which on the prior page you see it
16    says "Exhibit 2", and you'll see that this is attached
17    to the trustee's motion to sell.
18                Do you see that now, sir?
19         A.     Yes.
20                MR. ELGIDELY:            Okay.          Why don't we take a
21    five-minute restroom break?                     I think you said you need
22    to use the restroom, Mr. Redhun?
23                THE WITNESS:           Yeah, I was looking to stop the
24    video.
25                (Off the record:                11:31 p.m. - 11:36 a.m.)

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 1    BY MR. ELGIDELY:
 2         Q.     Mr. Redhun, earlier you testified that you had
 3    no involvement in CLG's acquisition of approximately
 4    12,000 files in early 2023; correct?
 5         A.     Yeah, I don't remember being involved with that
 6    to an extent, yeah.
 7         Q.     Okay.      That's different from what you said
 8    earlier.
 9                What do you mean now by saying "to an
10    extent"?
11         A.     Like, I don't have any specific recollection.
12         Q.     Okay.      Is that something, if you were doubling
13    the number of customer files that CLG had, as a managing
14    attorney overseeing the team of lawyers and paralegals,
15    isn't that something you would remember whether you had
16    any involvement in that?
17         A.     I don't understand the question.
18         Q.     Okay.      So at that time, you were the managing
19    attorney at CLG; correct?
20         A.     At which time?
21         Q.     When CLG acquired approximately 12,000 files
22    from LPG?
23         A.     I don't know.            I don't know if I was the
24    managing attorney.           I think -- I don't know -- let me
25    just say it like this.               We don't use labels like that.

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 1    I guess, if we're going to pinpoint one person as the
 2    managing attorney, it would be me.
 3         Q.     Okay.      Because one of your declarations or
 4    something that CLG had filed referenced a managing
 5    attorney you said, "that would be me"?
 6         A.     Yes, but it's not like I have a sign on the
 7    door that says managing attorney.                           That's my point.
 8         Q.     Okay.      But you were employed by CLG at the time
 9    it acquired the 12,000 or so files from LPG; correct?
10         A.     I believe so.
11         Q.     Okay.      And you were the person primarily
12    responsible for handling the legal issues related to
13    those files at the time; correct?
14         A.     Yeah, probably.
15         Q.     Okay.      And sitting here today, you don't have
16    any recollection of being involved in CLG's acquisition
17    of those 12,000 or so files?
18         A.     I don't recall.               And the reason why I don't
19    recall is, I do too many things on a daily basis, that
20    these things, I have like a six-month memory band.
21         Q.     Okay.
22         A.     As I'm trying to testify here today, I have
23    briefs.     I've got files.               I've got a lot of stuff.              I
24    have my own personal life, obviously, to deal with.                              So
25    I have a lot going on.

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 1         Q.     Okay.      Well, the acquisition took place six
 2    months ago.       Today is July 17, and the acquisition was
 3    in January and February from LPG; correct?
 4         A.     Yeah.
 5         Q.     And despite the fact that you are doubling the
 6    number of customer files that you would be responsible
 7    for, adding to your already full plate, you don't have a
 8    recollection of being involved in that transaction?
 9         A.     No.    It could be -- and again, I'm speculating.
10    It could be I was asked to draft something that didn't
11    end up being signed.             It could be I had nothing to do
12    with it, and I was just tasked with managing the
13    onboarding of all these new files.
14                I don't know that at the time we took all these
15    files over that we had our network and system in place
16    to make sure that not everything was falling through the
17    cracks.     So I feel like my job at CLG is juggling
18    fireballs, so it could be that was one of those
19    fireballs.
20         Q.     Okay.      Do you feel like that's something that
21    happens pretty regularly with you at CLG, you're
22    juggling fireballs?
23         A.     Not recently.            Since we have our system in
24    place, things have settled down.                          Although, the newest
25    fire that I'm dealing with is trying to replace some of

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 1    the local counsel, which is a whole new product in and
 2    of itself.
 3         Q.     But historically, you felt like you were
 4    juggling fireballs at CLG; correct?
 5         A.     Not fireballs.             I have a lot going on.            Like
 6    you said, I have a lot on my plate.
 7         Q.     Okay.      In terms of the prior acquisition, that
 8    being early 2023, the 12,000 or so files, you testified
 9    that it was a rainmaker at CLG.                         You're like a worker
10    bee, you handle operations and run the office, but there
11    was a rainmaker that brought in the 12,000 or so files.
12                Do you recall that testimony?
13         A.     Yes, but you're mischaracterizing my
14    testimony.
15         Q.     Thank you.         And you can correct it?
16         A.     What I said was, my role was doing the work and
17    staying in my line.            Not going out and finding new
18    sources of business.
19         Q.     And today, again, you can't testify who was the
20    rainmaker that brought in those 12,000 or so files from
21    LPG; correct?
22         A.     I don't know.
23         Q.     Okay.      And why, sir, if somebody else was the
24    rainmaker handling the acquisition of those 12,000 or so
25    files from LPG in early 2023, are you now the person

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 1    most actively involved under the CLG umbrella with
 2    regard to the acquisition of 22,000 files from LPG?
 3                Why isn't the rainmaker that --
 4                MR. RICHARDS:            Objection.
 5                MR. ELGIDELY:            Mr. Richards, let me finish my
 6    question, please.
 7    BY MR. ELGIDELY:
 8         Q.     Why isn't the rainmaker who handled the 12,000
 9    acquisition earlier this year handling the acquisition
10    of the 22,000 files now?
11                MR. RICHARDS:            Objection.                 Vague.   Ambiguous.
12    Calls for speculation.               Conjecture.                 Unintelligible.
13                THE WITNESS:           So the short answer to your
14    question is that I have the birds-eye view and
15    understanding of how to triage and what to do first.
16                And now my involvement and my due diligence, I
17    know what to look for very carefully.                              And when I do my
18    due diligence, I cannot only see this step in front of
19    me, but I always see two steps ahead in terms of how
20    we're going to need to do certain types of work, kind of
21    who fits into what role best, where certain things go,
22    and things like that.
23    BY MR. ELGIDELY:
24         Q.     So you didn't have -- you didn't have that
25    birds-eye view and ability to triage earlier this year?

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 1    You just now have it?
 2         A.     Not as good as I do now.
 3         Q.     Okay.      What do you attribute your professional
 4    development to in the past, say, four months?
 5         A.     Being in the "operating room".
 6         Q.     What do you mean by that?
 7         A.     Meaning, seeing how the sausage is made.
 8    Seeing how the files look.                    What to look for.         What to
 9    anticipate.       What states are more advantageous than
10    others?     Seeing each of our team members and what their
11    strengths and weaknesses are.                       Things like that.
12         Q.     Okay.      And you acquired all of this in four
13    months, all that knowledge?
14         A.     Well, it's a work in progress.
15         Q.     Okay.      Let me share my screen.
16           Sir, can you see on your screen the motion of
17    trustee for entry of the order approving the sale?                              Can
18    you see that to the right of the caption of the case?
19         A.     Yes.
20         Q.     Okay.      It's right there.                    On the second, going
21    on to the third page -- well, actually, it's page 1.
22    The cover page is not numbered.                         But if you look at page
23    1, you'll see numbered paragraph 3 it says, "The total
24    purchase price for this sale is made up of an initial
25    deposit, a second deposit, and a percentage to the

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 1    estate derived from a fee."
 2                And then it goes on to say that, "These terms
 3    are all defined and set forth in the APA and must be
 4    reviewed and accepted by any party seeking to overbid.
 5    The total amount of the sale will be approximately $42
 6    million."
 7                Did I read that correctly?
 8         A.     Yes.
 9         Q.     Okay.      And do you know what the initial deposit
10    is for this purchase by CLG?
11         A.     No.    It's my understanding that negotiations
12    are ongoing.
13         Q.     Okay.      But didn't CLG -- actually, you on
14    behalf of CLG, sign an asset purchase agreement
15    providing for an initial deposit and second deposit?
16         A.     Yeah, but I'm not sure the agreement is
17    binding.      I think, if anything, it might be considered
18    an offer.
19         Q.     Okay.      Under the asset purchase agreement that
20    the trustee has sought court approval for, do you know
21    what the initial deposit amount is?
22         A.     No, but I'd like to say the document probably
23    speaks for itself.
24         Q.     Well, I'd like you to speak to it, sir, as the
25    designated individual at CLG who signed the asset

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 1    purchase.
 2                So you're saying today, on this sizable
 3    transaction, you don't know the amount of the initial
 4    deposit without looking at the agreement.
 5         A.     I have a rough idea of what it is, but I'm not
 6    going to speculate.            We could look at the actual
 7    agreement itself to answer that question.
 8         Q.     Okay.      So sitting here today, you would have to
 9    speculate as to the initial obligation of CLG in this
10    sizable transaction; is that your testimony?
11         A.     No.    I believe I know what it is, but I would
12    like to look at the document to ensure that I am
13    correct.
14                MR. RICHARDS:            Well, Counsel, the problem is
15    that after the site inspection, which we're subject to
16    an MDA so I'm not going to get into the issues, there
17    needs to be some adjustments.                       And the witness is
18    hearing these, you know, in a privileged setting, it's
19    just going to get confusing.                      And your client made some
20    red lines to the agreement that they want incorporated.
21                So that's why this document that was filed with
22    the court is clearly not going to be the final APA.                          And
23    the witness saw emails from me up and back explaining
24    changes.      So I don't think it's fair to ask him about
25    this now because it's not going to be the final

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 1    document.
 2                MR. ELGIDELY:            Okay.          Well, I'm not asking
 3    about the final document, Mr. Richards.                         I'm asking
 4    about the document that's been filed with the court as
 5    an agreement between the parties, trustee and CLG, that
 6    reflects the terms and conditions of the sale and that
 7    is the subject matter of this deposition.
 8                So I understand that there could be some
 9    additional modifications, that additional modifications
10    are likely, but I'm asking about what was filed with the
11    court.
12    BY MR. EGLIDELY:
13         Q.     So, we can go to the -- since you're not
14    certain, Mr. Redhun, let's go to the actual agreement
15    regarding the initial deposit and the subsequent
16    deposit.
17                So, do you know what the initial deposit is now
18    that you're looking at Section 2 of the APA?
19         A.     Yes.       And as I thought it was going to say, $1
20    million.
21         Q.     And do you know if that $1 million is going to
22    come back to CLG or any of its affiliates?
23         A.     When you say "come back to", what do you mean?
24         Q.     Are you familiar with the entity Liberty
25    Acquisitions?

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 1         A.     No.    I've seen that name somewhere, but I'm not
 2    familiar with what that is.
 3         Q.     So sitting here today, you don't know if
 4    Liberty Acquisitions is a related party to CLG in any
 5    way, shape, or form?
 6         A.     They're not related.
 7         Q.     Oh, they're not related.                        Okay.
 8                All right.         So let me take a look at that.
 9         A.     I don't believe that they are related, let me
10    just say it like that.               Let me just answer your question
11    that way.
12         Q.     So, if you look at page 212 of 289, which is in
13    the upper right-hand corner of this filing, you see it
14    says, "Pursuant to the note, Liberty Note, executed by
15    the trustee in favor of Liberty Acquisitions, Inc.
16    Buyer's Affiliate."
17                Are you sitting here today disputing the fact
18    that Liberty Acquisitions, Inc. is the buyer's
19    affiliate?
20         A.     No.    It says right there it's an affiliate.
21         Q.     But you just testified that it's not related?
22         A.     Related in the corporate sense of the term.
23         Q.     Okay.      So how is Liberty Acquisitions, Inc.
24    affiliated with CLG?
25                MR. RICHARDS:            I'm going to -- Counsel, I told

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 1    you in our call, we're not going to get into testimony
 2    that's going to scare or inhibit lenders, and that's
 3    going to really get into work-product, financial
 4    privacy.
 5                I told the court in open court the capital that
 6    is funding CLG is funding Liberty.                              We did not -- we
 7    disclosed that at the last hearing.                              You weren't there.
 8    And that's all -- that's why it's in the agreement as an
 9    affiliate.      They're not some outside company.                          They're a
10    company that funds -- they're a company in which the
11    capital is indirectly tied to other lenders that have
12    provided financing for CLG.
13                So this witness was specifically not designated
14    to get into the financial capitalization of CLG.                                And
15    now you're kind of going there, and I'm going to ask you
16    to move on because I can't see us getting anywhere with
17    this without multiple objections and instructions.
18    Except, you could absolutely explore, is Liberty in any
19    way an owner or influencer?                     Does he take direction from
20    Liberty, as you know, did the DIP loan and has been
21    asked to do another DIP loan with a pending motion.
22    BY MR. ELGIDELY:
23         Q.     Okay.      Mr. Redhun, do you see in this
24    paragraph -- I'll highlight the whole paragraph -- that
25    the asset purchase agreement that the trustee has sought

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 1    court approval for and that has been filed with the
 2    court says that "Liberty Acquisitions, Inc., the buyer's
 3    affiliate, will receive full repayment, plus
 4    interest" -- so full repayment -- "within one business
 5    day after CLG wires the $1 million deposit"?
 6                Do you see where it says that?
 7         A.     Yes.
 8         Q.     Okay.      So when I asked you before whether any
 9    of the $1 million would be coming back to CLG or any of
10    its affiliates, does this refresh your recollection that
11    some of the $1 million will be paid within one-business
12    day to CLG's affiliate Liberty Acquisitions?
13         A.     Well, my answer based on reading this would be
14    that Liberty Note would have to be repaid, and it would
15    be repaid through the buyer's deposit.
16         Q.     And the buyer is CLG; correct?
17         A.     Correct.
18         Q.     And CLG is an affiliate of Liberty; correct?
19         A.     Liberty Acquisitions, according to this.
20         Q.     Right.      So a million dollars leaves out of the
21    right pocket of CLG and ends up in the right pocket of
22    its affiliate Liberty Acquisitions; correct?                       Some
23    portion of that million dollars.
24         A.     Whatever the amount of the note is.
25         Q.     Okay.

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 1                MR. RICHARDS:            And, for the record, I don't
 2    know what you mean by "right pocket"?                              I mean, there's
 3    no -- Liberty is the DIP lender in a business point.
 4    And the deal is, if there's going to be a financing of
 5    the down payment, the DIP lender is going to get repaid.
 6                I'm not going to get into the confidential
 7    settlement negotiations or the business points with the
 8    trustee, but that was a negotiated term.
 9                MR. ELGIDELY:            Nor did I ask anybody to,
10    Mr. Richards.
11                MR. RICHARDS:            All right.                 Good.
12    BY MR. ELGIDELY:
13         Q.     Mr. Redhun, you'll see that the agreement
14    that's been filed with the court for approval calls for
15    a second deposit of $7 million; correct?
16         A.     I see that.          Correct.
17         Q.     So that totals $8 million, less the amount paid
18    to CLG's affiliate Liberty Acquisitions; correct?
19         A.     Correct.
20         Q.     Okay.      So how do you and the trustee get to --
21    I think the number was $42 million?                              If you know $8
22    million in cash is being paid, less the money being paid
23    to Liberty Acquisitions, how do you get to more than
24    five times the amount of cash being paid?
25                MR. RICHARDS:            Outside the scope.                 Speculation.

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 1    Lack of personal knowledge.
 2                Answer if you have an understanding of how the
 3    additional funds will be generated for the estate?
 4                THE WITNESS:           I don't -- I couldn't answer your
 5    question.
 6    BY MR. ELGIDELY:
 7         Q.     Okay.      Isn't it true that the $42 million is
 8    somehow based upon percentages of revenue generated from
 9    the customer or client files being sold to CLG?
10         A.     I don't know.            I can't answer that question.
11         Q.     You signed this APA, sir; correct?
12         A.     Yes.
13         Q.     Okay.      Did you read it before you signed it?
14         A.     More than once.
15                MR. RICHARDS:            Counsel, that's an argumentative
16    question.      He has counsel.                He doesn't need to read
17    every word of a document if he -- you know, that's not
18    required to sign a document.                      He's bound by the
19    document, it's not signed by the trustee, and he's
20    not -- these are questions that are not really getting
21    facts as to what his operational role is in managing the
22    legal portion of this entity.                       That's what he does
23    there.
24                MR. ELGIDELY:            Well, Mr. Richards, in my
25    experience, when somebody signs a document that is

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 1    binding on the company that they purport to represent
 2    and reflects a substantial transaction, they at least
 3    have a modicum of knowledge concerning the material
 4    terms and conditions of the deal.
 5                And, clearly, if there is a proposed sale at
 6    $42 million with $8 million -- or less than $8 million
 7    in cash being paid, you know, that's a material term
 8    that we're entitled to explore.
 9    BY MR. ELGIDELY:
10         Q.     So are you saying, Mr. Redhun, that
11    notwithstanding your signing of this document for a
12    sizable transaction, you don't know how the parties got
13    to $42 million?
14                MR. RICHARDS:            I'm going to object.          He didn't
15    draft the document.            You're invading attorney-client
16    privilege.
17                He doesn't need to know how I negotiated every
18    business point in confidential settlement communications
19    with the trustee.          Most clients, if you advise them of
20    the big points and there's other representations between
21    a client and a lawyer, a client doesn't need to
22    understand every legal provision of an agreement for a
23    business.      That's why there's a lawyer representing --
24    in fact, two lawyers have reviewed this document.
25                So this is not what he's here to testify to as

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 1    to how did the trustee come to the numbers in the sale
 2    motion because he didn't negotiate this document.
 3                MR. ELGIDELY:            Okay.          So you're telling me,
 4    Mr. Richards, that if there's a provision of a contract
 5    that that provision is privileged?
 6                MR. RICHARDS:            No.        You're asking him how did
 7    the trustee get to this number.                         And the only way he's
 8    going to be able to answer it is with communications
 9    from me because he didn't negotiate it, I did.                          So the
10    trustee and -- I didn't even negotiate with the trustee.
11    I negotiated with his lawyer, like many business
12    transactions.
13                And so you're asking this witness how did the
14    two lawyers come up with these numbers.                         He doesn't
15    care.     He wants to know, is the document approved for
16    signing?      He asked the questions he asks and then he
17    signs it.      He doesn't need to be an expert on every
18    term.     So when you ask him, how did the term get in the
19    document, he's only going to know through privilege.
20    That's why it's privileged, not the term itself.
21    BY MR. ELGIDELY:
22         Q.     Okay.      Mr. Redhun, if you look at page 255,
23    again the purchase price, Subparagraph A you'll see that
24    there are various percentages referenced in this
25    paragraph.

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 1                Are you familiar with what the effect of these
 2    percentages are?
 3         A.     I would need to read them again to be able to
 4    answer the question competently.
 5         Q.     Take your time.
 6         A.     I need to get control of the document though.
 7                MR. RICHARDS:            I mean, it's really outside his
 8    scope.
 9                MR. ELGIDELY:            It's not.
10    BY MR. ELGIDELY:
11         Q.     What provision do you want me to go to?
12                Can you see paragraph 2A clearly?
13         A.     Yes.
14                MR. RICHARDS:            My other objection is the
15    document speaks for itself.
16                MR. ELGIDELY:            Thank you, Mr. Richards.
17                THE WITNESS:           Okay.          Scroll down, please.      Down
18    please -- you know, there's a lot to read here.                        I can't
19    imagine this is the best use of my time.
20    BY MR. ELGIDELY:
21         Q.     Maybe not to you but certainly to the Committee
22    and you are under subpoena.
23                So, sir, if you look at page 6 of the APA, it's
24    actually page 255 of the PDF, you'll see it says, "After
25    deduction of an administrative overhead in the amount of

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 1    20 percent, buyer" -- and you understood that to refer
 2    to CLG; correct?
 3         A.     Yes.
 4         Q.     "Shall pay a fee equal to A) 20 percent of all
 5    amounts collected by buyer on all active executory
 6    contracts defined above from and after the closing, plus
 7    15 percent of all amounts collected by buyer on inactive
 8    executory contracts defined above, each calculated on a
 9    quarter basis.         Subsections A and B, collectively the
10    fee."
11                Did I read that correctly?
12         A.     Yes.
13         Q.     Okay.      So is it your understanding, sir, that
14    the difference between the $8 million being paid from
15    the initial and second deposit and the $42 million
16    purchase price that's attributable to the payments of
17    the fee as specified in this sentence?
18         A.     That looks to be the case, but again, I would
19    need to just preface that -- before I could properly
20    answer, I would like to read this document, you know, in
21    its entirety to familiarize myself with the language.
22    This is very dense language.
23         Q.     Okay.      But sitting here today, do you know of
24    any way other than the fee that the purchase price gets
25    from $8 million to $42 million?

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 1         A.     No, I'm not really sure -- your question is how
 2    did you go from $8 to $42 without the fee?
 3         Q.     No.    My question is, the $42 million, does that
 4    incorporate not only the two deposits totaling $8
 5    million, but does that incorporate the fee and that's
 6    what brings it to $42 million or is there something else
 7    that brings it to $42 million -- let me rephrase the
 8    question.
 9                Other than the deposits and the fee that's
10    specified in this paragraph, is CLG paying any other
11    consideration to the trustee for the acquisition of
12    LPG's assets?
13         A.     I need to read the entire thing.                           I'm sorry.
14         Q.     How do you value the fee, you know, to get from
15    $8 million to $42 million?                    Was there an appraisal or
16    other type of formal valuation conducted of the revenue
17    that would be generated from these client files?
18                MR. RICHARDS:            Objection.                 It assumes a fact
19    not in evidence.          It's outside the scope.                      The trustee
20    valued it at $42 million.                   I'm going to instruct him not
21    to answer.      You're now really going far afield.                           He
22    never testified to that value.                        It's not his words.
23                MR. ELGIDELY:            Okay.          I disagree, but let me
24    tell you why.          Bear with me for a moment.
25                MR. RICHARDS:            No problem.                 Our client is

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 1    trying to save 35,000 people from being left without
 2    counsel.      That's their number one goal here.
 3                MR. ELGIDELY:            Thank you for the testimony,
 4    Mr. Richards.
 5                MR. RICHARDS:            It's a statement.          I'm not a
 6    potted plant.
 7                MR. ELGIDELY:            Okay.          That has nothing to do
 8    with how you explain the difference between $8 million
 9    and $42 million.
10                Mr. Richards, in your statement that number
11    originated with the trustee.
12                Okay.      Bear with me for one second.                I'm going
13    to share my screen again.
14    BY MR. ELGIDELY:
15         Q.     Mr. Redhun, do you recall us talking about
16    Mr. Richards' letter dated June 18, 2023, regarding the
17    offer to purchase?
18         A.     Yes.
19         Q.     Okay.      In paragraph number one it says, "We
20    value our offer at $50 million to the estate with our up
21    front payment."
22                Do you know who Mr. Richards was purporting to
23    talk on behalf of in this letter?
24         A.     You'd have to ask Mr. Richards.
25         Q.     Doesn't the first sentence say, "I am putting

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 1    our offer to writing so we can have a framework to
 2    discuss our matter further.                     Consumer Legal Group, P.C.
 3    is offering the following:                    One, we value our offer at
 4    $50 million to the estate with our up front payment."
 5                Is this a valuation that was conceived by the
 6    trustee or is this a valuation that was conceived by
 7    CLG?
 8         A.     First of all, this is not my letter.                    These are
 9    not my words.          And this letter clearly implicates
10    conversations that are going on between Mr. Ghio and
11    Mr. Richards because it says, "I'm putting our offer to
12    writing."
13         Q.     Right.       My question though, sir, is, your
14    counsel of record -- "your" being Consumer Legal Group,
15    where you have been designated to testify on behalf
16    today, is saying, "We value our offer at $50 million to
17    the estate in this June 18 offer."
18                And my question quite simply is, how did you
19    get to that valuation?               Is there some appraisal or some
20    formal type of valuation that got you to the valuation
21    that CLG informed Mr. Ghio of on June 18, 2023?
22                MR. RICHARDS:            Okay.          That question assumes a
23    fact not in evidence, and there's no foundation that he
24    knows how I got to that value to put in my letter.                          You
25    don't ask the gatekeeping question first.                       You just

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 1    assume he knows.
 2                MR. ELGIDELY:            The gatekeeping question was the
 3    motion to sell that Mr. Redhun signed the asset purchase
 4    agreement that's the critical document that drives the
 5    motion to sell, and he submitted supporting
 6    declarations.          He's designated by the company to testify
 7    on its behalf.
 8                Your letters state that CLG valued the asset.
 9    The motion is subject to hire and better offers at a $42
10    million number and nobody can explain to me how the $42
11    million was arrived at.
12                MR. RICHARDS:            Well, my letter is an offer,
13    it's not what ultimately came to the court.                      There's
14    been inspections and other things that have gone on
15    since then.       And you haven't established that Mr. Redhun
16    has competency to testify to why those numbers were in
17    an asset purchase agreement or in my letter.
18                I'm not going to waive the MDA or other
19    settlement negotiations of things that were uncovered
20    afterwards.
21                You first have to ask him, do you have any
22    basis to know why Mr. Richards put that in the letter.
23    The answer is no.          We should move on to another subject,
24    not just throw up a straw man and try to make him feel
25    like he's supposed to testify to something I didn't

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 1    designate him to testify to.
 2                MR. ELGIDELY:            Well, again, the Committee
 3    outlined subject matters for today's testimony.                        You
 4    chose to produce somebody that you said has limited
 5    knowledge, even though that individual is the person
 6    that signed the asset purchase agreement that contains
 7    the numbers and figures, and your letters reflect that
 8    CLG arrived at this valuation.
 9                In fact, let me share this subsequent letter
10    here.
11                THE WITNESS:           Wait.          Can we look at the
12    agreement again, please?
13                MR. ELGIDELY:            Yeah, we'll get to that.            Let me
14    put up this letter.
15                MR. RICHARDS:            We doubled the two hour time
16    estimate.
17    BY MR. ELGIDELY:
18         Q.     If you look at the -- if you subtract all the
19    speaking objections, we're probably at a three-hour
20    deposition so far.
21                If you look at the June 19 letter from Mr.
22    Richards' files, and again, it says, "I am putting our
23    offer to writing so we can have the framework to discuss
24    matter further.         Consumer Legal Group, P.C. is offering
25    the following:         One, we value our offer at $42

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 1    million" --
 2           (Zoom audio interruption.)
 3                THE WITNESS:           You are breaking up again.
 4                MR. RICHARDS:            I can't hear the speaking.
 5                THE STENOGRAPHER:                 Mr. Elgidely is frozen.
 6    BY MR. ELGIDELY:
 7         Q.     Paragraph one says, "We value our offer at $42
 8    million."
 9                So, Mr. Redhun, do you know whether the
10    valuation was a valuation that originated with the
11    trustee or originated by CLG?
12         A.     I don't know who proposed that valuation.
13                But I would like to look at the agreement again
14    to see if I can answer your question like I've asked.
15                MR. RICHARDS:            I wouldn't do that, but that's
16    up to you.
17                MR. ELGIDELY:            Are you instructing the witness
18    not to look at a document that he asked to look at?
19                MR. RICHARDS:            No, he can look at it.
20                THE WITNESS:           I'm going to see if I can answer
21    your question to the extent that the document doesn't
22    speak for itself.
23    BY MR. ELGIDELY:
24         Q.     Okay.      Wonderful.
25                Even though a document says certain things,

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 1    there's information and testimony that could be provided
 2    to amplify what the document says.
 3                And that's all I'm trying to get at,
 4    Mr. Redhun, what the basis for the $42 million number
 5    is?    And it's hard for me to understand because nobody
 6    explained to me how you got to $42 million.
 7                Can you see the agreement now?
 8          A.    No.
 9                Can you zoom out?                 You're showing me, like,
10    five lines of text in one shot.
11                Go to the page we were looking at before.                       What
12    was that?      Page 6.       Okay.          Scroll down, please.
13                I can't read it when you keep scrolling through
14    the document.
15          Q.    Just tell me when you stop, sir.
16          A.    Stop.      Okay.       I think part of your answer is
17    set forth in the language itself.
18          Q.    Is this an $8 million proposed purchase or a
19    $42 million proposed purchase?
20          A.    It's an eight plus, and the plus is what's
21    written in the contract.
22          Q.    The language that I highlighted previously
23    regarding the fee?
24          A.    You've highlighted a lot of language.                     I don't
25    think it's fair.

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 1         Q.     I'll highlight it again.
 2                Is this the difference between the 8 and the
 3    42, sir?
 4         A.     More than that, but yes.
 5         Q.     What do you mean "more than that"?
 6         A.     The language that you need to highlight is more
 7    than what's just highlighted.
 8         Q.     Okay.      Where would you like me to continue
 9    highlighting to?          Tell me the word.
10         A.     I think you understand the principle.                     It
11    speaks for itself.           And it says right there, "The buyer
12    shall pay a fee equal to", and I'm not going to read it.
13    It speaks for itself.
14         Q.     Your testimony is the difference between the $8
15    and the $42 million is reflected in the fee that's been
16    highlighted on page 6 of the asset purchase agreement?
17         A.     Yes.
18         Q.     Okay.      Thank you.
19                But you don't have an appraisal or valuation
20    for the difference between the 8 and 42?
21                Let me rephrase.                You don't have an appraisal
22    that reflects the value of the fee; correct?
23         A.     I don't have a written appraisal.
24         Q.     Do you have a written valuation?
25         A.     Not that I'm aware of.

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 1         Q.     Are you aware of anybody in this transaction
 2    that has a written appraisal or written valuation?
 3         A.     I don't think I can answer that question.
 4         Q.     Mr. Redhun, the agreement required CLG to
 5    provide written proof of its financial ability to
 6    perform.
 7                Do you know whether that written proof was
 8    provided?
 9         A.     I don't know.
10         Q.     What written proof would CLG provide concerning
11    its financial ability to perform?
12         A.     Well, you're asking me a hypothetical, but I
13    would like to think of some sort of proof of funds.
14         Q.     Okay.      Does CLG or any of its owners, officers,
15    directors, or employees have any past relationship that
16    we have not spoken about today with Tony Diab or any of
17    his entities?
18         A.     Absolutely not.
19         Q.     Okay.      Does CLG or any of its owners, officers,
20    or employees have any relationship that we have not
21    spoken about today with Daniel March?
22         A.     Absolutely not.
23         Q.     Same question with respect to Rosa Loli?
24         A.     I don't know who that is.
25         Q.     Rosa Bianca Loli?

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 1         A.     I don't think I know who that is.
 2         Q.     Same question Lisa Cohen?
 3         A.     I don't know who that is.                           I know other Lisa
 4    Cohens, but I can't imagine the person that's identified
 5    there is the same people I know.
 6         Q.     Same question for Eng, E-n-g, last name Tang,
 7    T-a-n-g?
 8         A.     I don't know who that is.
 9         Q.     Same question with respect to Maria Tan,
10    T-a-n?
11         A.     I don't know who that is.
12         Q.     Same question with regard to Jake Akers,
13    A-k-e-r-s?
14         A.     I don't know who that is.
15         Q.     Same question with regard to Han Trinh,
16    T-r-i-n-h?
17         A.     I don't think I know who that is.
18         Q.     Same question with respect to Jayde Trinh,
19    J-a-y-d-e, last name T-r-i-n-h?
20         A.     I don't think I know who that is.
21         Q.     How about Wes Thomas?
22         A.     I also don't know who that is.
23         Q.     Scott Eadie, E-a-d-i-e.
24         A.     I don't know who that is.
25         Q.     Jimmy Chhor, C-h-h-o-r?

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 1         A.     I don't know who that is.
 2         Q.     Same question but with regard to the owners,
 3    officers, or directors of LGS Holdco, do you know
 4    whether they have any relationship with any of your
 5    co-defendants in the lawsuit filed by the trustee?
 6         A.     I don't believe so.
 7         Q.     And what do you base that belief from?
 8         A.     We have absolutely nothing to do with Tony
 9    Diab, Danny March, LPG in any capacity whatsoever.
10         Q.     When you say "we", are you testifying on behalf
11    of LGS Holdco when you say "we"?
12         A.     CLG.
13         Q.     Okay.      But I'm asking now about LGS Holdco,
14    which has been referenced as a related party on the
15    partial stipulation of settlement?
16         A.     CLG would not have anything to do with anybody
17    who has any affiliation with those LPG folk.
18         Q.     Okay.      How about Liberty Acquisitions, same
19    question?
20         A.     I don't know.            I don't think so.          Again, CLG
21    has -- CLG and its people, its related tentacles if you
22    will, have nothing to do with Tony or LPG or any of his
23    people.     I've had to clean up a lot of messes because of
24    what he did.
25         Q.     When you had your conversation with Mr. Diab 10

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 1    months ago to get information of his network of local
 2    counsel, did you view his information as reliable or him
 3    as sort of an expert in the field?
 4         A.     I wouldn't call him an expert of anything, and
 5    I wouldn't call any of the information he gave me
 6    reliable.      I asked him for a contact and that's what he
 7    gave me.
 8                So it's not a matter of reliability or
 9    credibility.       It's to the effect of, hey, do you know an
10    attorney in the State of Louisiana that can represent me
11    on this vacation house I'm buying?                              Yeah, sure.   Call my
12    friend John Doe.          That's it, and then I called
13    John Doe.
14         Q.     And with regard to future work by CLG on these
15    customer files, does CLG have any intentions of entering
16    into any type of relationship with Mr. Diab or any of
17    his entities?
18         A.     That would be one of the highest levels of
19    stupidity that I could ever think of.
20         Q.     Is Mr. Diab or any of his entities providing
21    any of the consideration for the purchase of the
22    debtor's assets?
23         A.     Absolutely not.
24                MR. ELGIDELY:            With that, I have no further
25    questions, Mr. Redhun.               I know some of the attorneys

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 1    that are present may have a question or two or a few
 2    questions.      So I will turn it over to them at this
 3    time.
 4           MR. RICHARDS:         I'm actually going to cross him,
 5    like I told him I was, and then you can turn it over if
 6    someone wants to ask him some questions, but I'm going
 7    to keep my cross with your direct.
 8                                     EXAMINATION
 9    BY MR. RICHARDS:
10         Q.     Mr. Redhun, has Tony Diab ever provided any
11    direction to any lawyer working on the current CLG
12    clients in the form of an email to the firm?
13         A.     Not that I'm aware of.
14         Q.     Has Tony Diab ever physically been present at
15    the CLG offices and spoken with employees?
16         A.     I don't believe so.
17         Q.     Have you ever -- has an employee ever reported
18    to you that they received direction from someone named
19    Tony Diab?
20         A.     No.
21         Q.     With respect to your independence at the firm,
22    has anybody that has provided funds to the firm given
23    you any direction that you should ever compromise your
24    professional ethics when representing CLG clients?
25         A.     I would never compromise my professional ethics

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 1    with anybody under any circumstances whatsoever.
 2         Q.     Who at CLG -- and I'm only talking between
 3    attorneys and others -- who has the final decision on
 4    all legal matters the firm is providing legal services
 5    for, the attorneys or somebody else?
 6         A.     Always the attorneys.                     Most likely me.
 7         Q.     Okay.       With respect to the current clients that
 8    the firm is servicing, are you aware of any small claims
 9    action from any of those clients against the firm asking
10    for any funds back?
11         A.     No.
12         Q.     Are you aware of any civil action in New York
13    or surrounding counties for any funds back?
14         A.     No.
15         Q.     With respect to the contention that the firm is
16    "alter ego of LPG", I want to address my next question
17    to that.
18                You're familiar early on someone made that
19    allegation?
20         A.     Yes.
21         Q.     Are you personally aware that if the firm was
22    "alter ego of LPG", that there would be catastrophic
23    consequences?
24         A.     Yes.       That's my understanding.
25         Q.     Okay.       Do you have an understanding of whether

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 1    my firm or Greenspoon would even represent an alter ego
 2    of Tony Diab in this case?
 3         A.     I can't imagine anybody who is reputable
 4    would.
 5         Q.     Okay.      At any time that you've been
 6    representing -- working at CLG, has anybody told you to
 7    conceal that Tony Diab is really giving direction or
 8    providing capital to CLG?
 9         A.     Well, he's not so there's no need to conceal.
10    The answer to your question is no.
11         Q.     If someone hypothetically had given you that
12    direction, would you follow it based on your
13    understanding of the current posture of the bankruptcy
14    case?
15         A.     Absolutely not.
16         Q.     Would you immediately report that to my office
17    if somebody asked you to hide Tony Diab's involvement
18    with CLG in any way?
19         A.     At a minimum.
20         Q.     Okay.      And with respect to -- would you have
21    any opposition reporting it to the OCC and to the
22    trustee if you ever saw somehow Tony Diab appear at the
23    firm?
24         A.     Would I have any opposition to that?
25         Q.     Yeah.

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 1          A.    No.
 2          Q.    Okay.       And would you agree to report
 3    immediately to the OCC and the trustee and the
 4    United States Trustee if you ever saw any inclination
 5    that Tony Diab had any involvement in CLG from now
 6    through the time of purchase and afterwards?
 7          A.    Yes.
 8          Q.    With respect to the attorneys that you
 9    supervise and the paralegals, have any of them ever
10    reported to you that they're taking direction from
11    anybody other than yourself and Mr. Kaufman?
12          A.    Who?       You mean, Mr. Weber?
13          Q.    Mr. Weber.         I'm sorry.               I got the name mixed
14    up.
15          A.    No.
16          Q.    Did anybody report to you that they're taking
17    direction from any other attorneys?
18          A.    No.    Some of the other attorneys may take
19    direction from the other attorneys in the office, but
20    everything remains within the office.                           Not a single
21    outside influence whatsoever in any capacity.
22          Q.    With respect to "capacity", you testified that
23    you had a certain amount of attorneys and a certain
24    amount of paralegals.
25                Are those the only people at CLG that service

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 1    the existing client base?                   Yes or no.
 2         A.     No.
 3         Q.     Okay.      Can you testify as to what types of
 4    people interface with the clients of CLG?
 5         A.     We have a slew of non-legal team personnel.
 6         Q.     Why is it important that when clients of CLG
 7    contact CLG that their calls are promptly addressed and
 8    answered?
 9         A.     Because I think the entire legal industry is a
10    service industry, so we pride ourselves on the support
11    and customer service that we give to our clients.
12                So given that our clients are generally facing
13    the worst times of their life and, you know, future
14    financial ruin, it would be wild to put them on hold or
15    not return their calls.                We offer a sort of a
16    hand-holding in addition to the legal services that we
17    provide.
18         Q.     How many customer service people answer client
19    calls in a day at CLG?
20         A.     I have no idea.               It's a lot.
21         Q.     Do you know what your call-drop rate is?
22         A.     I do not.
23         Q.     Do you know what the call-drop rate is?
24         A.     What the terms are?
25         Q.     Yes.

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 1         A.     I can guess.
 2         Q.     Don't guess.
 3                If    client calls were not being responded to,
 4    would that be something you would know about as the
 5    managing lawyer?
 6         A.     Very quickly.
 7         Q.     Okay.      And, again, these questions may sound
 8    trivial, but I need them in the record.
 9                If calls were not being returned, would that be
10    something you would typically hear about?
11         A.     Yes.
12         Q.     And so is one of your -- have you heard that
13    calls are not being returned at CLG?
14         A.     No, because we have a standing order to
15    communicate and correspond with clients as quickly as
16    humanly possible.
17         Q.     How many customer service people would you say
18    you have on the floor at GLG and working out of their
19    houses?
20         A.     I could only give you the ones that are on the
21    floor.     And probably no less than 50.
22         Q.     And are the phones busy all day long answering
23    calls from clients?
24         A.     All day long.
25         Q.     And with respect to your refund procedure, does

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 1    someone need to get your approval to get a refund or
 2    could the customer service agent decide on their own
 3    without attorney approval?
 4         A.     The customer service people can give a refund
 5    if asked.
 6         Q.     So would you say the process is easy or
 7    cumbersome?
 8         A.     Which process?
 9         Q.     Of getting a refund if someone calls customer
10    service and just says they want a refund?
11                What I'm trying to establish is, are there a
12    lot of approvals or can customer service do it on the
13    spot?
14         A.     Customer service can do it on the spot because
15    otherwise we'd have clients held in limbo, we'd have
16    quite an upset client base with us, and we would be
17    facing other complaints which we don't face because of
18    our approach and handling of consumer client refund
19    requests.
20         Q.     If your firm acquired these files, which I'm
21    not going to get into what we uncovered in the
22    inspection, but let's say a range of 10,000 to 15,000
23    files -- I just want to throw out a hypothetical
24    number -- do you see any problems in taking over the
25    servicing of these clients with your present capacity

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 1    today?
 2          A.    No.
 3          Q.    Can you testify why you don't believe as the
 4    managing lawyer -- strike that.
 5                Do you know that you have an ethical obligation
 6    to only take work that you can competently handle?                            Yes
 7    or no.
 8          A.    Yes.
 9          Q.    Okay.      Do you see any issues with you being the
10    managing lawyer of the current capacity of CLG in
11    acquiring the asset that's being proposed to be sold?
12          A.    We have no issue.                 We wouldn't be in this game,
13    and I wouldn't be testifying here today if there was an
14    issue.
15          Q.    And how many active litigation files do you
16    think you have presently for clients that are being
17    sued?
18          A.    I don't know if I have that number ready to
19    go.
20          Q.    Do you have a range?                    Is it like 1,000 to
21    2,000?     Is it some sort of range?
22          A.    It's probably closer to 2,000.                      I don't have an
23    exact number.
24          Q.    Does the 2,000 files stay -- if you don't
25    service the 2,000 litigation files and do nothing, does

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 1    that number grow or decrease?
 2         A.     Which number do you mean?
 3         Q.     Like, active litigation files -- let me lay a
 4    foundation.
 5                Is it important to try to settle and resolve
 6    those cases or is it better to do nothing with respect
 7    to the amount of open litigation files?
 8         A.     We try to deal with every single one of them.
 9    And ignoring the files just leads to a spiraling bigger
10    problem.
11         Q.     Does each month, new litigation files come in,
12    and other ones get closed?                    I'm just trying to
13    understand the process for the record.
14         A.     Yes.
15         Q.     Can you just explain that?                          Because at LPG, if
16    these clients aren't being handled, then the litigation
17    files could grow over there.
18                So I'm trying to understand, if you could
19    testify how that works, just in a general sense, so it's
20    clear for the record?
21         A.     Sure.      And I want to use two hypothetical
22    clients as an example.
23                Client A can have five debts enrolled with
24    Consumer Legal Group.              Three of those debts could
25    escalate to litigation while they're with us.                             If we

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 1    don't do anything with those three, aside from the
 2    catastrophic consequences to that particular client, the
 3    likelihood of the other two debts that are enrolled with
 4    us, would also be escalated to litigation.                              Now, we
 5    would have five.
 6                If we're going to settle and start working on
 7    resolutions or invalidation of those particular debts,
 8    we would also look to make some sort of deal or
 9    resolution on the other two debts.                              So that number --
10    that particular client could have five active debts and
11    at any given moment, some of those debts could be in
12    litigation and some not.
13                Conversely, you could have one client with one
14    debt that's enrolled with us.                       That debt could be
15    resolved before litigation and that debt could be
16    resolved after litigation has commenced or six months
17    after litigation has commenced.
18                So that particular client, let's assume that
19    God forbid we drop the ball with respect to that client,
20    that dropping the ball is isolating to that particular
21    client wouldn't affect the numbers.                              Whereas, dropping
22    the ball with Client A, for example, would lead to
23    bigger problems.
24         Q.     Okay.      When I came to CLG to inspect the
25    offices and saw the people working, were those real

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 1    people working on the floor or were they actors?
 2         A.     They're all real people.
 3         Q.     Has anybody ever instructed you to withhold any
 4    materials from the trustee's office or from my office if
 5    we've requested them?
 6         A.     No.
 7         Q.     Okay.      With respect to the files that you
 8    would -- let me strike that.
 9                Can you testify as to how mail is typically
10    sorted from these clients?
11         A.     We have a mail house where everything -- the
12    incoming is open, scanned, sent to an email address, and
13    uploaded to our portal.                When those things happen, there
14    are certain tasks that get triggered based on some of
15    those transpiring events.
16                For example, if there's a legal document that
17    comes through, the legal team is tagged, and there's a
18    task created for the legal team to review that
19    particular document.             So we have multiple ways of making
20    sure that we hit all of the pieces of mail and that
21    nothing falls through.
22         Q.     Do you have sort of an estimate as to how
23    quickly you process mail?
24         A.     Within a couple of days.
25         Q.     Okay.      With respect to the current debtor, you

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 1    went and visited the current debtor; correct?
 2         A.     We visited Phoenix.
 3         Q.     And because we signed an MDA, I'm not going to
 4    ask you anything about what you saw.                            But generally, if
 5    I told you that the debtor's mail was not being uploaded
 6    or not being scanned, is that a problem generally in
 7    your business?
 8         A.     It's a monumental problem.
 9         Q.     So would you say that uploading, scanning, and
10    processing mail is extremely important?
11         A.     It's like checking an inbox for court.
12         Q.     So do you believe that CLG -- let's say,
13    hypothetically there was 20,000 pieces of mail that was
14    uploaded.
15                How would CLG, if it acquired these files, how
16    would they get up to speed quickly with unopened mail?
17    What would you do?
18                That's what I'm saying.                       How are you going to
19    handle that problem which is a lot of pieces of mail?
20         A.     Once we open all of the unopened mail and it's
21    uploaded, we look for triage.                       So we look for things
22    that have actual pending litigation matters tied to
23    those particular files.                And then we would have at least
24    one paralegal start looking at that particular file
25    within the court to see what the status is of that

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 1    particular file, while another paralegal looks up and
 2    opens up the next one.
 3                Based on what the first person finds, it might
 4    be too late.       You know, a default judgment might have
 5    already been entered.              In which case, I'll move to the
 6    next one to see if I can save that file, vis-á-vis the
 7    client having been served but no responsive pleading is
 8    due yet.      Or where there's a motion for a default
 9    judgment filed in which case we can oppose it or send it
10    to local counsel immediately to have it opposed.
11                Certain files are going to have a garnishment
12    attached to them because there was no action taken on
13    them for quite a while.                Those are effectively, for a
14    lack of better way of saying it, dead on arrival.                         So
15    those would take the least priority of everything that
16    we'd be looking at.
17         Q.     Okay.      So, do you have sort of a plan if the
18    court approved the sale, how you're going to tackle
19    those files?
20         A.     Yes.
21         Q.     Okay.      Could you just -- in a big picture, just
22    outline how you're going to allocate the resources to
23    deal -- again, this is just a potential issue that may
24    come up -- is unopened mail.                      How are you going to deal
25    with that?

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 1         A.     Once we get the mail open, scanned, and
 2    uploaded, I have one paralegal who is phenomenal.                             She's
 3    amazing.      She's super efficient.                      I would have her take,
 4    I would say the head, I would have another one take a
 5    tail, and have them start working it up.
 6                And then we have a different paralegal who's
 7    really good at looking up different individual
 8    courthouses through their online websites and calling
 9    the court to find out the status of individual files.
10                I have the local liaison paralegal on standby
11    ready to dispatch emergency files to various local
12    counsels.      And we also have the attorneys ready to go to
13    make judgment calls based on how to file particular
14    files.
15                Not to mention, of course, that we have other
16    paralegals that can step in and fill in a lot of those
17    different roles and really start going through, what we
18    call in our office, kind of like the review summons
19    test.
20                So immediately, I would put probably about four
21    paralegals on the review summons.                           We break it up by
22    numbers or by letters -- I don't know.                           We would figure
23    that part out.
24                And then once we have that information
25    elicited, it would go to the next layer of people to

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 1    start looking into these specific files.                            And then we
 2    have the next layer of what to do with those particular
 3    files.
 4         Q.     And when you finally absorb those files, do you
 5    have an estimate as to like an outside amount of time
 6    that once mail is not answered, it becomes irreversible
 7    or do you just have to try your best once you get the
 8    unopened mail?
 9         A.     We would try our best.
10                First of all, there's almost nothing that is
11    irreversible.          Our worst case scenario is when a client
12    was personally served, owes the debt, and the creditor
13    followed all the proper procedures in getting a default
14    judgment which led to a garnishment.                            In those cases
15    there's really not a whole lot you can do.                            Even
16    vacating a default judgment, you need to show a
17    meritorious defense and a reasonable excuse for the
18    default, neither of which we would be able to show in
19    this particular case.              Those we just skip over to the
20    next one.
21         Q.     When counsel showed you the Better Business
22    Bureau, do you have an understanding as to whether or
23    not the Better Business Bureau's complaints will even
24    let you open closed complaints once they're closed?
25         A.     I don't have any knowledge about the Better

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 1    Business Bureau.          What I could say is that, even if
 2    everything on there is true and accurate, everything
 3    they're saying is right, that's such a statistical drop
 4    in the overall bucket of what we're showing.                       Not to
 5    mention that half of garbage was related to LPG and
 6    dealt with refunds, and we have an overwhelmingly
 7    favorable refund policy.                  That is so non-important and
 8    not relevant to me.            I couldn't care less about that.
 9         Q.     Are there any other websites that you're aware
10    of where you have positive reviews?
11         A.     Yeah.      I'm not the Internet guy.                I think it's
12    called Trust Pilot.
13         Q.     Trust Pilot, okay.
14                And if the U.S. Trustee or the OCC contacts
15    somebody on the Better Business Bureau side, and for
16    whatever reason they haven't gotten a refund yet, would
17    these one or two people, out of thousands of clients,
18    would you be immediately willing to give them a refund,
19    as the managing attorney, if somehow this refund was
20    overlooked?
21         A.     Almost certainly.
22         Q.     Would you be willing to commit to that now --
23         A.     Yes.
24         Q.     -- if somebody pulled a customer out of the hat
25    and said, I found one out of 20,000 that didn't get a

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 1    refund or a fee like the person would, would you
 2    immediately promise to make sure their fee is
 3    refunded?
 4         A.     Yes.       It would be illogical for us not to do
 5    that.
 6         Q.     With respect to the 12 complaints you saw in a
 7    year, did you find that -- when you say, "a drop in the
 8    bucket" or some other word, would you find that
 9    statistically material that out of thousands of clients
10    someone filed a complaint?
11         A.     I don't think it would rise to maybe even half
12    of one percent.
13         Q.     Did you ever warrant to anyone that a client of
14    a lawyer would never file a complaint against a law
15    firm?
16         A.     I don't warrant anything to anybody about
17    anything.      It's one of the ethical rules and guidelines,
18    other than we will do our best to help you.                         That I can
19    promise everybody.
20         Q.     But sitting here today, are you aware of any
21    client of CLG that has an ongoing complaint with CLG for
22    a refund of a fee or their actual payments that were
23    made that CLG has not resolved?                         That's the big
24    question.
25         A.     No.    If anybody came to my office to talk to me

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 1    about a refund, I will throw them out and tell them to
 2    give it back to them.
 3          Q.    So are you aware that Tony Diab had a different
 4    posture when it came to refunds or not?
 5          A.    I have no idea what he did.                         Nothing surprises
 6    me.
 7          Q.    Okay.      If someone had advanced or lent money to
 8    CLG told you, please don't give a refund because it
 9    affects our bottom line, would you ever follow that
10    advice?
11          A.    That's stupid.
12          Q.    Okay.      In other words, is there any reason you
13    could think that your independent judgment as the lawyer
14    running CLG is influenced by any other person or
15    source?
16          A.    It is not.
17          Q.    It is not, okay.
18                And with respect to your background, have you
19    handled large escrows in the New York area in real
20    estate deals?
21          A.    Yes.
22          Q.    Could you just give the Committee just sort of
23    an example of the transactional dollar amount of
24    purchases you've handled as a lawyer as a fiduciary for
25    various parties?

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 1         A.     I think the highest one I've ever dealt was a
 2    $175 million purchase.               Recently, I was involved with --
 3    probably about two months ago with the $17 million
 4    purchase.
 5                I'm in the process right now -- I say we, but
 6    it's really my clients -- we bought portfolio property
 7    in New Jersey for, I think, $6.8 million and we're
 8    selling it now for about $9.2.                        We have staggered
 9    closing so I'm involved with millions of dollars of
10    purchases on a weekly/monthly basis.
11         Q.     Okay.      I want to be clear for the record.
12                Your firm specifically handled a $175 million
13    transaction, money coming in and money coming out of
14    your account; is that correct, sir?
15         A.     Yes.
16         Q.     Do you have any military training and
17    background?
18         A.     Yes.
19         Q.     Can you please tell the Committee what your
20    military training and background is?
21         A.     I volunteered for the Israeli military back in
22    2002.
23         Q.     And what was your role in the military?
24         A.     I was the gunner of a combat tank division.
25         Q.     And how long were you in the Israeli defense

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 1    forces?
 2         A.     Couple of years.
 3         Q.     And were you honorably discharged?
 4         A.     Yeah, they don't have that over there because
 5    everybody continues to do reserve duty.                         But, yes, I
 6    never had a single complaint whatsoever in any capacity
 7    against me.
 8         Q.     And besides a law license, do you hold any
 9    other professional licenses?
10         A.     I hold a New York State real estate broker's
11    license.      A driver's license.                   I don't know.    I think
12    that's it.
13         Q.     Okay.      And do you have any concerns at all
14    about your fiduciary duty to clients who would be
15    acquiring from this estate if the court approved it?
16         A.     No, I would not agree to participate in any
17    part of this whole process if I felt that we couldn't
18    pull it off.
19           MR. RICHARDS:         Okay.          I don't think I have any
20    further questions.           Thank you.
21                Ken, do you have a couple?
22                MR. MISKEN:          Yeah, I have a couple.
23                                     EXAMINATION
24    BY MR. MISKEN:
25         Q.     My name is Ken Misken.                      I'm the Assistant

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 1    United States Trustee.
 2           Can you just tell me what states you're
 3    admitted to the state bar in?
 4         A.     New York and New Jersey.
 5         Q.     And do you actively practice in those two
 6    jurisdictions?
 7         A.     Yes.
 8         Q.     Do you appear in state courts?
 9         A.     And federal courts.
10         Q.     And federal courts.                   In both?
11         A.     Yes.
12         Q.     Are there any other jurisdictions in which you
13    appear on behalf of clients?
14         A.     No.
15         Q.     How about the lawyers that are employed by
16    Consumer Legal Group, which jurisdictions are they
17    admitted in?
18         A.     New York and New Jersey.                        One of them -- no, I
19    think that's it.          I know one of them was working on --
20    she passed the bar in one particular state, and we're
21    working on trying to get her admitted in that state, but
22    New York and New Jersey.
23         Q.     Do you recall what state that was?
24         A.     North Carolina.
25         Q.     Do you know what jurisdictions Consumer Legal

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 1    Group attorneys are actively representing consumers?                                 Is
 2    that just New York and New Jersey?
 3         A.     Correct.
 4                MR. RICHARDS:            Ken, can I just clarify?
 5                Do you mean if they get local counsel and they
 6    are pro hac'd in?
 7                MR. MISKEN:          No, directly.                  The Consumer Legal
 8    Group attorneys themselves.                     Not getting local counsel
 9    or affiliated counsel to represent the consumers.
10                THE WITNESS:           Just New York and New Jersey
11    where we are admitted.               We wouldn't go anywhere else.
12    BY MR. MISKEN:
13         Q.     And that would be both in state court and
14    federal court?
15         A.     Yes.       I don't know if they're admitted in
16    federal court, but I know that I am.                             So I would be
17    doing those if we went there.
18         Q.     Okay.       And you may have said this earlier, but
19    in paragraph 15 of your declaration that's attached to
20    the trustee's motion to sale, you state that CLG uses
21    proprietary software to operate its business?
22         A.     Yes, sir.
23         Q.     What software is that?
24         A.     I know -- I don't know what it's formally
25    called.     I know what we call it.                       It's called Debt Pay

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 1    Pro.
 2         Q.     Does CLG have a privacy policy?
 3         A.     What do you mean?
 4         Q.     Earlier I believe you testified that you
 5    drafted some specific SOPs and said that you have
 6    general policies.
 7                Do any of those general policies have privacy
 8    policies regarding, you know, client information?
 9         A.     We have the privacy policies that's part of our
10    website.      I also make it a point of telling every single
11    new hire, and pretty frequently, that -- you know, like
12    Fight Club.       The first word about us is you don't speak
13    about us.      So everybody is really under tight-lipped.
14         Q.     And then with regard to the sale, CLG is
15    proposing to purchase this consumer's client accounts;
16    correct?
17         A.     Yeah, but it's not that simple.                      Clients have a
18    right to choose counsel that they want.                         So, you know,
19    we follow the ethical rules as part of that acquisition,
20    and the clients have a right to say no to us.
21         Q.     Do you know as part of that transaction if CLG
22    receives a client file, will CLG also be receiving that
23    client's bank account information?
24         A.     Well, once the client signs a new agreement
25    with CLG, part of that new agreement and the information

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 1    that's requested is that client's bank account
 2    information.
 3         Q.     So the trustee will not be transferring client
 4    bank account information to CLG?
 5         A.     I don't know that I can answer that question.
 6                MR. RICHARDS:            Ken, I think they use a
 7    processor.      If you have a concern about that we could
 8    certainly address it.              We don't need the client banking
 9    information.       There's a 90-day window, but we could
10    discuss that off-line if you want.                              Definitely, it's not
11    going to be floating around.
12    BY MR. MISKEN:
13         Q.     But you will be receiving copies of the legal
14    services agreements, right, from each consumer that LPG
15    signed with them?
16         A.     Maybe.      I couldn't care less about that.                         What
17    I care about is my stuff.
18         Q.     Okay.      So you don't know if you'll actually be
19    receiving any bank account information; correct?
20         A.     I don't know.            And again, when they come to us,
21    it's kind of like a fresh start.
22         Q.     Any other personally identifiable information,
23    do you know whether Consumer Legal Group will be getting
24    like date of birth, home address, email address, or any
25    of that type of information?

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 1         A.     I don't know, but I know that part of the
 2    information that we get and we need in order to do our
 3    jobs properly is requesting a lot of that information.
 4                So regardless of whether the trustee sends us
 5    that information for a particular client, we kind of
 6    just get -- think about it like this.                            We disregard that
 7    until the client signs a new service agreement with us
 8    and which we ask for that information anyway.
 9         Q.     What would happen if a client file is
10    transferred from the estate to Consumer Legal Group but
11    then the consumer does not sign a new agreement with
12    Consumer Legal Group?
13         A.     That is a good question.
14                I don't know that I would feel comfortable
15    servicing a client that hasn't formally engaged us to
16    service them or represent them.                         I don't know that
17    ethically we have the right to represent them.
18                I would like for my own protection, when I say
19    "me", I mean CLG, we would want powers of attorney,
20    legal services agreement signed, you know, giving us
21    privity with that particular client.                            Clients that
22    refuse, I don't know.              I probably would turn those
23    away.
24                MR. MISKEN:          Okay.          I think those are all the
25    questions I have.          Thank you.

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 1                THE WITNESS:           Thank you.
 2                MR. RICHARDS:            All right.                 Great.   Thank you
 3    very much.
 4                MR. COUSINEAU:             No questions at this point.
 5                MR. ELGIDELY:            I was just going to tell the
 6    witness that, obviously, he has the right to read his
 7    deposition or to waive the right to read his deposition.
 8                Of course, to the extent he reads and makes any
 9    substantive changes to his testimony that we have the
10    right to recall the witness and inquire about those
11    changes.
12                But, Mr. Redhun, we need you to state on the
13    record at this time whether you would like to read or
14    waive?
15                THE WITNESS:           I would like to read.
16                MR. RICHARDS:            We would like to read it.                     And
17    you can send it to my office ronaldrichards.com.                                  The
18    court reporter can send me the copy you want him to
19    review.
20                MR. ELGIDELY:            Thank you.
21                MR. RICHARDS:            Thank you very much.
22                THE STENOGRAPHER:                 We are going off the record.
23    The time is 12:56 p.m.
24                                           * * *
25                  CERTIFICATE OF STENOGRAPHIC REPORTER

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 1

 2                I, CARA M. FOSTER, a Stenographic Certified
 3    Shorthand Reporter and Registered Professional Reporter,
 4    hereby certify that the witness in the foregoing
 5    deposition:
 6                That JASON REDHUN, the witness whose deposition
 7    is hereinbefore set forth, was duly sworn by me before
 8    the commencement of such deposition and that such
 9    deposition was taken before me and is a true record of
10    the testimony given by such witness.
11                I further certify that the deposition of
12    JASON REDHUN, occurred remotely via videoconference on
13    Monday, July 17, 2023, commencing at 7:04 a.m. to 12:56
14    p.m. PST.
15                I further certify that I am not related to any
16    of the parties to this action by blood or marriage, I am
17    not employed by or an attorney to any of the parties to
18    this action, and that I am in no way interested,
19    financially or otherwise, in the outcome of this matter.
20

21

22

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25    IN WITNESS WHEREOF, I have hereunto set my hand this

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 1    19th day of July, 2023.
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 8                   __________________________________
                         _____________
                                     __________
                               Cara M. Foster
 9                           RPR, CSR No. 11973
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1                    WITNESS'S CHANGES OR CORRECTIONS
 2    Deponent: +"40/3&%)6/
 3    NOTE: If you are adding to your testimony, print the
 4    exact words you want to add.                    If you are deleting words
 5    from your testimony, print the exact words you want to
 6    delete.     Specify with "Add" or "Delete" and sign below.
 7    Page       Line         Change/Add/Delete.
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25   Date:____________Signature:_____________________

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                                       Jason Redhun
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 3

 4                     DECLARATION UNDER PENALTY OF PERJURY
 5                                            ---oOo---
 6

 7                I, the undersigned, declare under penalty
 8        of perjury that I have read the foregoing transcript,
 9        and I have made any corrections, additions or
10        deletions that I was desirous of making; and that the
11        foregoing is a true and correct transcript of
12        my testimony contained therein.
13              EXECUTED this ___ day of __________, 202.
14

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18                                                                    +"40/3&%)6/

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                                                              July 19, 2023
Jason Redhun
c/o Ronald N. Richards, Esq.
P.O. Box 11480
Beverly Hills, CA 90213


Re: The Litigation Practice Group, P.C.
Date of Deposition: July 17, 2023
     The transcript of your deposition taken in the
above-entitled matter has been transcribed. The original
transcript will be held for 30 days from the date of this
letter before it is sealed and forwarded to the noticing
attorney.
     You have the right to review, sign and make
corrections to your transcript within the 30-day period.
Please call the above number, or e-mail to make an appointment
for your review. It is our policy not to release the original
transcript and complimentary copies are not provided.
     If you are represented by an attorney, we advise that
you contact your attorney to discuss this matter. If you are
an independent witness and have questions, please contact the
attorney who requested you to testify or this office for
further instructions.
     If you wish to waive signature, please sign and date
below and return this letter to the above address. In the event
you have not read, corrected, and signed your deposition within
(30) days of receipt of this letter, it may be used with the
full force and effect as though it had been read, corrected, and
signed.

Cc: All counsel

______________________            _____________________
 DATE                             Jason Redhun




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11 (8)               289 (1)                        805.564.2444 (1)       addressed (2)
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11:31 (1)            2A (1)                         859.425.1021 (1)       administrative (1)
11:36 (1)                                                                  admissible (1)
11:52 (1)            <3>                            <9>                    admitted (7)
11480 (1)            3 (5)                          9 (1)                  advance (1)
11973 (4)            30 (4)                         90 (1)                 advanced (1)
12 (7)               31 (1)                         900 (1)                advantageous (1)
12,000 (30)          310.56.1001 (1)                900,000 (1)            adversarial (1)
12,546 (2)           35,000 (3)                     90213 (1)              adversary (3)
12:45 (4)            3rd (1)                        90-day (2)             advice (6)
12:56 (2)                                           92701-8000 (1)         advise (2)
13 (4)               <4>                            93101-3227 (1)         affect (1)
13th (1)             4 (2)                          940 (2)                Affiliate (9)


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affiliated (2)       APA (5)                       assumed (11)           believe (20)
affiliates (2)       apart (2)                     assumes (5)            believed (1)
affiliation (1)      apologize (1)                 assuming (3)           believes (1)
affirmative (1)      appear (4)                    attached (7)           Ben (4)
afford (3)           appearance (4)                attaching (1)          beneath (1)
afield (2)           appearances (1)               attention (6)          benefit (1)
afternoon (3)        applicable (3)                attesting (1)          best (7)
agent (7)            appointed (1)                 attorney (37)          Better (21)
ago (20)             appraisal (7)                 attorney-client (19)   Beverly (1)
agree (11)           appreciate (4)                attorneys (38)         Bianca (1)
agreed (7)           approach (2)                  attributable (1)       bid (2)
agreeing (3)         approaching (1)               attribute (1)          big (3)
agreement (49)       appropriate (3)               audio (1)              bigger (2)
agreements (1)       approval (7)                  authority (8)          binding (2)
agrees (1)           approvals (1)                 authorization (1)      bio (1)
ahead (6)            approved (11)                 authorized (1)         birds-eye (2)
Akers (1)            approves (1)                  available (1)          birth (1)
A-k-e-r-s (1)        approving (2)                 Avenue (1)             bit (5)
Albert (5)           approximate (9)               average (1)            blank (1)
alerted (2)          approximated (2)              avoidance (1)          block (2)
allegation (8)       approximately (32)            aware (29)             blood (1)
allegations (5)      approximation (2)                                    board (3)
alleged (5)          area (3)                      <B>                    boots (1)
alleges (5)          areas (3)                     back (29)              B-o-r-e (1)
alleging (5)         argued (1)                    backdrop (2)           Borelli (5)
allocate (1)         argumentative (3)             background (3)         B-o-r-e-l-l-i (1)
allocated (1)        arguments (1)                 badgering (1)          borrower (1)
allow (2)            arms (1)                      balance (1)            bottom (5)
allowed (4)          arrangements (2)              ball (3)               bought (1)
alter (4)            arrival (1)                   band (1)               bound (1)
amazing (1)          arrived (2)                   bandwidth (1)          Box (1)
ambiguous (4)        Aryeh (1)                     bank (5)               branch (2)
amended (10)         aside (3)                     banking (1)            breach (1)
amendments (1)       asked (33)                    BANKRUPTCY (12)        break (19)
American (1)         asking (49)                   Bar (4)                breakdown (1)
amount (13)          asks (1)                      Barbara (1)            breaking (2)
amounts (6)          assert (1)                    base (4)               briefs (1)
amplify (1)          asserted (1)                  based (21)             bring (4)
ANA (2)              assertion (2)                 Basically (2)          brings (3)
analyzed (1)         assertions (2)                basis (16)             broad (5)
annoying (1)         asset (18)                    bathroom (1)           Broadway (3)
answer (128)         assets (39)                   BBB (2)                broke (2)
answered (8)         assigned (1)                  Bear (13)              broker's (1)
answering (2)        assignment (1)                becoming (1)           Brooklyn (2)
answers (3)          Assistant (2)                 bee (1)                brought (3)
anticipate (3)       associate (1)                 began (1)              bucket (3)
anybody (22)         ASSOCIATES (3)                beginning (1)          bunch (2)
anymore (1)          Association (1)               BEHALF (35)            burden (1)
anyway (1)           assume (4)                    belief (3)             Bureau (16)


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Bureau's (2)         certify (3)                   collection (1)       confer (1)
business (54)        chance (1)                    collectively (1)     conference (6)
busy (3)             changed (3)                   combat (1)           confident (2)
buy (2)              changes (4)                   come (17)            confidential (2)
buyer (10)           Chapter (4)                   comes (1)            confused (4)
Buyer's (4)          characterization (4)          comfortable (1)      confusing (1)
buying (1)           charge (4)                    comforted (1)        Conjecture (1)
buzz (1)             checking (1)                  coming (12)          connect (1)
                     Chhor (1)                     commenced (2)        connected (2)
<C>                  C-h-h-o-r (1)                 commencement (1)     connection (5)
calculated (2)       chief (3)                     commencing (1)       consent (2)
calendar (8)         Chirstopher (1)               comment (5)          consequences (2)
CALIFORNIA (9)       choose (2)                    comments (2)         consider (2)
call (30)            chose (2)                     Commission (2)       consideration (4)
call-drop (2)        Christopher (1)               commit (4)           considered (2)
called (11)          circuit (1)                   COMMITTEE (19)       consistent (1)
calling (1)          circumstances (1)             common (3)           constant (1)
calls (23)           City (1)                      communicate (3)      constitutional (1)
Campbell (5)         civil (1)                     communicated (2)     constructed (1)
capacity (11)        civility (1)                  communicating (1)    consult (4)
capital (6)          claim (1)                     communication (3)    consultation (2)
capitalization (1)   claims (8)                    communications (9)   CONSUMER (149)
capitalize (1)       clarification (2)             company (34)         consumerlegalgroup.co
CAPPELLO (1)         clarify (6)                   competency (1)       m (1)
caption (3)          class (1)                     competently (2)      consumers (3)
Cara (5)             classify (1)                  complainant (1)      consumer's (1)
care (7)             clause (7)                    complains (1)        cont (1)
careful (1)          clean (1)                     complaint (54)       contact (6)
carefully (1)        clear (7)                     complaints (25)      contacted (3)
Carolina (1)         clearly (5)                   completely (1)       contacts (1)
Case (17)            CLG (252)                     complex (1)          contains (2)
caseload (2)         CLG's (38)                    compliance (8)       contemplated (1)
cases (2)            click (2)                     compliant (7)        contemplating (2)
cash (3)             clicked (2)                   comply (1)           contemplation (1)
catastrophic (2)     client (56)                   compound (2)         contended (1)
catching (1)         clients (65)                  compounded (1)       contending (2)
categories (8)       client's (4)                  compromise (2)       contends (2)
category (2)         close (4)                     conceal (2)          content (3)
causes (1)           closed (6)                    conceded (2)         contention (1)
caution (1)          closer (2)                    conceived (4)        context (3)
caveats (1)          closing (3)                   concern (4)          continue (6)
Celentino (1)        Club (1)                      concerning (44)      continued (1)
Center (1)           co-defendants (1)             concerns (1)         continues (2)
CENTRAL (3)          Cohen (1)                     conclude (2)         contract (3)
certain (23)         Cohens (1)                    conclusion (6)       contractors (2)
certainly (16)       coincidence (4)               condition (1)        contracts (2)
certainty (1)        cold (1)                      conditions (8)       control (2)
certificate (5)      colleagues (1)                conduct (1)          conversation (9)
Certified (3)        collected (2)                 Conducted (5)        conversations (14)


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Conversely (1)       daily (1)                     delivered (1)       discussed (5)
cooperate (2)        damage (1)                    dense (3)           discussing (1)
cooperation (1)      Dan (1)                       Department (10)     discussions (6)
coordinate (3)       Daniel (1)                    depends (1)         dispatch (1)
copies (1)           Danitza (6)                   depicted (1)        dispute (2)
copy (1)             D-a-n-i-t-z-a (1)             depo (1)            disputing (1)
corner (3)           Danny (1)                     DEPONENT (4)        disregard (1)
corporate (9)        date (20)                     deposed (2)         distinction (1)
Corporation (14)     dated (3)                     deposit (14)        distinguishing (1)
Corporations (2)     dates (3)                     Deposition (47)     DISTRICT (3)
corporation's (2)    David (2)                     depositions (1)     DIVISION (3)
correct (105)        day (21)                      deposits (2)        document (45)
correctly (6)        days (19)                     derived (1)         documentation (2)
correspond (1)       day-to-day (1)                described (2)       documents (22)
counsel (92)         dcousineau@cappellon          DESCRIPTION (1)     Doe (2)
counsels (1)         oel.com (1)                   designate (2)       doing (11)
counties (1)         de (2)                        designated (22)     dollar (1)
counting (1)         dead (1)                      designating (1)     dollars (3)
couple (11)          deal (12)                     despite (1)         door (1)
coupled (1)          dealing (1)                   detailed (1)        doubled (5)
course (6)           dealings (2)                  determine (1)       doubling (7)
COURT (45)           deals (1)                     determined (1)      downloaded (1)
courthouses (1)      dealt (4)                     development (1)     draft (5)
courts (3)           DEBT (23)                     devoted (1)         drafted (2)
Cousineau (4)        Debtor (13)                   Diab (40)           drafting (1)
cover (4)            debtor's (31)                 Diab's (2)          dragged (1)
covered (2)          debts (7)                     died (1)            dreams (1)
covering (1)         decide (1)                    difference (9)      driver's (1)
cracks (2)           decision (2)                  different (13)      drives (1)
create (3)           declaration (23)              differentiate (1)   drop (6)
created (2)          declarations (5)              difficulties (1)    dropping (2)
creating (1)         decrease (1)                  diligence (4)       due (5)
credibility (1)      deduction (1)                 DINSMORE (3)        duly (2)
creditor (1)         default (6)                   DIP (4)             dump (1)
CREDITORS (8)        defendant (1)                 direct (1)          duties (4)
critical (1)         defendants (3)                directed (1)        duty (4)
cross (2)            defending (2)                 direction (10)      dwindle (1)
crunch (3)           defense (3)                   directly (8)
CSR (3)              defenses (2)                  director (4)        <E>
culminated (3)       deficiency (1)                directors (4)       Eadie (1)
cumbersome (1)       define (1)                    disagree (4)        E-a-d-i-e (1)
current (9)          defined (6)                   discharged (1)      earlier (12)
currently (1)        Definitely (1)                discharges (1)      early (10)
customer (24)        definition (1)                disclose (2)        earned (6)
customers (3)        delay (1)                     disclosed (6)       Eastern (4)
cut (3)              delayed (3)                   disclosing (1)      easy (1)
                     deliver (1)                   disclosure (1)      edited (1)
<D>                  deliverable (3)               discovery (2)       effect (3)
d/b/a (2)            deliverables (3)              discuss (5)         effectively (2)


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efficient (1)        establish (4)                  faces (1)         finish (3)
efficiently (1)      established (1)                facing (2)        fire (3)
efforts (2)          estate (14)                    fact (14)         fireballs (5)
EGLIDELY (1)         estimate (4)                   facto (1)         fires (1)
ego (3)              estimates (2)                  factor (1)        firm (25)
egos (1)             ethical (3)                    facts (4)         firms (2)
eight (5)            ethically (1)                  factually (2)     first (28)
either (4)           ethics (2)                     fair (14)         fits (1)
Elgidely (197)       evasive (1)                    faith (4)         five (9)
elicit (1)           event (1)                      fall (1)          five-minute (3)
elicited (2)         events (1)                     falling (2)       flies (1)
email (16)           everybody (5)                  falls (1)         floating (1)
emails (8)           evidence (9)                   false (1)         Floor (7)
emergency (4)        evidenced (1)                  familiar (9)      flux (1)
employed (12)        exact (17)                     familiarize (1)   focus (1)
employee (2)         exactly (3)                    family (1)        folk (1)
employees (12)       Examination (7)                far (4)           follow (3)
employer (4)         examined (1)                   favor (2)         followed (3)
employment (1)       example (4)                    favorable (1)     following (5)
employs (2)          exceptionally (1)              February (1)      follows (2)
encompass (1)        exchange (1)                   Federal (6)       font (1)
ends (1)             exchanges (1)                  fee (25)          foolish (1)
Eng (1)              excluding (2)                  feel (8)          forbid (1)
E-n-g (1)            Excuse (4)                     Fees (4)          forces (1)
engaged (4)          executed (1)                   Feig (1)          foregoing (1)
engagement (1)       execution (1)                  felt (2)          form (6)
engages (1)          executive (5)                  female (1)        formal (4)
enrolled (3)         executory (2)                  fiduciary (2)     formally (3)
ensure (1)           EXHIBIT (11)                   field (1)         formation (1)
entered (2)          existing (1)                   Fight (1)         forth (11)
entering (1)         exists (1)                     fighting (2)      forward (3)
entire (6)           expect (1)                     figure (3)        Foster (5)
entirely (3)         experience (11)                figures (1)       found (1)
entirety (1)         expert (3)                     file (16)         foundation (3)
entities (6)         explain (5)                    filed (50)        four (12)
entitled (2)         explained (1)                  files (125)       Fourth (1)
Entity (12)          explaining (3)                 Filing (5)        FOX (4)
entries (1)          explanation (2)                filings (1)       framework (3)
entry (2)            explanations (2)               fill (3)          frank (1)
equal (2)            explore (3)                    final (4)         Frankly (1)
equipment (1)        expressly (1)                  finally (1)       fraternize (1)
equivalent (2)       extension (6)                  Financial (13)    fraudulent (3)
errors (1)           extent (11)                    financially (1)   fraudulently (4)
escalate (1)         extremely (1)                  financing (6)     free (2)
escalated (1)        eye (1)                        find (7)          frequently (1)
escrow (3)           eyes (3)                       finding (2)       fresh (1)
escrows (1)                                         finds (1)         Friday (1)
Esq (5)              <F>                            fine (5)          friend (1)
essentially (2)      face (1)                       fingers (1)       friendly (1)


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front (4)            Groups (5)                    highest (3)          implemented (4)
frozen (1)           grow (2)                      highlight (4)        implicates (1)
full (10)            guess (6)                     highlighted (8)      implying (1)
full-time (9)        guidelines (1)                highlighting (1)     important (8)
full-undivided (1)   gunner (1)                    highly (1)           impressions (1)
fun (1)              guy (2)                       Hills (1)            improper (2)
FUND (6)             guys (1)                      hire (2)             inactive (1)
funding (3)                                        hired (6)            inadvertent (1)
fundings (1)         <H>                           historically (1)     inappropriate (1)
funds (10)           hac'd (1)                     history (11)         inbox (2)
further (10)         half (5)                      hit (1)              inclination (1)
furtherance (1)      Hamowi (3)                    Hold (12)            include (2)
future (4)           H-a-m-o-w-i (2)               Holdco (13)          included (2)
                     Han (1)                       home (1)             includes (1)
<G>                  hand (1)                      homes (1)            including (2)
game (2)             handful (1)                   honestly (1)         incoming (1)
garbage (1)          hand-holding (1)              honor (2)            incorporate (3)
garnished (1)        handle (4)                    honorably (1)        incorporated (6)
garnishment (2)      handled (6)                   Hook (2)             incorporates (1)
gatekeeping (2)      handles (1)                   hope (2)             incorporating (4)
general (10)         handling (5)                  Hopefully (2)        incorrect (2)
generally (4)        hands (2)                     hoping (1)           independence (1)
generated (4)        hanging (1)                   host (1)             independent (4)
generic (1)          happen (4)                    hour (4)             independently (1)
getting (11)         happening (1)                 hours (3)            indicated (9)
Ghio (4)             happens (1)                   house (3)            indigent (1)
give (40)            happy (6)                     houses (1)           indirectly (1)
given (10)           hard (1)                      huge (2)             individual (16)
giving (4)           harmonized (1)                humanly (1)          individuals (12)
GLG (1)              harmonizing (1)               hundreds (1)         industrial (1)
go (46)              hat (1)                       hypothetical (3)     industry (7)
goal (1)             HCH (1)                       hypothetically (2)   influence (1)
God (1)              head (1)                      hypotheticals (1)    influenced (1)
goes (8)             heading (1)                                        influencer (1)
going (139)          hear (8)                      <I>                  informally (1)
Good (14)            heard (3)                     idea (11)            Information (37)
Google (1)           hearing (4)                   identifiable (1)     informational (1)
gotten (3)           heart (1)                     identification (4)   informed (2)
granted (1)          heavily (5)                   identified (2)       inhibit (1)
grateful (1)         height (1)                    identify (2)         Initial (14)
Great (5)            held (1)                      identifying (2)      Initially (7)
greater (2)          help (6)                      ignoring (1)         initiate (2)
Greenspoon (4)       helpful (2)                   ii (1)               inquire (1)
G-r-o-s-e (1)        helping (1)                   iii (1)              inquiries (2)
Gross (5)            hereinbefore (1)              illogical (1)        insert (1)
G-r-o-s-s (2)        hereunto (1)                  images (1)           inspect (1)
ground (2)           hey (5)                       imagine (3)          inspection (2)
grounds (1)          hide (1)                      immediately (8)      inspections (1)
GROUP (115)          Hidrock (3)                   immune (1)           instances (1)


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institutions (1)     Jake (1)                      lay (2)           LLC (3)
instruct (9)         January (1)                   layer (2)         L-l-i (1)
instructed (2)       JASON (10)                    LBG (1)           LLP (2)
instructing (5)      Jayde (1)                     lead (2)          loaded (2)
instruction (4)      J-a-y-d-e (1)                 leads (1)         loan (2)
instructions (4)     Jersey (6)                    learned (1)       loaned (2)
instructs (1)        Jimmy (1)                     leave (1)         loans (1)
intended (3)         Job (11)                      leaves (1)        local (29)
intentionally (1)    jobs (1)                      led (2)           located (3)
intentions (1)       John (5)                      left (7)          location (2)
interest (8)         Johnston (3)                  LEGAL (166)       lodge (1)
interested (2)       joint (3)                     legally (6)       logo (2)
interests (1)        judge (4)                     lender (2)        Loli (2)
interface (1)        judgment (6)                  lenders (2)       long (19)
Internet (1)         judgments (1)                 length (1)        longer (4)
interpret (2)        juggling (3)                  lengthy (4)       look (38)
interpretation (2)   July (12)                     lent (1)          looked (2)
interrupt (3)        June (25)                     letter (25)       looking (19)
interrupted (1)      jure (1)                      letterhead (4)    looks (9)
interruption (1)     jurisdictions (4)             letters (6)       loss (1)
interviewed (1)                                    letting (4)       lot (20)
intimately (1)       <K>                           Lev (1)           Louisiana (1)
introduce (2)        Kaufman (1)                   levels (1)        love (1)
introduced (1)       keep (8)                      Lexington (1)     lower (2)
invade (2)           keeps (1)                     LGS (14)          LPC (1)
Invades (2)          Ken (4)                       liaison (1)       LPG (82)
invading (3)         Kenneth (2)                   Liberty (19)      LPG's (16)
invalidation (1)     kenneth.m.misken@us           license (4)
investigations (2)   doj.gov (1)                   licensed (1)      <M>
invite (1)           Kentucky (1)                  licenses (1)      Madam (1)
invocation (1)       kind (13)                     life (3)          mail (14)
invoke (1)           knew (8)                      light (1)         Main (3)
invoking (1)         know (269)                    Likelihood (2)    maintain (1)
involved (20)        knowledge (50)                likes (1)         maintained (2)
involvement (10)     knows (6)                     limbo (1)         majority (1)
involving (1)        Koffroth (3)                  limit (3)         making (5)
irreversible (2)                                   limited (8)       man (1)
IRS (1)              <L>                           line (7)          manage (2)
isolating (1)        labels (1)                    lines (3)         managed (1)
Israeli (2)          Lack (9)                      link (1)          manages (1)
issue (13)           language (16)                 linked (1)        managing (15)
issued (4)           large (1)                     LinkedIn (5)      March (8)
issues (8)           lasted (1)                    Lisa (2)          Marder (3)
items (2)            late (3)                      list (7)          Maria (1)
its (32)             LAW (25)                      listed (3)        mark (1)
iv (2)               laws (3)                      Listen (1)        marked (1)
                     lawsuit (9)                   lists (1)         marriage (1)
<J>                  lawyer (20)                   LITIGATION (34)   MARSHACK (2)
Jack (9)             lawyers (12)                  little (6)        Marshak (1)


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material (3)            month (2)                    Number (49)         online (1)
materials (1)           monthly (2)                  numbered (2)        open (6)
math (1)                months (36)                  numbers (12)        opened (3)
matter (11)             monumental (1)               numerals (1)        opening (1)
matters (7)             morning (6)                  numeric (1)         opens (1)
MCDVI (4)               motion (40)                  numerous (1)        operate (1)
MDA (3)                 motions (1)                                      operates (1)
mean (40)               mouth (1)                    <O>                 operating (6)
meaning (3)             move (15)                    oath (6)            operation (3)
means (3)               moved (1)                    object (21)         operational (2)
meetings (5)            moving (1)                   objected (1)        operations (7)
members (1)             multiple (3)                 Objection (26)      opine (1)
memo (1)                                             objectionable (1)   opinion (5)
memory (1)              <N>                          objections (15)     opinion/conclusion
mental (1)              name (21)                    objects (1)          (1)
mentally (1)            named (3)                    obligated (1)       opportunity (7)
mention (3)             names (14)                   obligating (1)      oppose (1)
merely (3)              nature (8)                   obligation (5)      opposed (4)
meritorious (1)         nearly (1)                   obtain (1)          opposition (2)
message (2)             necessary (1)                obtained (1)        order (10)
messages (1)            need (41)                    obtaining (2)       ordered (1)
messes (1)              needed (4)                   obvious (1)         original (6)
metaphor (1)            needs (5)                    obviously (9)       originally (1)
metrics (1)             negotiate (3)                OCC (3)             originated (3)
middle (2)              negotiated (6)               occupied (1)        outcome (1)
Mike (1)                negotiating (2)              occupy (1)          outline (1)
military (4)            negotiation (3)              occurred (2)        outlined (1)
million (51)            negotiations (18)            o'clock (1)         outlining (1)
millions (1)            neither (2)                  offer (24)          Outlook (1)
mind (2)                network (23)                 offering (5)        outmatched (1)
mine (2)                never (8)                    offers (1)          outside (15)
minimum (1)             New (32)                     offhand (1)         overall (1)
minute (2)              newest (1)                   OFFICE (29)         overbid (1)
minutes (9)             Ng (1)                       officer (8)         overbroad (1)
minutiae (1)            Nicholas (3)                 officers (5)        overhead (1)
mischaracterizing (1)   night (1)                    OFFICES (12)        overlooked (1)
Misken (11)             NOEL (1)                     OFFICIAL (1)        oversee (1)
missed (1)              non-fee (2)                  officially (1)      overseeing (3)
missing (1)             non-important (1)            off-line (2)        overwhelmingly (1)
Misstates (9)           non-legal (1)                Oh (2)              overwriting (1)
mistake (1)             non-performing (1)           Okay (387)          owes (1)
mistaken (1)            non-privileged (1)           omnibus (1)         owner (9)
mixed (1)               North (1)                    onboarded (1)       owners (4)
modicum (1)             note (6)                     onboarding (1)      ownership (2)
modification (2)        noted (1)                    once (10)           Ozur (1)
modifications (2)       notes (2)                    one-business (1)    O-z-u-r (1)
moment (8)              notice (6)                   one-on-one (1)      Ozure (1)
Monday (2)              Notwithstanding (5)          ones (4)
money (14)              NSF (2)                      ongoing (5)         <P>


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P.C (15)             perspective (1)               precision (1)           product (4)
p.m (4)              perspectives (1)              precluded (1)           production (1)
Pacific (1)          pertained (2)                 preclusion (1)          Professional (8)
PAGE (44)            petition (3)                  preexisting (1)         profile (4)
Pages (5)            phenomenal (1)                preface (2)             profit (1)
paid (12)            Phoenix (1)                   prefer (2)              progress (1)
Pandy (7)            phone (5)                     pre-incorporation (2)   promise (2)
papers (1)           phones (1)                    prejudice (1)           promises (1)
paragraph (24)       physically (1)                prep (1)                prompted (1)
paralegal (5)        pick (1)                      preparation (3)         promptly (1)
paralegals (6)       picture (4)                   prepare (3)             proof (4)
Park (1)             piece (1)                     prepared (4)            proper (6)
Part (26)            pieces (3)                    prerogative (1)         properly (2)
Partial (7)          Pilot (2)                     PRESENT (6)             Properties (3)
participate (3)      pinpoint (2)                  presently (1)           property (1)
participating (1)    place (13)                    preserve (1)            proposed (10)
particular (19)      plan (1)                      President (1)           proposing (3)
Particularly (1)     plant (1)                     presumably (1)          proprietary (1)
parties (13)         plate (2)                     pretty (3)              prospect (1)
part-time (10)       pleading (2)                  prevents (1)            prospective (1)
party (11)           please (37)                   previously (6)          protected (3)
pass (1)             plural (1)                    price (5)               protecting (1)
passed (1)           plus (8)                      pride (1)               protection (6)
passing (3)          PO (1)                        primarily (1)           provide (27)
pay (13)             pocket (3)                    principal (6)           provided (38)
paying (1)           point (17)                    principals (1)          provides (3)
payment (5)          pointed (1)                   principle (1)           providing (14)
payments (5)         pointedly (1)                 prior (23)              provision (10)
pays (1)             points (2)                    priority (1)            prudent (1)
PDF (1)              policies (12)                 privacy (5)             PST (2)
penalty (2)          policy (2)                    privilege (37)          public (1)
pending (10)         portal (1)                    privileged (10)         pull (9)
people (28)          portfolio (2)                 privity (1)             pulled (5)
percent (22)         portion (3)                   privy (1)               pulling (1)
percentage (8)       position (3)                  pro (3)                 punched (1)
percentages (3)      positive (1)                  probably (24)           purchase (58)
perform (2)          possibility (1)               problem (9)             purchases (2)
performance (1)      possible (7)                  problems (2)            purchasing (1)
performed (1)        postdating (1)                procedure (1)           pure (2)
performing (4)       posture (2)                   procedures (12)         purport (1)
period (2)           potential (5)                 proceed (1)             purporting (1)
periodic (1)         potentially (4)               proceeding (4)          purports (1)
perjury (2)          potted (1)                    proceedings (1)         purpose (1)
permit (1)           powerful (1)                  process (10)            purposes (1)
permitted (1)        powers (1)                    Processing (4)          Pursuant (4)
person (20)          PRACTICE (8)                  processor (1)           put (14)
personal (21)        practicing (2)                produce (6)             putting (5)
personally (4)       precedence (1)                produced (8)
personnel (1)        preceding (2)                 producing (1)           <Q>


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quarreling (1)        redact (2)                    repeat (1)            revenue (15)
quarter (1)           redacted (2)                  rephrase (5)          review (6)
Queenie (1)           redaction (1)                 replace (2)           reviewed (3)
question (123)        REDHUN (104)                  report (3)            reviews (1)
questioning (1)       redirected (1)                Reported (6)          Revised (3)
questions (33)        refer (1)                     Reporter (11)         RICHARD (6)
quibble (1)           reference (2)                 reporting (1)         RICHARDS (233)
quick (1)             referenced (5)                reports (2)           right (57)
quickly (5)           referring (6)                 repost (1)            right-hand (3)
quite (3)             refers (1)                    represent (10)        rights (1)
                      reflect (5)                   representation (3)    rise (1)
<R>                   reflected (2)                 representations (4)   Robert (4)
rainmaker (9)         reflects (12)                 representative (9)    role (7)
raise (2)             refresh (4)                   representatives (1)   roles (1)
raising (1)           refund (18)                   represented (3)       Roman (4)
random (2)            refunded (3)                  representing (5)      ron@ronaldrichards.c
range (4)             refunds (5)                   represents (1)        om (1)
rate (2)              refuse (1)                    reputable (1)         RONALD (6)
ratifies (1)          regard (21)                   request (6)           ronaldrichards.com
ratifying (1)         regarding (22)                requested (4)          (1)
rating (6)            regardless (2)                requesting (2)        room (3)
reach (1)             Registered (11)               requests (1)          Rosa (2)
reached (1)           registering (2)               required (2)          ROTHSCHILD (4)
reaching (1)          regularly (2)                 requires (1)          rough (1)
read (44)             reinvent (1)                  resend (1)            RPR (2)
reading (8)           related (24)                  reserve (3)           ruin (1)
reads (1)             relates (3)                   resolution (7)        rule (2)
ready (4)             relating (5)                  resolutions (1)       rules (6)
real (4)              relation (2)                  resolve (2)           run (3)
realization (2)       relationship (11)             resolved (11)         running (3)
really (23)           relaying (1)                  resources (1)         runs (1)
reason (16)           release (3)                   respect (23)
reasonable (1)        relevance (2)                 Respectfully (4)      <S>
reasonably (2)        relevant (11)                 respond (5)           sale (31)
recall (27)           relgidely@foxrothschil        responded (1)         sales (3)
receivables (1)       d.com (1)                     response (4)          samples (1)
receive (1)           reliability (1)               responses (5)         SANTA (3)
received (2)          reliable (2)                  responsible (4)       Sara (2)
receives (1)          remain (1)                    responsive (1)        sara.johnston@dinsmo
receiving (3)         remains (1)                   rest (1)              re.com (1)
recital (1)           remember (9)                  restating (1)         Saturday (1)
recognize (3)         remind (1)                    restroom (2)          sausage (1)
recognized (2)        remit (1)                     result (2)            save (2)
recollection (8)      remitted (1)                  resulted (1)          saw (8)
reconcile (1)         remitting (1)                 results (1)           saying (21)
record (35)           remotely (2)                  resume (1)            says (51)
records (3)           render (3)                    retained (1)          scam (1)
recovery (1)          repaid (3)                    return (1)            scanned (3)
Red (3)               repayment (2)                 returned (2)          scanning (1)


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scare (1)            share (26)                    somebody (19)      State's (3)
scenario (1)         shared (1)                    somebody's (1)     stating (2)
scheduling (1)       shareholder (1)               soon (1)           statistical (1)
school (1)           sharing (1)                   SOP (1)            statistically (1)
scientific (1)       sheets (1)                    SOPs (6)           status (3)
scope (22)           Shen (4)                      SOP's (1)          stay (1)
Scott (1)            S-h-e-n (2)                   sorry (13)         staying (1)
scratch (1)          Shields (1)                   sort (12)          STENOGRAPHER
screen (31)          SHOHL (2)                     sorted (1)          (5)
scroll (6)           short (3)                     sought (3)         Stenographic (4)
scrolling (2)        Shorthand (3)                 sound (2)          Stenographically (1)
se (1)               shot (2)                      sounds (5)         step (2)
search (1)           show (6)                      source (3)         steps (1)
searching (1)        showed (1)                    sources (1)        stick (1)
second (24)          showing (5)                   speak (9)          sticking (1)
Secondly (1)         side (1)                      speaking (14)      stipulate (4)
seconds (2)          sign (11)                     speaks (11)        stipulation (63)
Secretary (2)        signal (1)                    specific (14)      stipulations (1)
Section (10)         signature (15)                specifically (4)   stock (1)
see (130)            signatures (1)                specified (3)      stop (9)
seeing (3)           signed (33)                   speculate (2)      straw (1)
seeking (2)          signer (1)                    speculating (5)    Street (5)
seen (4)             signing (3)                   speculation (6)    strengths (1)
segregating (1)      signs (6)                     speculative (1)    strike (4)
select (1)           similar (3)                   speed (1)          structures (1)
sell (13)            simple (3)                    spell (4)          stuff (5)
seller (1)           simply (2)                    spend (2)          stupid (2)
selling (1)          Simultaneously (1)            spiraling (1)      stupidity (1)
send (11)            single (4)                    spoke (6)          subject (20)
sends (1)            sir (79)                      spoken (6)         subjects (1)
senior (6)           site (1)                      spot (2)           sublease (2)
sense (6)            sits (1)                      spur (1)           submitted (1)
sent (6)             sitting (11)                  staff (6)          Subparagraph (1)
sentence (4)         situation (2)                 staffing (2)       subpoena (9)
separate (3)         six (5)                       stages (2)         Subsections (1)
separately (1)       six-month (1)                 staggered (1)      subsequent (4)
served (2)           sizable (3)                   Standard (6)       substance (2)
service (20)         size (1)                      standby (1)        substantial (5)
services (21)        skip (1)                      standing (1)       substantive (1)
servicing (5)        slew (2)                      stands (1)         subtenant (1)
serving (1)          slow (1)                      start (13)         subtract (1)
set (14)             small (3)                     started (10)       sued (3)
sets (1)             smoothly (1)                  starters (1)       sufficient (1)
setting (1)          so-called (1)                 starting (3)       suggesting (1)
settle (4)           socialize (1)                 State (32)         suing (4)
settled (1)          software (2)                  stated (1)         suit (1)
settlement (11)      sold (3)                      statement (6)      Suite (2)
seven (8)            solo (1)                      statements (5)     suits (1)
shape (1)            Soloman (1)                   STATES (20)        summarized (1)


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summary (2)          testify (34)                  transferred (8)      unrepresented (2)
summons (2)          testifying (14)               transferring (1)     UNSECURED (1)
super (1)            testimony (61)                transfers (3)        unsigned (1)
supervise (6)        text (3)                      transmission (1)     unusual (1)
supervised (1)       texts (2)                     transpiring (1)      unwilling (1)
supplemental (1)     Thank (24)                    triage (3)           uploaded (5)
support (4)          thankfully (1)                trick (1)            uploading (1)
supporting (2)       Thanks (1)                    triggered (1)        upper (1)
supposed (2)         theoretically (1)             triggers (1)         upset (2)
sure (48)            thereon (1)                   Trinh (2)            upside (1)
surprises (1)        thereto (3)                   T-r-i-n-h (2)        use (6)
surrounding (1)      thing (12)                    trivial (1)          uses (2)
swallow (1)          things (30)                   true (5)             usually (1)
swear (1)            think (93)                    Trust (2)            utilized (4)
sworn (5)            thinking (1)                  TRUSTEE (134)
system (2)           third (4)                     trustees (2)         <V>
                     Thomas (1)                    trustee's (21)       V2 (1)
<T>                  thought (6)                   truthful (1)         vacating (1)
tackle (1)           thousands (7)                 truthfully (1)       vacation (1)
tagged (1)           three (15)                    try (10)             vague (6)
tail (1)             three-hour (1)                trying (24)          VALIDATION (2)
take (30)            throw (3)                     turn (3)             valuation (14)
taken (7)            tie (1)                       turned (2)           value (11)
talk (8)             tied (2)                      tweaked (1)          valued (2)
talked (2)           tight-lipped (1)              two (31)             various (11)
talking (11)         time (80)                     type (4)             verbal (1)
Tan (1)              timeline (2)                  types (2)            verify (2)
T-a-n (1)            timely (1)                    typical (2)          version (1)
Tang (1)             times (6)                     Typically (6)        versus (3)
T-a-n-g (1)          today (40)                                         vetting (1)
tank (1)             today's (5)                   <U>                  vi (1)
target (2)           told (14)                     U.S (1)              video (1)
task (1)             Tony (22)                     uh-huh (1)           videoconference (2)
tasked (1)           top (3)                       ultimately (2)       videoconferencing (1)
tasks (1)            topic (1)                     umbrella (3)         view (4)
tax (1)              total (3)                     unable (4)           violating (1)
Team (22)            totaling (1)                  unaware (1)          violation (1)
technical (2)        totals (1)                    unclear (1)          violations (2)
technological (1)    tough (1)                     uncovered (2)        Virtually (2)
telegraphing (1)     touted (1)                    underneath (1)       vis-á-vis (1)
telephonic (1)       track (1)                     understand (46)      visited (4)
tell (28)            Trade (2)                     understanding (22)   voice (3)
telling (5)          training (2)                  understood (9)       voluntarily (1)
tens (1)             transaction (17)              unfair (1)           voluntary (1)
tentacles (1)        transactional (1)             unintelligible (2)   volunteered (1)
term (6)             transactions (3)              UNITED (7)           volunteering (1)
terms (26)           transcript (1)                unopened (4)
test (1)             transfer (3)                  unreasonable (2)     <W>
testified (17)       transferees (1)               unrelated (1)        W-2 (3)


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wages (1)            words (5)
wait (3)             work (37)
waive (5)            worked (2)
waiving (1)          worker (1)
Wall (2)             working (17)
want (50)            work-product (10)
wanted (2)           work-project (1)
wants (3)            works (5)
warrant (2)          worst (2)
waste (1)            writing (4)
watermark (2)        written (9)
way (30)             wrongly (1)
ways (1)
weaknesses (1)       <Y>
Webber (1)           yeah (29)
Weber (30)           year (11)
Weber's (1)          years (4)
website (21)         yelling (1)
websites (2)         York (16)
week (2)             York's (1)
weekly/monthly (1)
welcome (1)          <Z>
well (63)            Zoom (8)
well-prepared (1)
well-resourced (1)
went (9)
we're (32)
Wes (1)
we've (10)
whatsoever (5)
wheel (1)
WHEREOF (1)
wife (1)
wild (1)
wildest (1)
willing (3)
window (2)
wires (1)
withdraw (1)
withdrawing (3)
withheld (2)
withhold (4)
withholding (1)
witness (77)
witnesses (1)
witness's (1)
Wonderful (1)
wondering (1)
word (9)


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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  411 West Fourth Street, Suite 7160, Santa Ana, CA 92701-8000

A true and correct copy of the foregoing document entitled (specify):

UNITED STATES TRUSTEE’S OPPOSITION TO NOTICE OF MOTION AND MOTION OF
TRUSTEE RICHARD A. MARSHACK FOR ENTRY OF AN ORDER (A) APPROVING SALE,
SUGJECT TO OVERBID, OF ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
ENCUMBRANCES AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b) AND (B) APPROVING
ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
LEASES AND OTHER AGREEMENTS


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) July 19, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                           SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) July 19, 2023, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                           SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 17, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                    SEE ATTACHED SERVICE LIST (IF APPLICABLE)


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

July 19, 2023                     Leslie Skorheim                                  /s/ Leslie Skorheim
Date                              Print Name                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                   ADDITIONAL SERVICE INFORMATION

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
        Name                   Capacity                         Email Address
        Byron Moldo                                                                  bmoldo@ecjlaw.com
        Ronald Brown                               SDCO Tustin Executive Center, Inc.ron@rkbrownlaw.com
        Joon Khang                                 Debtor’s Attorney                 joon@khanglaw.com
        Ira Kharasch                                                                 ikharasch@pszjlaw.com
        Olivia Scott                               Azzure Capital LLC                olivia.scott3@bclplaw.com
        Olivia Scott                               Hi Bar Capital LLC                olivia.scott3@bclplaw.com
        Sharon Weiss                               Azzure Capital LLC                sharon.weiss@bclplaw.com
        Daniel Edelman                             Carolyn Beech                     dedelman@edcombs.com
        Eric Bensamochan                                                             eric@eblawfirm.us
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        Shawn Crhistianson                                                           cmcintire@buchalter.com
        Leslie Cohen                                                                 leslie@lesliecohenlaw.com
        Jeffrey Golden                                                               jgolden@go2.law
        D Edward Hays                                                                ehays@marshackhays.com
        David Kupetz                                                                 David.Kupetz@lockelord.com
        Christopher Langley                                                          chris@slclawoffice.com
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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        SEE NEF FOR CONFIRMATION OF ELECTRONIC TRANSMISSION TO THE U.S. TRUSTEE AND ANY
        TRUSTEE IN THIS CASE, AND TO ANY ATTORNEYS WHO RECEIVE SERVICE BY NEF.

2.      SERVED BY U.S. MAIL



3.      SERVED BY (state method for each person served):


        PERSONAL DELIVERY, FACSIMILE OR EMAIL

        Judge’s Copy

        Honorable Scott C. Clarkson – to be placed in bin on the 5th Floor on 7/20/2023




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